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   15 Attorneys for Plaintiff

   16
                            UNITED STATES DISTRICT COURT
   17
                         SOUTHERN DISTRICT OF CALIFORNIA
   18

   19 JOSEPH HIGGINBOTTOM,                          Case No. 3:24-cv-00195-WQH-BLM
      individually on behalf of heirs, and as
   20 Personal Representative of the ESTATE         DECLARATION OF MELISA
      OF ANTHONY HIGGINBOTTOM,                      ROSADINI-KNOTT IN SUPPORT
   21 ,
                                                    OF PLAINTIFF’S MOTION TO
   22              Plaintiff,                       REMAND ACTION TO
   23        v.                                     SUPERIOR COURT OF SAN
                                                    DIEGO, CALIFORNIA
   24 DEXCOM, INC.;
        TANDEM DIABETES CARE, INC.;                 Hon. William Q. Hayes
   25 and DOES 1-50, inclusive,
                                                    Date: April 8, 2024
   26              Defendants.                      NO ORAL ARGUMENT UNLESS
   27                                               REQUESTED BY THE COURT

   28
                                                1
         DECLARATION OF MELISA ROSADINI-KNOTT IN SUPPORT OF PLAINTIFF’S MOTION TO REMAND
                        ACTION TO SUPERIOR COURT OF SAN DIEGO, CALIFORNIA
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    1                  DECLARATION OF MELISA A. ROSADINI-KNOTT
    2        I, MELISA A. ROSADINI-KNOTT, declare as follows:
    3        1.     I am an attorney at Peiffer Wolf Carr Kane Conway & Wise, LLP,
    4 counsel of record for Plaintiff Joseph Higginbottom. I make this declaration based

    5 on personal knowledge unless otherwise stated and if called to testify on such

    6 matters, could and would competently testify. I make this Declaration in support of

    7 Plaintiff’s Motion to Remand to this Action to the Superior Court of California.

    8        2.     Attached as Exhibit “A” is a true and correct copy of Defendant’s
    9 Notice of Removal filed in this Court.

   10        3.     Attached as Exhibit “B” are true and correct copies of the proofs of
   11 service of summons on Defendants Tandem Diabetes Care, Inc. and Dexcom, Inc.

   12        4.     Attached as Exhibit “C” is a true and correct copy of correspondence
   13 from counsel for Tandem Diabetes Care, Inc.

   14        5.     Attached as Exhibit “D” is a true and correct copy of Defendant’s filing
   15 regarding removal that I obtained from the San Diego Superior Court.

   16        6.     Attached as Exhibit “E” is a true and correct copy of the Order granting
   17 Plaintiff’s Motion to Remand in Casola v. Dexcom, Inc., Case No. 22-cv-1865-JO-

   18 MDD (S.D. Cal. Mar. 31, 2023).

   19        7.     Attached as Exhibit “F” is a Notice of Related Case filed in Casola v.
   20 Dexcom, Inc., et al. which identifies other similar cases.

   21        I declare under penalty of perjury under the laws of the United States of
   22 America that the foregoing is true and correct. Executed on this 29th day of

   23 February, 2024 in Los Angeles, California.

   24

   25                             /s/ Melisa A. Rosadini-Knott
   26

   27

   28
                                                 2
         DECLARATION OF MELISA ROSADINI-KNOTT IN SUPPORT OF PLAINTIFF’S MOTION TO REMAND
                        ACTION TO SUPERIOR COURT OF SAN DIEGO, CALIFORNIA
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              EXHIBIT "A"
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    1
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   14
        Attorneys for Plaintiff
   15
                                    SUPERIOR COURT OF CALIFORNIA
   16
                                     FOR THE COUNTY OF SAN DIEGO
   17

   18    JOSEPH HIGGINBOTTOM, individually on            CASE NO:
         behalf of heirs, and as Personal
   19    Representative of the ESTATE OF                 COMPLAINT AND DEMAND FOR JURY
   20    ANTHONY HIGGINBOTTOM,                           TRIAL

   21                       Plaintiff,                   1. NEGLIGENCE
                                                         2. STRICT PRODUCT LIABILITY -
   22    v.                                                 DESIGN DEFECT
                                                         3. STRICT LIABILITY –
   23                                                       MANUFACTURING DEFECT
         DEXCOM, INC.; and
   24    TANDEM DIABETES CARE, INC.,                     4. STRICT LIABILITY- FAILURE TO
                                                            WARN
   25                       Defendants.                  5. WRONGFUL DEATH

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                                  COMPLAINT AND DEMAND FOR JURY TRIAL
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    1                                   DEMAND FOR JURY TRIAL
    2           1.    Plaintiff JOSEPH HIGGINBOTTOM, individually and on Behalf of the Estate of
    3   ANTHONY HIGGINBOTTOM, hereby requests a trial by jury as to all issues and as to all material
    4   fact.
    5                                              PARTIES
    6           2.    Plaintiff JOSEPH HIGGINBOTTOM (hereinafter “Plaintiff”) is, and at all times
    7   relevant was, a resident and citizen of Wyoming. He brings this action individually and on Behalf
    8   of the Estate of ANTHONY HIGGINBOTTOM, minor decedent.                    Decedent ANTHONY
    9   HIGGINBOTTOM (herein referred to as “Decedent”) died in a motor vehicle collision on August
   10   5, 2020. Plaintiff is an authorized successor-in-interest to his Estate. The Declaration of Joseph
   11   Higginbottom, Successor-in-Interest, Pursuant to C.C.P. § 337.32, is included with this complaint.
   12           3.    Defendant, DEXCOM, INC. (hereinafter “Dexcom”), is a Delaware corporation
   13   with its principal place of business located at 6340 Sequence Drive, San Diego, California, 92121.
   14   Defendant Dexcom may be served with process by serving its registered agent: Corporation Service
   15   Company d/b/a CSC – Lawyers Incorporating Service.
   16           4.    Dexcom is, and at all times relevant was, authorized to do business in the State of
   17   California and was and is engaged in substantial comings and business activities in California,
   18   including San Diego County.
   19           5.    Dexcom was and is engaged in the business of manufacturing, marketing, testing,
   20   labeling, promoting, selling, and/or distributing the Dexcom G6 Continuous Glucose Monitoring
   21   System (hereinafter “G6 System”). At all pertinent times, Dexcom derived substantial revenue
   22   from the sale of the G6 System in the State of California and County of San Diego.
   23           6.    Defendant TANDEM DIABETES CARE, INC. (hereinafter “Tandem”) is a
   24   Delaware Corporation with its principal place of business located at 12400 High Bluff Drive, San
   25   Diego, California, 92130. Defendant Tandem may be served with process by serving its registered
   26   agent: Corporation Service Company d/b/a CSC – Lawyers Incorporating Service.
   27           7.    Tandem is, and at all times relevant was, authorized to do business in the State of
   28   California and was and is engaged in substantial comings and business activities in California,
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                              COMPLAINT AND DEMAND FOR JURY TRIAL
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    1   including San Diego County.
    2          8.      Tandem was and is engaged in the business of manufacturing, marketing, testing,
    3   labeling, promoting, selling, and/or distributing the Tandem t:slim X2™ Insulin Pump (hereinafter
    4   “t:slim pump”). At all pertinent times, Tandem derived substantial revenue from the sale of the
    5   t:slim pump in the State of California and County of San Diego.
    6          9.      At all pertinent times, both Defendants were engaged in the research, development,
    7   manufacture, design, testing, sale and marketing of the products, and introduced such products into
    8   interstate commerce with the knowledge and intent that such products would be sold in the State of
    9   California.
   10                                     VENUE AND JURISDICTION
   11          10.     The California Superior Court has jurisdiction over both Defendants because, based
   12   on information and belief, each is a corporation maintains its principal place of business in the State
   13   of California, has sufficient minimum contacts in California, and otherwise intentionally avails
   14   itself of the California market so as to render the exercise of jurisdiction over it by the California
   15   courts consistent with traditional notions of fair play and substantial justice.
   16          11.     Further, Defendants have each purposefully availed themselves of the benefits and
   17   protections of the laws within the State of California. Collectively, Defendants conduct substantial
   18   business in California and have sufficient contact with California such that the exercise of
   19   jurisdiction would be consistent with the traditional notions of fair play and substantial justice.
   20          12.     Venue is proper in this Court pursuant to Code of Civil Procedure section 395(a)
   21   and 395.5 because the principal place of business of both Defendants is in San Diego County.
   22          13.     The amount in controversy exceeds the jurisdictional limits of this court.
   23                                            INTRODUCTION
   24          14.     This is an action for damages relating to Dexcom’s design, manufacture,
   25   surveillance, sale, marketing, advertising, promotion, labeling, packaging, and distribution of the
   26   Dexcom G6 System.
   27

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                                COMPLAINT AND DEMAND FOR JURY TRIAL
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    1          15.        This is an action for damages relating to Tandem’s design, manufacture,
    2   surveillance, sale, marketing, advertising, promotion, labeling, packaging, and distribution of the
    3   Tandem t:slim pump.
    4          16.        The G6 System is a prescribed medical device intended for use by diabetic patients
    5   to replace fingerstick blood glucose testing and scanning and to detect and alert dangerous glucose
    6   levels likely to trigger life-threatening medical events as a part of short-term and long-term diabetes
    7   treatment plan.
    8          17.        The t:slim pump is a prescribed medical device intended for use by diabetic patients
    9   as an automated insulin delivery system (hereinafter “AID”) to provide subcutaneous delivery of
   10   insulin, at set and variable rates, for the management of diabetes mellitus in persons requiring
   11   insulin. The t:slim pump can be used solely for continuous insulin delivery and also integrates with
   12   the G6 System to receive and display continuous glucose measurements.
   13          18.        The Dexcom G6 System consists of three primary components: (1) a wearable patch
   14   sensor which continuously measures blood glucose values (hereinafter “BGV”) from interstitial
   15   fluids below the skin; a transmitter that attaches to the sensor and collects the BGV data and then
   16   pushes the information via a Bluetooth® connection to (3) a display device: either its proprietary
   17   receiver or a smartphone using its proprietary application (hereinafter “G6 App”).
   18          19.        The Tandem t:slim pump also pairs with the Dexcom G6 sensor and transmitter.
   19   The t:slim pump also aids in the detection of episodes of hyperglycemia and hypoglycemia by
   20   providing the G6 System BGV data to the t:slim display.
   21          20.        The G6 System is designed to literally “sound the alarm” when a near-dangerous
   22   glucose level is detected to provide the diabetic patient with advance warning to avoid a potential
   23   hyperglycemic or hypoglycemic event.
   24          21.        The G6 Systems have a propensity to obtain inaccurate glucose readings, fail to
   25   transmit glucose readings, and/or notify and alert its users of potential hyperglycemic and
   26   hypoglycemic events, resulting in serious injuries or death. The G6 System when integrated with the
   27   t:slim pump also increases the risk of insulin stacking when inaccurate hyperglycemic results are
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    1   transmitted to the display device leading to patient overdosing insulin and falling quickly into
    2   hypoglycemia.
    3              22.       On information and belief, Plaintiff, the father of decedent: Anthony Higginbottom,
    4   a diabetic patient, brings this action for wrongful death directly and proximately caused by
    5   productdefects in the G6 System and t:slim pump.
    6                                            FACTUAL ALLEGATIONS
    7              23.       Dexcom designs, develops, manufactures, markets, advertises, promotes, supplies,
    8   distributes, sells, and instructs in the use of the G6 System, which is a Class II device. 1
    9              24.       The G6 System is a prescribed medical device for diabetics to use to monitor and
   10   manage their glucose level and to detect and alert its user of potential hyperglycemic and
   11   hypoglycemic events in real-time.
   12              25.       According to Dexcom, the G6 System is the first real-time, integrated Continuous
   13   Glucose Monitoring system (hereinafter “iCGM”) requiring “zero fingersticks or calibrations” and
   14   replaces fingerstick blood glucose testing and scanning to monitor and manage diabetes. 2
   15              26.       Dexcom marketed and sold the G6 System as a potentially life-saving medical
   16   device capable of detecting and preventing hyperglycemic and hypoglycemic events by alerting
   17   users of near-dangerous blood glucose levels that may trigger such events.
   18              27.       As shown in Dexcom’s G6 System User Guide and noted herein, the G6 System
   19   has three key component parts: 1) the wearable sensor patch, which collects real-time BGV from
   20   just under the skin, 2) the transmitter, which sends the glucose reading from the sensor to the user’s
   21   display device, and 3) the display device (G6 App or Receiver): which shows glucose reading and
   22   information to the user.
   23   ///
   24   ///
   25   ///
   26   ///
   27
        1
            https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpcd/classification.cfm?id=682
   28   2
            https://www.dexcom.com/faqs/does-the-dexcom-g6-cgm-system-require-calibrations.
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    1

    2                                                             Applicator
                                                                  helps you
    3                                                  Applicator insert the
                                                       with
                                                       built-in   sensor wire
    4                                                  sensor
                                                                  under your
                                                                  skin.
    5
                                                                  Sensor gets
    6                                                             your glucose
                                                                  information.
    7                                                             Transmitter
                                                       Transmitte sends  your
    8                                                             glucose
                                                       r
                                                                  information
    9                                                             from the
                                                                  sensor to the
   10                                                             display
                                                                  device.
   11

   12                                                                   Display
                                                       Display          device(s)
   13                                                  Device(s):       shows your
                                                       • Receiver       glucose
   14                                                  • Your           information.
                                                         smart
                                                         device         Receiver is
   15
                                                                        required for
   16                                                                   Medicare.

   17

   18            28.     Dexcom’s G6 App allows patients to use their smartphones and smartwatches

   19   like iPhones, Apple Watch and Android devices. 3 The G6 App enables the G6 System users to

   20   use their smart devices as the display device to receive real-time BGV readings, notifications,

   21   and sound alarms resulting from potential hyperglycemic and hypoglycemic events.

   22            29.     If any one of G6 System’s three component parts is defective or does not operate

   23   as intended, its diabetic user would not receive accurate and timely BGV alerts and warnings.

   24            30.      The G6 System sensor patch’s failure to obtain accurate, real-time BGV

   25   information can cause a diabetic patient to suffer serious injury or death.

   26            31.     The G6 System transmitter’s failure to transmit accurate, real-time BGV

   27   information to a display device can cause a diabetic patient to suffer serious injury or death.

   28   3
            See https://apps.apple.com/us/app/dexcom-g6/id1209262925
                                                          -6-
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    1           32.      The G6 System and/or G6 App’s failure to notify or sound the alarm when a
    2   hyperglycemic or hypoglycemic event occurs can cause a diabetic serious injury or death.
    3           33.      The G6 System and/or G6 App’s inaccurate readings of the user’s BGV may
    4   cause a diabetic patient who integrates the G6 System with the Tandem t:slim pump to mistreat
    5   hyperglycemia or hypoglycemia, including inadvertently stacking insulin.
    6           34.      Dexcom and Tandem are responsible for identifying all risks associated with
    7   the foreseeable uses of the G6 System and t:slim pump before marketing and selling the
    8   products, and for every identified risk, Dexcom and Tandem had and have a duty to either
    9   design the risk out or to adequately warn the users of those risks. These obligations are met by
   10   conducting risk assessments, system hazard analyses, and design/process failure modes and
   11   effects analyses.
   12           35.      Decedent’s medical provider prescribed Dexcom’s G6 System and the Tandem
   13   t:slim pump as a part of decedent’s diabetes treatment plan.
   14           36.      Plaintiff’s spouse purchased the G6 System from Dexcom and the t:slim pump from
   15   Tandem on behalf of decedent, a minor.
   16           37.      As represented by Dexcom, decedent replaced the fingerstick testing method with
   17   the Dexcom G6 System. During the relevant time, decedent used the G6 System as the primary
   18   device for blood glucose testing and for diabetes treatment decisions.
   19           38.      During the relevant time, decedent used the t:slim pump to administer bolus of insulin
   20   as needed or at preset intervals in accordance with the user instructions and training provided by Tandem.
   21           39.      During the relevant time, decedent used the G6 System on a daily basis to monitor
   22   his BGV trends in real-time, prevent hyperglycemic and hypoglycemic episodes, and in the overall
   23   management of decedent’s diabetes.
   24           40.      During the relevant time, decedent used Dexcom’s software to obtain and review
   25   glucose information from the G6 System.
   26           41.      During the relevant time, decedent made no changes or alterations to the G6
   27   System, the t:slim pump, or any of their component parts.
   28
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                                COMPLAINT AND DEMAND FOR JURY TRIAL
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    1          42.      During the relevant time, decedent used the G6 System and t:slim pump as
    2   prescribed by his physician and as directed by Dexcom and Tandem.
    3          43.      On or about August 4, 2020, decedent changed out his sensor with his new one that
    4   evening, undertook the necessary programming, and went to bed. After the two-hour start up process,
    5   the G6 System read his BGV as extremely high.
    6          44.      On August 5, 2020 at 2AM, his BGV read 258, and five hours later at 7AM his BGV
    7   read 214. At approximately 7:28 AM, decedent received an insulin bolus from his t:slim pump as his
    8   BGV were still reading high at 218. The t:slim pump then administered a second bolus, thereby
    9   stacking his insulin, at 8:43 AM.
   10          45.      At the time of the second bolus administered by the t:slim pump at 8:43 AM,
   11   decedent was on his way to pick up his girlfriend to go hiking. He was operating his 1973 Chevy
   12   Nova northbound on County Road 120 just outside of Cheyene, Wyoming.
   13          46.      The second bolus dropped decedent into hypoglycemia, causing him to pass out
   14   behind the wheel, and crash into a Laramie County weed and pest truck servicing the shoulder of
   15   the road.
   16          47.      Anthony Higginbottom died from the injuries suffered in the collision.
   17          48.      Decedent’s G6 App failed to alert him to dangerous glucose levels and/or stopped
   18   receiving glucose information from the G6 System prior to second bolus.
   19          49.      Decedent’s G6 System failed to make accurate readings of his real-time BGV prior
   20   to administering first bolus from the t:slim pump.
   21          50.      Decedent’s G6 System failed to make accurate readings of his real-time BGV prior
   22   to administering the second bolus from the t:slim pump.
   23          51.      Decedent’s G6 System and t:slim pump malfunctioned by allowing the second
   24   bolus when his BGV levels were no longer reading high at 8:43 AM.
   25          52.      Moreover, when Decedent’s G6 App failed to notify or sound the alarm of a
   26   dangerous glucose level and/or stopped receiving glucose information from the G6 System,
   27   decedent was unaware he was experiencing a hypoglycemic event.
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    1           53.       The G6 System’s and t:slim pump’s failure to notify or sound the alarm of the
    2   dangerous glucose level deprived decedent and/or Plaintiff the “golden window” of time to
    3   intervene and prevent the tragic hypoglycemic-induced fatal collision.
    4           54.       As a direct and proximate result thereof, Anthony Higginbottom suffered serious
    5   injuries and died at the scene of the collision.
    6           55.       During all relevant times, decedent exercised ordinary care for his own safety and
    7   could not reasonably avoid his serious injuries, which resulted from G6 System’s and t:slim pump’s
    8   failure or defect.
    9           56.       Dexcom induced Plaintiff to rely on its representations about the G6 System’s and
   10   G6 App’s accuracy and efficacy for treating his son’s diabetes.
   11           57.       Tandem induced Plaintiff to rely on its representations about the t:slim’s reliability
   12   and efficacy for treating his son’s diabetes.
   13           58.       Plaintiff reasonably relied on Dexcom’s representations as to the G6 System and
   14   the G6 App’s accuracy and efficacy for treating his son’s diabetes.
   15           59.       Plaintiff reasonably relied on Tandem’s representations as to the t:slim’s reliability
   16   and efficacy for treating his son’s diabetes.
   17                                PUNITIVE DAMAGES ALLEGATIONS
   18           60.       Defendants have acted willfully, wantonly, with an evil motive, and recklessly in
   19   one or more of the following ways:
   20                 a. Prior to FDA clearance, Defendants knew the G6 System integrated with the t:slim
   21                    pump was often inaccurate and struggled to maintain reliable connectivity between
   22                    transmitter and display device;
   23                 b. After FDA clearance, Defendants received complaints from users and providers
   24                    detailing the high rates of reports regarding the G6 System integrated with the
   25                    t:slim pump being inaccurate and struggling to maintain reliable connectivity
   26                    between transmitter and display device;
   27                 c. Despite their knowledge of the inaccuracy of the BGV data and the unreliable
   28                    wireless communications between tranmistter and display deveice, Defendants
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    1                   affirmatively minimized this risk through marketing and promotional efforts and
    2                   product labeling;
    3                d. With said knowledge, Defendants opted to manufacture and distribute and market
    4                   the products without attempting to warn consumers or the public of the high risk of
    5                   injury or death that could result from the use of the products intentionally
    6                   fraudulently, consciously and actively concealing and suppressing their knowledge
    7                   of this risk from consumers and the public;
    8                e. Defednants impliedly represented the products were safe for their intended and
    9                   reasonably foreseeable use with knowledge of the falsity of said implied
   10                   representations.
   11          61.        The above referenced conduct of Defendants was motivated by the financial
   12   interest of Defendants in the continuing, uninterrupted distribution and marketing of the G6 System
   13   and t:slim pump. In pursuance of said financial motivation, Defendants consciously disregarded
   14   the safety of the consumer of the products, decedent Anthony Higginbottom, and were, in fact,
   15   consciously willing to permit the products to cause injury to consumers, including Decedent
   16   Anthony Higginbottom.
   17          62.       As the above referenced conduct of Defendants was and is vile, willful, malicious,
   18   fraudulent, oppressive, outrageous, and in conscious disregard and indifference to the safety and
   19   health of consumers of the G6 System and t:slim pump, including Decedent Anthony
   20   Higginbottom, for the sake of example and by way of punishing Defendants seek punitive damages
   21   according to proof.
   22                                                TOLLING
   23          63.      Plaintiff pleads he, Dexcom, and Tandem agreed to toll all applicable statutes of
   24   limitation and this action is being brought before the expiration of the tolling agreement.
   25          64.      Accordingly, any applicable statutes of limitations have been tolled.
   26          65.      Defendants are estopped from relying on the statute of limitations defense because
   27   of the tolling agreement.
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    1                                      FIRST CAUSE OF ACTION
    2                                              NEGLIGENCE
    3           66.     Plaintiff realleges and incorporates by reference every allegation contained in all
    4   other paragraphs of this Complaint as if each were set forth fully and completely herein.
    5           67.     At all times relevant, Dexcom was in the business of designing, developing, setting
    6   specifications, manufacturing, marketing, selling and/or distributing and instructing in the use of
    7   the G6 System, including the one purchased for decedent.
    8           68.     At all times relevant, Tandem was in the business of designing, developing, setting
    9   specifications, manufacturing, marketing, selling and/or distributing and instructing in the use of
   10   the t:slim pump, including the one purchased for decedent.
   11           69.     Dexcom had a duty to exercise reasonable and ordinary care in the manufacture,
   12   design, labeling, instructions, warnings, sale, marketing, safety surveillance and distribution of the
   13   G6 System so as to avoid exposing others to foreseeable and unreasonable risks of harm.
   14           70.     Tandem had a duty to exercise reasonable and ordinary care in the manufacture,
   15   design, labeling, instructions, warnings, sale, marketing, safety surveillance and distribution of the
   16   t:slim pump so as to avoid exposing others to foreseeable and unreasonable risks of harm.
   17           71.     Dexcom breached their duty of care to Plaintiff, decedent, and his physicians, in the
   18   manufacture, design, labeling, warnings, instructions, sale, marketing, safety surveillance, and
   19   distribution of the G6 System.
   20           72.     Tandem breached their duty of care to Plaintiff, decedent, and his physicians, in the
   21   manufacture, design, labeling, warnings, instructions, sale, marketing, safety surveillance, and
   22   distribution of the t:slim pump.
   23           73.     Dexcom knew, or reasonably should have known, the G6 System failed to measure
   24   its user’s BGV accurately and failed to adequately warn Plaintiff of this defect.
   25           74.     Tandem knew, or reasonably should have known, the t:slim pump may administer a
   26   second bolus of insulin, and therefore, stack insulin because the G6 System failed to measure its user’s
   27   BGV accurately and also failed to adequately warn Plaintiff of this defect.
   28           75.     Dexcom knew, or reasonably should have known, the G6 System failed to transmit
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    1   or failed to transmit in real-time BGV information from the sensor to the transmitter and/or display
    2   device and failed to warn Plaintiff of this defect.
    3          76.       Dexcom had a duty to warn Plaintiff, decedent’s physician, and/or the medical
    4   community of the potential for G6 System to malfunction or otherwise not operate as Dexcom
    5   represented and failed to do so.
    6          77.       Tandem had a duty to warn Plaintiff, decedent’s physician, and/or the medical
    7   community of the potential for t:slim to malfunction or otherwise not operate as Tandem
    8   represented and failed to do so.
    9          78.       Defendants breached these respective duties owed to Plaintiff and decedent, and, as
   10   a direct and proximate result, was harmed thereby.
   11          79.       Defendants knew, or reasonably should have known, the G6 System and t:slim pump
   12   were dangerous or likely to be dangerous when used in its intended or reasonably foreseeable
   13   manner.
   14          80.       At the time of the manufacture and sale of the G6 System, Dexcom knew, or
   15   reasonably should have known, the G6 System was designed and manufactured in such a way to
   16   present an unreasonable risk of inaccurate BGV readings inaccurate “real-time” reporting, and/or
   17   non-functioning alarm and notification.
   18          81.       At the time of the manufacture and sale of the t:slim pump, Tandem knew, or
   19   reasonably should have known, the G6 System was designed and manufactured in such a way as to
   20   present an unreasonable risk of calculating and transmitting inaccurate BGV readings to the
   21   integrated t:slim pump, thereby creating an unreasonably dangerous risk of insulin stacking to users
   22   like decedent.
   23          82.       At the time of the manufacture and sale of the G6 System, Dexcom knew, or
   24   reasonably should have known, the G6 System was designed and manufactured in such a way to
   25   present an unreasonable risk of harm by failing to accurately report or notify its user of a near-
   26   dangerous glucose level, which, in turn, deprived its users of a “golden window” of time to intervene
   27   and prevent serious injury or death.
   28          83.       At the time of the manufacture and sale of the G6 System, Dexcom knew, or
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    1   reasonably should have known, using the G6 System for its intended use or in a reasonably
    2   foreseeable manner created a significant risk of a patient suffering severe injuries, including but not
    3   limited to cardiac arrest, loss of consciousness, and coma, or death.
    4          84.     Dexcom knew, or reasonably should have known, that the consumer-patients of the
    5   G6 System would not realize the danger associated with using the G6 System for its intended use
    6   and/or in a reasonably foreseeable manner.
    7          85.     Tandem knew, or reasonably should have known, that the consumer-patients of the
    8   t:slim pump would not realize the danger of inaccurate BGV readings from the G6 System might
    9   cause them to receive an unreasonably dangerous amount of insulin from the device.
   10          86.     Defendants, jointly and severally, breached their respective duties to exercise
   11   reasonable and prudent care in the development, testing, design, manufacture, inspection,
   12   marketing, labeling, promotion, distribution and sale of the G6 System and t:slim pump in, among
   13   others, the following ways:
   14                  a. Designing and distributing products in which each Defendant knew, or
   15                      reasonably should have known, the likelihood and severity of potential harm
   16                      from the products exceeded the burden of taking measures to reduce or avoid
   17                      harm;
   18                  b. Designing and distributing products in which each Defendant knew, or
   19                      reasonably should have known, the likelihood and severity of potential harm
   20                      from the product exceeded the likelihood of potential harm from other
   21                      integrated glucose monitoring systems available for the same purpose;
   22                  c. Failing to use reasonable care in manufacturing the products and producing
   23                      products that differed from their design or specifications;
   24                  d. Failing to use reasonable care to warn or instruct Plaintiff, decedent,
   25                      decedent’s healthcare providers, or the general health care community about the
   26                      G6 System’s substantially dangerous condition or about facts making the
   27                      product likely to be dangerous, including pre-and post-sale;
   28                  e. Failing to use reasonable care to warn or instruct Plaintiff, decedent,
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    1                  decedent’s healthcare providers, or the general health care community about the
    2                  t:slim pump’s substantially dangerous condition or about facts making the
    3                  product likely to be dangerous, including pre-and post-sale;
    4               f. Failing to perform reasonable pre-and post-market testing of the G6 System and
    5                  t:slim pump to determine whether or not the product was safe for its intended
    6                  use;
    7               g. Failing to provide adequate instructions, guidelines, and safety precautions, to
    8                  those persons to whom it was reasonably foreseeable would prescribe the G6
    9                  System and t:slim pump to diabetics;
   10               h. Advertising, marketing and recommending the use of the G6 System and t:slim
   11                  pump, while concealing and failing to disclose or warn of the dangers known
   12                  by Defendants to be connected with and inherent in the use of the G6 System
   13                  and integrated t:slim pump;
   14               i. Representing that the G6 System was safe for its intended use when, in fact,
   15                  Dexcom knew, or reasonably should have known, the product was not safe for its
   16                  intended purpose;
   17               j. Representing that the t:slim pump was safe for its intended use when, in fact,
   18                  Tandem knew, or reasonably should have known, the product was not safe for its
   19                  intended purpose when integrated with the G6 System;
   20               k. Continuing the manufacture and sale of the G6 System with the knowledge the
   21                  G6 System was dangerous and not reasonably safe, and failing to comply with
   22                  the FDA good manufacturing regulations;
   23               l. Continuing the manufacture and sale of the t:slim pump with the knowledge the
   24                  t:slim pump was dangerous and not reasonably safe, and failing to comply with
   25                  the FDA good manufacturing regulations;
   26               m. Failing to use reasonable and prudent care in the design, research,
   27                  manufacture, and development of the G6 System so as to avoid the risk of
   28                  serious harm associated with the use of the G6 System;
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    1                   n. Failing to use reasonable and prudent care in the design, research,
    2                         manufacture, and development of the t:slim pump so as to avoid the risk of
    3                         serious harm associated with the use of the t:slim pump with G6 System;
    4                   o. Failing to establish an adequate quality assurance program used in the
    5                         manufacturing of the G6 System;
    6                   p. Failing to establish an adequate quality assurance program used in the
    7                         manufacturing of the t:slim pump;
    8                   q. Failing to establish and maintain an adequate post-marketing surveillance
    9                         program for the G6 System;
   10                   r. Failing to establish and maintain an adequate post-marketing surveillance
   11                         program for the t:slim pump;
   12                   s. Failing to adequately and correctly report safety information relative to theG6
   13                         System product resulting in inadequate warnings;
   14                   t. Failing to adequately and correctly report safety information relative to the t:slim
   15                         product resulting in inadequate warnings;
   16                   u. Failing to provide adequate and continuous warnings about the inherent
   17                         danger of the G6 System’s inaccurate glucose monitoring and reporting;
   18                   v. Failing to provide adequate warnings about the inherent danger of insulin
   19                         stacking resulting from the G6 System’s inaccurate glucose monitoring and
   20                         reporting; and
   21                   w. In committing other negligent acts or omissions as may be shown by the
   22                         evidence and proven at trial.
   23           87.      During all relevant times, decedent exercised ordinary care for his own safety and
   24   could not reasonably avoid his serious injuries and death caused by G6 System’s and t:slim pump’s
   25   failure or defect .
   26           88.      Reasonable manufacturers, distributors, and/or sellers under the same or similar
   27   circumstances would not have engaged in the aforementioned acts and omissions.
   28
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    1          89.      As a foreseeable, direct, and proximate consequence of Dexcom’s actions,
    2   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
    3   Higginbottom as provided for by California law.
    4          90.      As a foreseeable, direct, and proximate consequence of Tandem’s actions,
    5   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
    6   Higginbottom as provided for by California law.
    7          91.     In performing the foregoing acts or omissions, the Johnson & Johnson Defendants,
    8   and each of them, acted despicably, fraudulently, and with malice and oppression so as to justify
    9   and award of punitive and exemplary damages.
   10          92.     WHEREFORE, Plaintiff demands judgment against Defendants, and each of them
   11   individually, jointly, severally and in the alternative, requests compensatory damages, punitive
   12   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
   13   deems equitable and just.
   14                                    SECOND CAUSE OF ACTION
   15                      STRICT PRODUCTS LIABILITY – DESIGN DEFECT
   16          93.     Plaintiff realleges and incorporates by reference every allegation contained in all
   17   other paragraphs of this Complaint as if each were set forth fully and completely herein.
   18          94.     The G6 System is inherently dangerous and defective, unfit and unsafe for its
   19   intended use and reasonably foreseeable uses and does not meet or perform to the expectations of
   20   patients and their health care providers.
   21          95.     The t:slim pump is inherently dangerous and defective, unfit and unsafe for its
   22   intended use and reasonably foreseeable uses and does not meet or perform to the expectations of
   23   patients and their health care providers.
   24          96.     The G6 System was expected to, and did, reach its intended consumer without
   25   substantial change in the condition in which it was in when it left Dexcom’s possession. The t:slim
   26   pump was expected to, and did, reach its intended consumer without substantial change in the
   27   condition in which it was in when it left Tandem’s possession.
   28          97.     The G6 System purchased by Plaintiff for decedent was defective in design because
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    1   it failed to perform as safely as persons who ordinarily use the products would have expected at
    2   time of use.
    3             98.    The t:slim purchased by Plaintiff for decedent was defective in design because it
    4   failed to perform as safely as persons who ordinarily use the products would have expected at time
    5   of use.
    6             99.    The G6 System purchased by Plaintiff for decedent was defective in design, in that
    7   the G6 System’s risks of harm exceeded its claimed benefits.
    8             100.   The t:slim pump purchased by Plaintiff for decedent was defective in design, in that
    9   the t:slim pump’s risks of harm exceeded its claimed benefits.
   10             101.   Plaintiff, decedent, and decedent’s healthcare providers used the G6 System in a
   11   manner that was reasonably foreseeable to Dexcom.
   12             102.   Plaintiff, decedent, and decedent’s healthcare providers used the t:slim pump in a
   13   manner that was reasonably foreseeable to Tandem.
   14             103.   Plaintiff, decedent, and decedent’s healthcare providers could not have by the
   15   exercise of reasonable care discovered the G6 System’s defective conditions or perceived its
   16   unreasonable dangers prior to the purchase of the system.
   17             104.   Plaintiff, decedent, and decedent’s healthcare providers could not have by the
   18   exercise of reasonable care discovered the t:slim pump’s defective conditions or perceived its
   19   unreasonable dangers prior to the purchase of the product.
   20             105.   As a result of the foregoing design defects, the G6 System created risks to the health
   21   and safety of its users that were far more significant and devastating than the risks posed by other
   22   products and procedures available to treat the corresponding medical conditions, and which far
   23   outweigh the utility of the G6 System.
   24             106.   As a result of the foregoing design defects, the t:slim pump created risks to the health
   25   and safety of its users that were far more significant and devastating than the risks posed by other
   26   products and procedures available to treat the corresponding medical conditions, and which far
   27   outweigh the utility of the t:slim pump.
   28             107.   Dexcom has intentionally and recklessly designed the G6 System and t:slim pump
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    1   with wanton and willful disregard for the rights and health of the Plaintiff and others, and with
    2   malice, placing their economic interests above the health and safety of the Plaintiff and others.
    3          108.    As a foreseeable, direct, and proximate consequence of Dexcom’s actions,
    4   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
    5   Higginbottom as provided for by California law.
    6          109.    As a foreseeable, direct, and proximate consequence of Tandem’s actions,
    7   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
    8   Higginbottom as provided for by California law.
    9          110.    In performing the foregoing acts or omissions, the Defendants, and each of them,
   10   acted despicably, fraudulently, and with malice and oppression so as to justify and award of
   11   punitive and exemplary damages.
   12          111.    WHEREFORE, Plaintiff demands judgment against Defendants, and each of them
   13   individually, jointly, severally and in the alternative, requests compensatory damages, punitive
   14   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
   15   deems equitable and just.
   16                                     THIRD CAUSE OF ACTION
   17                 STRICT PRODUCTS LIABILITY – MANUFACTURING DEFECT
   18          112.    Plaintiff realleges and incorporates by reference every allegation contained in all
   19   other paragraphs of this Complaint as if each were set forth fully and completely herein.
   20          113.    Dexcom designed, set specifications, manufactured, prepared, compounded,
   21   assembled, processed, marketed, labeled, performed post-market surveillance, distributed and sold
   22   the G6 System that was purchased for decedent.
   23          114.    Tandem designed, set specifications, manufactured, prepared, compounded,
   24   assembled, processed, marketed, labeled, performed post-market surveillance, distributed and sold
   25   the t:slim pump that was purchased for decedent.
   26          115.    The G6 System purchased for decedent contained a condition or conditions, which
   27   Dexcom did not intend, at the time the G6 System left Dexcom’s control and possession.
   28          116.    The t:slim pump purchased for decedent contained a condition or conditions, which
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    1          117.    Tandem did not intend, at the time the t:slim pump left Tandem’s control and
    2   possession.
    3          118.    Decedent and decedent’s health care providers used the G6 System in a manner
    4   consistent with and reasonably foreseeable to Dexcom.
    5          119.    Decedent and decedent’s health care providers used the t:slim pump in a manner
    6   consistent with and reasonably foreseeable to Tandem.
    7          120.    As a result of these conditions, the products failed to perform as safely as the
    8   ordinary consumer would expect, causing injury, when used in a reasonably foreseeable manner.
    9          121.    The G6 System was defectively and/or improperly manufactured, rendering it
   10   defective and unreasonably dangerous and hazardous to decedent.
   11          122.    The t:slim pump was defectively and/or improperly manufactured, rendering it
   12   defective and unreasonably dangerous and hazardous to decedent.
   13          123.    As a result of the manufacturing defects, the G6 System and t:slim pump create risks
   14   to the health and safety of the patients that are far more significant and devastating than the risks
   15   posed by other products and procedures available to treat the corresponding medical conditions, and
   16   which far outweigh the utility of the G6 System and t:slim pump.
   17          124.    Dexcom has intentionally and recklessly manufactured the G6 System with wanton
   18   and willful disregard for the rights and health of the Plaintiffs and others, and with malice, placing
   19   their economic interests above the health and safety of the Plaintiff and others
   20          125.    Tandem has intentionally and recklessly manufactured the t:slim pump with wanton
   21   and willful disregard for the rights and health of the Plaintiffs and others, and with malice, placing
   22   their economic interests above the health and safety of the Plaintiff and others.
   23          126.    As a foreseeable, direct, and proximate consequence of Dexcom’s actions,
   24   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
   25   Higginbottom as provided for by California law.
   26          127.    As a foreseeable, direct, and proximate consequence of Tandem’s actions,
   27   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
   28   Higginbottom as provided for by California law.
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    1          128.    In performing the foregoing acts or omissions, the Defendants, and each of them,
    2   acted despicably, fraudulently, and with malice and oppression so as to justify and award of
    3   punitive and exemplary damages.
    4          129.    WHEREFORE, Plaintiff demands judgment against Defendants, and each of them
    5   individually, jointly, severally and in the alternative, requests compensatory damages, punitive
    6   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
    7   deems equitable and just.
    8                                   FOURTH CAUSE OF ACTION
    9                    STRICT PRODUCTS LIABILITY – FAILURE TO WARN
   10          130.    Plaintiff realleges and incorporates by reference every allegation contained in all
   11   other paragraphs of this Complaint as if each were set forth fully and completely herein.
   12          131.    Dexcom designed, set specifications, manufactured, prepared, compounded,
   13   assembled, processed, marketed, labeled, distributed and sold the G6 System, including the one
   14   purchased for decedent, into the stream of commerce and in the course of same, directly advertised
   15   and marketed the G6 System to consumers or persons responsible for consumers.
   16          132.    Tandem designed, set specifications, manufactured, prepared, compounded,
   17   assembled, processed, marketed, labeled, distributed and sold the t:slim pump, including the one
   18   purchased for decedent, into the stream of commerce and in the course of same, directly advertised
   19   and marketed the t:slim pump to consumers or persons responsible for consumers.
   20          133.    At the time Dexcom designed, set specifications, manufactured, prepared,
   21   compounded, assembled, processed, marketed, labeled, distributed and put the G6 System into the
   22   stream of commerce, Defendant knew, or reasonably should have known, the G6 System presented
   23   an unreasonable danger to users of the product when put to its intended and reasonably anticipated
   24   use.
   25          134.    At the time Tandem designed, set specifications, manufactured, prepared,
   26   compounded, assembled, processed, marketed, labeled, distributed and put the t:slim pump into the
   27   stream of commerce, Tandem knew, or reasonably should have known, the t:slim pump presented
   28   an unreasonable danger to users of the product when put to its intended and reasonably anticipated
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    1   use.
    2           135.      Specifically, Dexcom knew, or reasonably should have known, the G6 System posed
    3   a significant risk of inaccurate or failed glucose monitoring, reporting and alerting, resulting in
    4   significant injuries or deaths.
    5           136.      Specifically, Tandem knew, or reasonably should have known, the t:slim pump
    6   posed a significant risk of insulin stacking if the G6 System transmitted an inaccurate BGV, which
    7   would likely cause a hypoglycemic event resulting in significant injuries or death.
    8           137.      Dexcom had a duty to warn of the risk of harm associated with the use of the G6
    9   System and to provide adequate warnings concerning the risk of failed, inaccurate, or delayed (not
   10   real-time) BGV readings, notifications, and alarm failures to the user and his or her medical
   11   providers.
   12           138.      Tandem had a duty to warn of the risk of harm associated with the t:slim pump
   13   administering insulin based upon inaccurate BGV transmitted to the device by the G6 System and to
   14   provide adequate warnings concerning the risk of insulin stacking to patients using the t:slim pump.
   15           139.      Dexcom failed to adequately warn and instruct the decedent and his health care
   16   providers that the G6 System should not be relied upon as a sole method to calculate, measure,
   17   report and assess a diabetic’s BGV.
   18           140.      Tandem failed to adequately warn and instruct the decedent and his health care
   19   providers that the G6 System should not be relied upon as a sole method to calculate, measure,
   20   report and assess a diabetic’s BGV, and therefore, a user such as decedent should take fingerstick
   21   test before administering unscheduled insulin bolus from the t:slim pump.
   22           141.      The risks associated with the G6 System are of such a nature that health care
   23   providers and users could not have recognized the potential harm. The risks associated with the
   24   t:slim pump are of such a nature that health care providers and users could not have recognized the
   25   potential harm.
   26           142.      The G6 System was defective and unreasonably dangerous at the time of its release
   27   into the stream of commerce due to the inadequate warnings, labeling and/or instructions
   28   accompanying the product, including but not limited to, its representation as the replacement for
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    1   fingerstick glucose testing system.
    2          143.    The t:slim pump was defective and unreasonably dangerous at the time of its release
    3   into the stream of commerce due to the inadequate warnings, labeling and/or instructions
    4   accompanying the product, including but not limited to, its representation the G6 System serves as
    5   the replacement for fingerstick glucose testing system.
    6          144.    The G6 System, when purchased for decedent, was in the same condition as when it
    7   was manufactured, inspected, marketed, labeled, promoted, distributed and sold by Dexcom.
    8          145.    The t:slim pump, when purchased for decedent, was in the same condition as when
    9   it was manufactured, inspected, marketed, labeled, promoted, distributed and sold by Tandem.
   10          146.    Dexcom intentionally, recklessly, and maliciously misrepresented the safety, risks,
   11   and benefits of the G6 System in order to advance their own financial interests, with wanton and
   12   willful disregard for the rights and health of decedent.
   13          147.    Tandem intentionally, recklessly, and maliciously misrepresented the safety, risks,
   14   and benefits of the t:slim pump in order to advance their own financial interests, with wanton and
   15   willful disregard for the rights and health of decedent.
   16          148.    As a foreseeable, direct, and proximate consequence of Dexcom’s actions,
   17   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
   18   Higginbottom as provided for by California law.
   19          149.    As a foreseeable, direct, and proximate consequence of Tandem’s actions,
   20   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
   21   Higginbottom as provided for by California law.
   22          150.    In performing the foregoing acts or omissions, the Defendants, and each of them,
   23   acted despicably, fraudulently, and with malice and oppression so as to justify and award of
   24   punitive and exemplary damages.
   25          151.    WHEREFORE, Plaintiff demands judgment against Defendants, and each of them
   26   individually, jointly, severally and in the alternative, requests compensatory damages, punitive
   27   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
   28   deems equitable and just.
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    1                                       FIFTH CAUSE OF ACTION
    2                                          WRONGFUL DEATH
    3           152.     Plaintiff realleges and incorporates by reference every allegation contained in all
    4   other paragraphs of this Complaint as if each were set forth fully and completely herein.
    5           153.      As a result of the acts and/or omissions of Defendants, and each of them, as set
    6   aforesaid, Decedent Anthony Higginbottom’s use of the G6 Sytem and t:slim pump caused him to
    7   stack insulin, become hypoglycemic, lose consciousness while operating a motor vehicle, crash,
    8   and die on August 5, 2020.
    9           154.      Plaintiff Joseph Higginbottom was Decedent Anthony Higginbottom’s father and
   10   is a rightful heir to his estate.
   11           155.      As a direct and proximate result of the acts of Defendants, and each of them,
   12   Plaintiff Joseph Higginbottom has sustained pecuniary loss resulting from the loss of love, comfort,
   13   society, attention, services and support of Decedent in a sum exceeding $25,000 exclusive of
   14   interest and costs.
   15           156.      Plaintiff has lost pre-judgment interest pursuant to Civil Code Section 3288, the
   16   exact amount of which Plaintiff prays leave of the Court to insert herein when finally ascertained.
   17           157.      As a further direct and proximate result of the said conduct of Defendants, and each
   18   of them, Plaintiff has incurred, and will incur, loss of income, wages, pensions, profits and
   19   commissions, a diminished earning potential and other pecuniary losses, the full nature and extent
   20   of which are not yet known to Plaintiff; and leave is requested to amend this Complaint to conform
   21   to proof at the time of trial.
   22           158.      WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them
   23   individually, jointly, severally and in the alternative, requests compensatory damages, punitive
   24   damages, together with interest, costs of suit, attorney’s fees, and such further relief as the Court
   25   deems equitable and just.
   26   ///
   27   ///
   28   ///
                                                          -23-
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    1                                       PRAYER FOR RELIEF
    2          WHEREFORE, Plaintiff prays for judgment against Defendants and each of them as
    3   follows:
    4          1. For general damages according to proof;
    5          2. For loss of income according to proof;
    6          3. For punitive damages according to proof;
    7          4. For Plaintiff’s costs of suit herein; and
    8          5. For such other and further relief as this Court deems just and proper, including costs as
    9              provided in California Code of Civil Procedure sections 998 and 1032 and related
   10              provisions of law.
   11
        DATED: January 26, 2024                   Respectfully Submitted,
   12

   13
                                                  By:
   14                                                   Melisa A. Rosadini-Knott
                                                        PEIFFER WOLF CARR KANE CONWAY &
   15
                                                        WISE, LLP
   16

   17
                                                  By:          /s/ Robert M. Hammers, Jr.
   18
                                                        Robert M. Hammers, Jr. (Pro hace vice
   19                                                   application forthcoming)
                                                        HAMMERS LAW FIRM, LLC
   20

   21                                             By:          /s/ Jason E. Ochs
   22                                                   Jason Edward Ochs
                                                        OCHS LAW FIRM
   23

   24                                                 Attorneys for Plaintiff

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                                                        -24-
                               COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.163 Page 28 of 160



    1                                   DEMAND FOR JURY TRIAL
    2         Plaintiff hereby demands a trial by jury on all claims so triable.
    3
        DATED: January 26, 2024                  Respectfully Submitted,
    4

    5
                                                 By:
    6                                                  Melisa A. Rosadini-Knott
                                                       PEIFFER WOLF CARR KANE CONWAY &
    7
                                                       WISE, LLP
    8

    9
                                                 By:          /s/ Robert M. Hammers, Jr.
   10
                                                       Robert M. Hammers, Jr. (Pro hace vice
   11                                                  application forthcoming)
                                                       HAMMERS LAW FIRM, LLC
   12

   13                                            By:          /s/ Jason E. Ochs
   14                                                  Jason Edward Ochs
                                                       OCHS LAW FIRM
   15

   16                                                Attorneys for Plaintiff
   17

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                             COMPLAINT AND DEMAND FOR JURY TRIAL
Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.164 Page 29 of 160




            EXHIBIT "B"
      Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.165 Page 30 of 160
                                                                                                                                                                 POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                           FOR COURT USE ONLY
 Peiffer Wolf Carr Kane Conway & Wise, LLP
 Melisa Rosadini-Knott SBN 316369
 3435 Wilshire Boulevard, Suite 1400
 Los Angeles, CA 90010
              TELEPHONE NO:                                     FAX NO (Optional):
 E-MAIL ADDRESS (Optional):  mrosadini@peifferwolf.com
        ATTORNEY FOR (Name): Plaintiff

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF            San Diego
      STREET ADDRESS:    330 W. Broadway
     MAILING ADDRESS:
 CITY AND ZIP CODE:      San Diego, 92101-3409
        BRANCH NAME:     Central - Civil
        PLAINTIFF / PETITIONER:   Joseph Higginbottom, et al.                                                       CASE NUMBER:
 DEFENDANT / RESPONDENT:          Dexcom Inc., et al.                                                               37-2024-00003700-CU-PL-CTL

                                                                                                                    Ref. No. or File No.:
                                    PROOF OF SERVICE OF SUMMONS                                                     10333312 (22119878)
                                                   (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
I served copies of:
     a.   X     Summons
       b.         Complaint
       c.   X     Alternative Dispute Resolution (ADR) Package
       d.   X     Civil Case Cover Sheet (served in complex cases only)
       e.         Cross-Complaint
       f.   X     Other (specify documents):   Complaint and Demand for Jury Trial, Plaintiff Joseph Higginbottom's CCP 377.32 Successor-In-Interest
                                               Declaration, Notice of Case Assignment and Case Management Conference, Stipulation to Use of Alternative
                                               Dispute Resolution
3.     a. Party served (specify name of party as shown on documents served):
            Tandem Diabetes Care, Inc.
       b.    X    Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item 5b on whom
                  substituted service was made) (specify name and relationship to the party named in item 3a):
                  CSC Lawyers Incorporating Service - Jenn Bautista - Person Authorized to Accept Service of Process
4.     Address where the party was served:
       2710 Gateway Oaks Drive Suite 150N, Sacramento, CA 95833
5.     I served the party (check proper box)
       a.    X    by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                  receive service of process for the party (1) on (date): Tue, Jan 30 2024                          (2) at (time): 01:37 PM
       b.         by substituted service. On (date):                                      at (time):                                     I left the documents listed in
                  item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                  (1)          (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the person to be
                               served. I informed him or her of the general nature of the papers.
                  (2)          (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of the
                               party. I informed him or her of the general nature of the papers.
                  (3)          (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address of the person
                               to be served, other than a United States Postal Service post office box. I informed him or her of the general nature of the
                               papers.
                  (4)          I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                               where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents on (date):
                               from (city):                                                                          or            a declaration of mailing is attached.
                  (5)          I attach a declaration of diligence stating actions taken first to attempt personal service.




Form Adopted for Mandatory Use                                    PROOF OF SERVICE OF SUMMONS                                                                    Page 1 of 2
Judicial Council of California                                                                                                              Code of Civil Procedure, § 417.10
POS-010 [Rev. January 1, 2007]
     Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.166 Page 31 of 160
        PLAINTIFF / PETITIONER:    Joseph Higginbottom, et al.                                                   CASE NUMBER:
 DEFENDANT / RESPONDENT:           Dexcom Inc., et al.                                                           37-2024-00003700-CU-PL-CTL


5.   c.            by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address shown in item 4, by
                   first-class mail, postage prepaid,
                   (1) on (date):                                               (2) from (city):
                   (3)          with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me. (Attach
                                completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                   (4)          to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.            by other means (specify means of service and authorizing code section):
6.   The "Notice to the Person Served" (on the summons) was completed as follows:
     a.        as an individual defendant.
     b.            as the person sued under the fictitious name of (specify):
     c.            as occupant.
     d.       X    On behalf of (specify): Tandem Diabetes Care, Inc.
                   under the following Code of Civil Procedure section:
                    X    416.10 (corporation)                                                   415.95 (business organization, form unknown)
                          416.20 (defunct corporation)                                          416.60 (minor)
                          416.30 (joint stock company/association)                              416.70 (ward or conservatee)
                          416.40 (association or partnership)                                   416.90 (authorized person)
                          416.50 (public entity)                                                415.46 (occupant)
                          other:
7.   Person who served papers
     a. Name:                             Tyler DiMaria
     b.     Address:                      1400 N McDowell Blvd, Suite 300, Petaluma, CA 94954
     c.     Telephone number:             800-938-8815
     d.     The fee for service was: $40.00
     e.     I am:
            (1)         not a registered California process server.
            (2)         exempt from registration under Business and Professions Code section 22350(b).
            (3)    X    a registered California process server:
                        (i)          owner         employee      X independent contractor
                        (ii)    Registration No:   2006-006
                        (iii)   County:    Sacramento
8.      X      I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
               or
9.             I am a California sheriff or marshal and I certify that the foregoing is true and correct.



Date:       January 30, 2024
Tyler DiMaria
     (NAME OF PERSON WHO SERVED PAPERS / SHERIFF OR MARSHAL)

InfoTrack US, Inc. - P000618
1400 N McDowell Blvd, Suite 300
Petaluma, CA 94954
800-938-8815                                                                                                          (SIGNATURE)




POS-010 [Rev. January 1, 2007]                                    PROOF OF SERVICE OF SUMMONS                                                      Page 2 of 2
      Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.167 Page 32 of 160
                                                                                                                                                                 POS-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)                                                           FOR COURT USE ONLY
 Peiffer Wolf Carr Kane Conway & Wise, LLP
 Melisa Rosadini-Knott SBN 316369
 3435 Wilshire Boulevard, Suite 1400
 Los Angeles, CA 90010
              TELEPHONE NO:                                     FAX NO (Optional):
 E-MAIL ADDRESS (Optional):  mrosadini@peifferwolf.com
        ATTORNEY FOR (Name): Plaintiff

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF            San Diego
      STREET ADDRESS:    330 W. Broadway
     MAILING ADDRESS:
 CITY AND ZIP CODE:      San Diego, 92101-3409
        BRANCH NAME:     Central - Civil
        PLAINTIFF / PETITIONER:   Joseph Higginbottom, et al                                                        CASE NUMBER:
 DEFENDANT / RESPONDENT:          Dexcom Inc., et al.                                                               37-2024-00003700-CU-PL-CTL

                                                                                                                    Ref. No. or File No.:
                                    PROOF OF SERVICE OF SUMMONS                                                     10333313 (22119879)
                                                   (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
I served copies of:
     a.   X     Summons
       b.         Complaint
       c.   X     Alternative Dispute Resolution (ADR) Package
       d.   X     Civil Case Cover Sheet (served in complex cases only)
       e.         Cross-Complaint
       f.   X     Other (specify documents):   Complaint and Demand for Jury Trial, Plaintiff Joseph Higginbottom's CCP 377.32 Successor-In-Interest
                                               Declaration, Notice of Case Assignment and Case Management Conference, Stipulation to Use of Alternative
                                               Dispute Resolution
3.     a. Party served (specify name of party as shown on documents served):
            Dexcom, Inc.
       b.    X    Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under item 5b on whom
                  substituted service was made) (specify name and relationship to the party named in item 3a):
                  CSC Lawyers Incorporating Service -Jenn Bautista - Person Authorized to Accept Service of Process
4.     Address where the party was served:
       2710 Gateway Oaks Drive Suite 150N, Sacramento, CA 95833
5.     I served the party (check proper box)
       a.    X    by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                  receive service of process for the party (1) on (date): Tue, Jan 30 2024                          (2) at (time): 01:37 PM
       b.         by substituted service. On (date):                                      at (time):                                     I left the documents listed in
                  item 2 with or in the presence of (name and title or relationship to person indicated in item 3):

                  (1)          (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the person to be
                               served. I informed him or her of the general nature of the papers.
                  (2)          (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of abode of the
                               party. I informed him or her of the general nature of the papers.
                  (3)          (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address of the person
                               to be served, other than a United States Postal Service post office box. I informed him or her of the general nature of the
                               papers.
                  (4)          I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the place
                               where the copies were left (Code Civ. Proc., § 415.20). I mailed the documents on (date):
                               from (city):                                                                          or            a declaration of mailing is attached.
                  (5)          I attach a declaration of diligence stating actions taken first to attempt personal service.




Form Adopted for Mandatory Use                                    PROOF OF SERVICE OF SUMMONS                                                                    Page 1 of 2
Judicial Council of California                                                                                                              Code of Civil Procedure, § 417.10
POS-010 [Rev. January 1, 2007]
     Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.168 Page 33 of 160
        PLAINTIFF / PETITIONER:    Joseph Higginbottom, et al                                                    CASE NUMBER:
 DEFENDANT / RESPONDENT:           Dexcom Inc., et al.                                                           37-2024-00003700-CU-PL-CTL


5.   c.            by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address shown in item 4, by
                   first-class mail, postage prepaid,
                   (1) on (date):                                               (2) from (city):
                   (3)          with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me. (Attach
                                completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                   (4)          to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.            by other means (specify means of service and authorizing code section):
6.   The "Notice to the Person Served" (on the summons) was completed as follows:
     a.        as an individual defendant.
     b.            as the person sued under the fictitious name of (specify):
     c.            as occupant.
     d.       X    On behalf of (specify): Dexcom, Inc.
                   under the following Code of Civil Procedure section:
                    X    416.10 (corporation)                                                   415.95 (business organization, form unknown)
                          416.20 (defunct corporation)                                          416.60 (minor)
                          416.30 (joint stock company/association)                              416.70 (ward or conservatee)
                          416.40 (association or partnership)                                   416.90 (authorized person)
                          416.50 (public entity)                                                415.46 (occupant)
                          other:
7.   Person who served papers
     a. Name:                             Tyler DiMaria
     b.     Address:                      1400 N McDowell Blvd, Suite 300, Petaluma, CA 94954
     c.     Telephone number:             800-938-8815
     d.     The fee for service was: $40.00
     e.     I am:
            (1)         not a registered California process server.
            (2)         exempt from registration under Business and Professions Code section 22350(b).
            (3)    X    a registered California process server:
                        (i)          owner         employee     X independent contractor
                        (ii)    Registration No:   2006-006
                        (iii)   County:    Sacramento
8.      X      I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
               or
9.             I am a California sheriff or marshal and I certify that the foregoing is true and correct.



Date:       January 30, 2024
Tyler DiMaria
     (NAME OF PERSON WHO SERVED PAPERS / SHERIFF OR MARSHAL)

InfoTrack US, Inc. - P000618
1400 N McDowell Blvd, Suite 300
Petaluma, CA 94954
800-938-8815                                                                                                          (SIGNATURE)




POS-010 [Rev. January 1, 2007]                                    PROOF OF SERVICE OF SUMMONS                                                      Page 2 of 2
Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.169 Page 34 of 160




            EXHIBIT "C"
Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.170 Page 35 of 160


       From:          Jenny Covington
       To:            Rob Hammers
       Cc:            Mike Hurvitz; Tracy Lyon; Allison Abbott; Jason Edward Ochs; Melisa Rosadini-Knott; HigginbottomAnthonyZ11595943@hammerslawfirm.filevineapp.com
       Subject:       Re: Service of process complete for Joseph Higginbottom vs. Dexcom Inc., et al.
       Date:          Thursday, February 1, 2024 9:27:28 PM



       EXTERNAL EMAIL - Use caution before opening attachments or clicking links.

   ﻿
   Hi Rob-

   Happy to chat tomorrow but in the meantime see the attached filing confirmation. We filed at 12:38 PM.

   Jenny
Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.171 Page 36 of 160


      On Feb 1, 2024, at 7:17 PM, Rob Hammers <rob@hammerslawfirm.com> wrote:


      ﻿
      Mike,

      We received your notice of removal stamped filed at 3:50 PM PST (see below). Dexcom and Tandem were served at 1:37 PM PST (see attached). The tardy removal using the “snap”
      tactic failed. We are happy to meet and confer before filing a motion to remand, but we ask that you simply withdraw/reverse your removal to save the court and us time litigating this
      issue.

      I am reachable tomorrow any time. Should we not hear from you, we will proceed with a motion to remand on Monday.

      Best,

      Rob

      Notice of Electronic Filing

      The following transaction was entered on 1/30/2024 at 3:50 PM PST and filed on 1/30/2024
          Case Name:                Higginbottom v. Dexcom, Inc. et al
          Case Number:              3:24-cv-00195-WQH-BLM
          Filer:                    Tandem Diabetes Care, Inc.
          Document Number: 1

      Docket Text:
      NOTICE OF REMOVAL with Jury Demand ( Filing fee $ 405 receipt number ACASDC-18543223.), filed by Tandem Diabetes Care, Inc. (Attachments: # (1) Civil
      Cover Sheet, # (2) Exhibit A - Complaint, # (3) Exhibit B - Register of Actions)

      The new case number is 3:24-cv-195-WQH-BLM. Judge William Q. Hayes and Magistrate Judge Barbara Lynn Major are assigned to the case.(ggv)


      3:24-cv-00195-WQH-BLM Notice has been electronically mailed to:

      Melisa Rosadini-Knott              mrosadini@peifferwolf.com

      3:24-cv-00195-WQH-BLM Notice has been delivered by other means to:

      Jason Edward Ochs
      Ochs Law Firm
      P.O. Box 10944
      Jackson, WY 83002

      Michael J Hurvitz
      Nelson Mullins Riley & Scarborough, LLP
      750 B Street
      Suite 2200
      San Diego, CA 92101

      <image002.png>

      Robert M. Hammers, Jr.

      <!--[if !vml]-->
      <image004.png>
      <!--[endif]-->5555 Glenridge Connector, Suite 975 Atlanta, GA 30342 |

          Main: (770) 900-9000 | Fax: (404) 600-2626
          rob@hammerslawfirm.com | www.hammerslawfirm.com

      THIS E-MAIL IS INTENDED ONLY FOR THE ABOVE-NAMED RECIPIENT(S) AND IS CONFIDENTIAL. This e-mail message and attachments, if any, are intended solely for the use of the
      addressee hereof. In addition, this message and attachments, if any, may contain information that is confidential, privileged and exempt from disclosure under applicable law. If you are not the
      intended recipient of this message, you are prohibited from reading, disclosing, reproducing, or otherwise using this transmission. Delivery of this message to any person other than the intended
      recipient is not intended to waive any legal right or privilege. If you have received this message in error, please promptly notify the sender by e-mail and immediately delete this message and
      attachments, if any, from your system.


      From: Melisa Rosadini-Knott <mrosadini@peifferwolf.com>
      Sent: Wednesday, January 31, 2024 1:16 AM
      To: Rob Hammers <rob@hammerslawfirm.com>
      Cc: Brandon Wise <BWise@peifferwolf.com>; Kevin Conway <kconway@peifferwolf.com>; Jamie Falgout <jfalgout@peifferwolf.com>; Crystal Lathrop <clathrop@peifferwolf.com>
      Subject: FW: Service of process complete for Joseph Higginbottom vs. Dexcom Inc., et al.


          EXTERNAL EMAIL - Use caution before opening attachments or clicking links.

      Rob,

      Attached is the POS showing service at 1:37 p.m. PST.

      Melisa Rosadini-Knott
      Associate

      3435 Wilshire Blvd., Ste. 1400
      Los Angeles, CA 90010
      I Direct: 323-982-4109 I Cell: 310-490-6591

                                                          <!--[if <!--[if <!--[if
                                                         !vml]-- !vml]-- !vml]--
      peifferwolf.com                                   ><!-- ><!-- ><!--
                                                        [endif]- [endif]- [endif]-
                                                              ->      ->       ->
      This message is intended for the named recipient(s) only. It may contain
      information protected by the attorney-client and/or work product privilege. If you
      have received this email in error, please notify the sender immediately, do not
      disclose this message to anyone, and delete the message and any attachments.
Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.172 Page 37 of 160

         Thank you very much. No attorney-client relationship is formed unless agreed to
         explicitly in writing.




         From: noreply@onelegal.com <noreply@onelegal.com>
         Sent: Tuesday, January 30, 2024 10:05 PM
         To: Melisa Rosadini-Knott <mrosadini@peifferwolf.com>
         Subject: Service of process complete for Joseph Higginbottom vs. Dexcom Inc., et al.




                                                                              Service of Process Order Complete

                                                                              Order #                             22119879
                                                                              Submitted                           1/30/2024 12:08 AM PT by Melisa Rosadini-Knott
                                                                              Case                                Joseph Higginbottom vs. Dexcom Inc., et al.
                                                                              Case #                              #37-2024-00003700-CU-PL-CTL
                                                                              Party to serve                      Dexcom, Inc.
                                                                              Last day to serve                   2/16/2024
                                                                              Client billing                      Dexcom Co-Counsel Cases

                                                                              Documents

                                                                              •   Complaint and Demand for Jury Trial
                                                                              •   Civil Case Cover Sheet
                                                                              •   Summons
                                                                              •   Plaintiff Joseph Higginbottom's CCP 377.32 Success...
                                                                              •   Notice of Case Assignment and Case Management Conf...
                                                                              •   Alternative Dispute Resolution Information Package
                                                                              •   Stipulation to Use of Alternative Dispute Resoluti...
                                                                              •   Notice of Confirmation of Filing SD
                                                                              •    Affidavit

                                                                              Please find your affidavit of service for process serve order# 22119879 attached.

                                                                              You can review the details of your order at any time in your One Legal account.

                                                                              Thank you,
                                                                              The One Legal Team

                                                                              How are we doing? Share your feedback.

                                                                                           You are receiving this email in response to an order that was placed on www.onelegal.com
                                                                                                     Get help on our Support Center or by email at support@onelegal.com.

                                                                                               InfoTrack US, Inc. 1400 North McDowell Blvd., Suite 300, Petaluma, CA 94954




         This email has been scanned for spam and viruses by Proofpoint Essentials. Click here to report this email as spam.
         **** This message originated from outside of our company. Do not click links or open attachments unless you recognize the sender and know the content is safe. ****

         <Affidavit.pdf>
         <mime-attachment>
         <mime-attachment>
         <2024.01.30 Tandem's Notice of Removal.pdf>

   Confidentiality Notice
   This message is intended exclusively for the individual or entity to which it is addressed. This communication may contain information that is proprietary, privileged, confidential or otherwise legally
   exempt from disclosure. If you are not the named addressee, you are not authorized to read, print, retain, copy or disseminate this message or any part of it. If you have received this message in error,
   please notify the sender immediately either by phone (800-237-2000) or reply to this e-mail and delete all copies of this message.
Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.173 Page 38 of 160




            EXHIBIT "D"
                                               Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.174 Page 39 of 160



                                                  1   NELSON MULLINS RILEY &
                                                      SCARBOROUGH LLP
                                                  2   Jenny A. Covington (SBN: 233625)
                                                      1600 Utica Avenue South, Suite 600
                                                  3   Minneapolis, MN 55416
                                                      Telephone:    612.464.7626
                                                  4   Facsimile:    612.255.0739
                                                      jenny.covington@nelsonmullins.com
                                                  5
                                                      Attorneys for Defendant
                                                  6   TANDEM DIABETES CARE, INC.

                                                  7

                                                  8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                  9                                 FOR THE COUNTY OF SAN DIEGO
N ELSO N M ULLINS R IL EY & S CARBOROUGH LLP




                                                 10   JOSEPH HIGGINBOTTOM, individually on              Case No: 37-2024-3700-CU-PL-CTL
                                                      behalf of heirs, and as Personal Representative
                                                 11   of the ESTATE OF ANTHONY
                                                      HIGGINBOTTOM,                                     DEFENDANT TANDEM DIABETES CARE,
             A TTORNEYS AT L AW




                                                 12                                                     INC.’S NOTICE OF FILING OF NOTICE
                 S AN D I EGO




                                                                                    Plaintiff,          OF REMOVAL
                                                 13
                                                             vs.
                                                 14                                                     Action Filed: January 26, 2024
                                                      DEXCOM, INC. and TANDEM DIABETES
                                                 15   CARE, INC.,
                                                 16                                 Defendants.
                                                 17
                                                             TO:     CLERK OF THE COURT
                                                 18                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                 19                  FOR THE COUNTY OF SAN DIEGO

                                                 20                  Melissa A. Rosadini-Knott, Esq.
                                                                     Peiffer Wolf Carr Kane Conway & Wise, LLP
                                                 21                  3435 Wilshire Blvd., Suite 1400
                                                                     Los Angeles, CA 90010
                                                 22                  mrosadini@peifferwolf.com
                                                 23
                                                                     Robert M. Hammers, Jr., Esq.
                                                 24                  Hammers Law Firm, LLC
                                                                     5555 Glenridge Connector, Suite 975
                                                 25                  Atlanta, GA 30342
                                                                     rob@hammerslawfirm.com
                                                 26

                                                 27   ///
                                                 28   ///
                                                                                                  1
                                                                DEFENDANT TANDEM DIABETES, INC.’S NOTICE OF FILING OF NOTICE OF REMOVAL
                                               Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.175 Page 40 of 160



                                                  1                 Jason E. Ochs, Esq.
                                                                    Ochs Law Firm
                                                  2                 P.O. Box 10944
                                                  3                 Jackson, WY 83002
                                                                    jason@ochslawfirm.com
                                                  4
                                                                    Attorneys for Plaintiff
                                                  5

                                                  6          PLEASE TAKE NOTICE that, on January 30, 2024, Defendant Tandem Diabetes Care,
                                                  7   Inc. has filed its Notice of Removal of Action Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 in the
                                                  8   Office of the Clerk of the United States District Court for the Southern District of California. A
                                                  9   copy of the Notice of Removal with exhibits is attached as Exhibit A. In accordance with 28 U.S.C.
N ELSO N M ULLINS R IL EY & S CARBOROUGH LLP




                                                 10   §§ 1441 and 1446, the Notice of Removal has effected the removal of the above-captioned action
                                                 11   from this Court to the United States District Court for the Southern District of California.
             A TTORNEYS AT L AW




                                                 12
                 S AN D I EGO




                                                             .
                                                 13   Dated: January 30, 2024                 Respectfully submitted,
                                                 14                                           NELSON MULLINS RILEY & SCARBOROUGH LLP
                                                 15

                                                 16                                           By:     ________________________________________
                                                                                                      Jenny A. Covington
                                                 17
                                                                                                      Attorneys for Defendant
                                                 18                                                   TANDEM DIABETES CARE, INC.
                                                 19

                                                 20

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                                                            DEFENDANT ASEA INTERNATIONAL, LLC’S NOTICE OF FILING OF NOTICE OF REMOVAL
                                               Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.176 Page 41 of 160



                                                  1                                        PROOF OF SERVICE
                                                                                         (CCP § 1013(a) and 2015.5)
                                                  2
                                                             I, the undersigned, am employed in the County of Duval, State of Florida. I am over the age
                                                  3   of 18 and not a party to the within action; am employed with Nelson Mullins Riley & Scarborough
                                                      LLP and my business address is 50 N. Laura Street, Suite 4100, Jacksonville, FL 32202.
                                                  4
                                                              On January 30, 2024 I served the foregoing document entitled DEFENDANT TANDEM
                                                  5   DIABETES CARE, INC.’S NOTICE OF FILING OF NOTICE OF REMOVAL on all the
                                                      appearing and/or interested parties in this action by placing the original a true copy thereof
                                                  6   as follows:

                                                  7                  [by MAIL] - I am readily familiar with the firm’s practice of collection and
                                                      processing correspondence for mailing. Under that practice it would be deposited with the U.S.
                                                  8   Postal Service on that same day with postage thereon fully prepaid at Los Angeles, California in the
                                                      ordinary course of business. I am aware that on motion of the party served, service is presumed
                                                  9   invalid if postage cancellation date or postage meter date is more than one day after date of deposit
                                                      for mailing this affidavit.
N ELSO N M ULLINS R IL EY & S CARBOROUGH LLP




                                                 10
                                                                    [by FEDERAL EXPRESS] - I am readily familiar with the firm’s practice for
                                                 11   collection and processing of correspondence for overnight delivery by Federal Express. Under that
                                                      practice such correspondence will be deposited at a facility or pick-up box regularly maintained by
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                                                 12   Federal Express for receipt on the same day in the ordinary course of business with delivery fees
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                                                      paid or provided for in accordance with ordinary business practices.
                                                 13
                                                                      [by ELECTRONIC SUBMISSION] – By transmitting such document(s)
                                                 14   electronically from my e-mail address at Nelson Mullins Riley & Scarborough LLP to the person(s)
                                                      at the electronic mail addresses listed above pursuant to Emergency Rule 12 and/or the agreement
                                                 15   of the parties.

                                                 16                 [by PERSONAL SERVICE] - I caused to be delivered by messenger such
                                                      envelope(s) by hand to the office of the addressee(s). Such messenger is over the age of eighteen
                                                 17   years and not a party to the within action and employed with [attorney service].

                                                 18           I declare that I am employed in the office of a member of the bar of this Court at whose
                                                      direction the service was made.
                                                 19
                                                             Executed January 30, 2024 at Jacksonville, FL.
                                                 20

                                                 21    Allison Abbott                                 By: Allison Abbott
                                                                        Print Name                                             Signature

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                                                                                              PROOF OF SERVICE
                                               Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.177 Page 42 of 160



                                                  1
                                                                                            SERVICE LIST
                                                  2

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                                                 10   Jason E. Ochs, Esq.
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                                                      Jackson, WY 83002W
                                                 12
                                                      jason@ochslawfirm.com
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                                                 13
                                                      Attorneys for Plaintiff
                                                 14

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                                                                                            PROOF OF SERVICE
Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.178 Page 43 of 160




                         EXHIBIT A
                                               Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.179 Page 44 of 160



                                                  1   NELSON MULLINS RILEY &
                                                      SCARBOROUGH LLP
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                                                  8   jenny.covington@nelsonmullins.com
                                                  9   Attorneys for Defendant
                                                      TANDEM DIABETES CARE, INC.
N ELSO N M ULLINS R IL EY & S CARBOROUGH LLP




                                                 10
                                                                            UNITED STATES DISTRICT COURT
                                                 11
                                                                          SOUTHERN DISTRICT OF CALIFORNIA
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                                                      JOSEPH HIGGINBOTTOM,                         Case No.
                                                 13   individually on behalf of heirs, and as
                                                      Personal Representative of the               (Removed from San Diego Superior
                                                 14   ESTATE OF ANTHONY                            Court, Case No: 37-2024-00003700-CU-
                                                      HIGGINBOTTOM,                                PL-CTL)
                                                 15
                                                                                Plaintiff,         DEFENDANT TANDEM DIABETES
                                                 16                                                CARE, INC.’S NOTICE OF
                                                            vs.                                    REMOVAL OF ACTION PURSUANT
                                                 17                                                TO JURISDICTION UNDER 28
                                                      DEXCOM, INC. and TANDEM                      U.S.C. §§ 1332, 1441, AND 1446
                                                 18   DIABETES CARE, INC.,
                                                                                                   Trial Date:      None
                                                 19                             Defendants.        Action Filed:    January 26, 2024
                                                 20

                                                 21   TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
                                                 22   SOUTHERN DISTRICT OF CALIFORNIA:
                                                 23         Please take notice that Defendant Tandem Diabetes, Care, Inc. (“Tandem”),
                                                 24   pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, removes this case from the Superior
                                                 25   Court, San Diego County, to the United States District Court for the Southern District
                                                 26   of California. In support of this Notice of Removal, Tandem states as follows:
                                                 27   ///
                                                 28
                                                                                                 1
                                                                      DEFENDANT TANDEM DIABETES CARE, INC.’S NOTICE OF REMOVAL
                                                                          OF ACTION PURSUANT TO 28 U.S.C. §§ 1332, 14441, AND 1446
                                               Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.180 Page 45 of 160




                                                  1                                    Factual Background
                                                  2         1.    On January 26, 2024, Plaintiff Joseph Higginbottam, individually and as
                                                  3   Personal Representative of the Estate of Anthony Higginbottom (“Plaintiff”) filed a
                                                  4   lawsuit in the San Diego County Superior Court entitled as follows: Joseph
                                                  5   Higginbottam, individually and as Personal Representative of the Estate of Anthony
                                                  6   Higginbottom vs. Dexcom, Inc. and Tandem Diabetes Care, Inc., Case No. 37-2024-
                                                  7   00003700-CU-PL-CTL. Pursuant to 28 U.S.C. § 1446, a true and correct copy of the
                                                  8   Complaint is attached hereto as Exhibit A.
                                                  9         2.    The Complaint alleges various product liability and negligence claims
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                                                 10   related to the Tandem t:slim X2TM Insulin Pump. While Tandem contests the
                                                 11   adequacy of the pleading, it appears the Complaint asserts claims sounding in strict
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                                                 12   liability—design defect, manufacturing defect, failure to warn, and negligence (See
                                                 13   Compl.).
                                                 14         3.    Tandem has not been served with the Complaint.
                                                 15         4.    A review of the Register of Actions of the Superior Court for the County
                                                 16   of San Diego indicates that no proofs of service of the summons and complaint on
                                                 17   any party have been filed. A true and correct copy of the Register of Actions is
                                                 18   attached hereto as Exhibit B. Tandem is informed and believes the Complaint has not
                                                 19   been served on any defendant named in this action.
                                                 20         5.    The Complaint was the first pleading, notice, order, or other paper from
                                                 21   which it could be ascertained that this action is removeable. See 28 U.S.C. §
                                                 22   1446(b)(1). Accordingly, this Notice of Removal is timely filed.
                                                 23                                            Venue
                                                 24         6.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 115, 1391, 1441(a),
                                                 25   and 1446(a) because the San Diego County Superior Court, where the Complaint was
                                                 26   filed, is a state court within the Southern District of California.
                                                 27   ///
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                                                                     DEFENDANT TANDEM DIABETES CARE, INC.’S NOTICE OF REMOVAL
                                                                         OF ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
                                               Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.181 Page 46 of 160




                                                  1                                          Jurisdiction
                                                  2         7.      This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a)
                                                  3   because (i) there is complete diversity of citizenship between Plaintiff and Tandem;
                                                  4   (ii) the amount in controversy exceeds $75,000, exclusive of interests and costs; and
                                                  5   (iii) Tandem has satisfied the procedural requirements for removal.
                                                  6   I.    There is complete diversity of citizenship between Plaintiff and Tandem.
                                                  7         8.      There is complete diversity of citizenship between the parties in this case.
                                                  8   Plaintiff is a citizen of Wyoming. Exhibit A, ¶ 2. Because Tandem is a corporation,
                                                  9   it is a citizen of any state in which it was incorporated and the state where it has its
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                                                 10   principal place of business. 28 U.S.C. § 1332. Tandem is incorporated in the State
                                                 11   of Delaware and has its principal place of business in California. Exhibit A, ¶ 6.
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                                                 12   Therefore, there is diversity of citizenship between Plaintiff and Tandem.
                                                 13         9.      Dexcom is incorporated and has its principal place of business in
                                                 14   California. Exhibit A, ¶ 5. See also, Erhman v. Cox Commc’ns, Inc., 932 F. 3d 1223,
                                                 15   1227 (9th Cir. 2019) (in notice of removal, “a defendant’s allegations of citizenship
                                                 16   may be based solely on information and belief”); Carolina Cas. Ins. Co. v. Team
                                                 17   Equip, Inc., 741 F.3d 1082, 1086 (9th Cir. 2014) (permitting pleading of citizenship
                                                 18   on information and belief.)
                                                 19   II.   The amount in controversy exceeds $75,000.
                                                 20         10. Federal law limits federal diversity jurisdiction to matters for which the
                                                 21   amount in controversy exceeds $75,000. 28 U.S.C. § 1332(b); see also 28 U.S.C. §
                                                 22   1446(c)(2).     “[A] defendant’s notice of removal need include only a plausible
                                                 23   allegation that the amount in controversy exceeds the jurisdictional threshold.” Dart
                                                 24   Cherokee Basin Operating Co. v. Owens, 574 U.S. 81, 88-89 (2014); see also,
                                                 25   Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996). Though
                                                 26   Tandem denies any liability to Plaintiff, his allegations of wrongful death and punitive
                                                 27   damages plainly place more than $75,00 in controversy. As Plaintiff alleges that the
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                                                                      DEFENDANT TANDEM DIABETES CARE, INC.’S NOTICE OF REMOVAL
                                                                          OF ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
                                               Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.182 Page 47 of 160




                                                  1   decedent died in a car crash after he passed out behind the wheel of a car allegedly
                                                  2   due to an improper bolus of insulin from the Defendants’ medical device, the amount
                                                  3   in controversy exceeds $75,000. Compl. ¶¶ 36-54. Plaintiff also seeks punitive
                                                  4   damages. Compl. ¶¶ 60-62. See, also e.g., Campbell v. Bridgestone/Firestone, Inc.,
                                                  5   2006 WL 707291, at *2 (E.D. Cal. Mar. 17, 2006) (amount in controversy satisfied
                                                  6   where plaintiff assert strict products liability, negligence, and breach of warranty
                                                  7   claims, and allegedly suffered head trauma and broken bones); See also, Fjelstad v.
                                                  8   Vitamin Shoppe Industries LLC, 2021 WL 364638, *4 (C.D. Cal. 2021) (courts have
                                                  9   traditionally found it facially apparent from complaint that amount in controversy was
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                                                 10   satisfied in cases alleging serious injuries that require surgery, meaning plaintiff's
                                                 11   allegations of third-degree burns and permanent physical incapacitation were
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                                                 12   sufficient to establish diversity jurisdiction, despite plaintiff's failure to plead specific
                                                 13   monetary amount). “[J]udicial experience and common sense dictate that the value
                                                 14   of [Plaintiff’s] claims (as pled) more likely than not exceeds the minimum
                                                 15   jurisdictional requirement.” Roe v. Michelin N. Am., Inc., 613 F.3d 1058, 1066 (11th
                                                 16   Cir. 2010). Were Plaintiff to prevail on his claims, she would recover in excess of
                                                 17   $75,000.
                                                 18   III. Tandem has satisfied the procedural requirements for removal.
                                                 19          11. “The notice of removal of a civil action or proceeding shall be filed within
                                                 20   30 days after the receipt by the defendant, through service or otherwise, of a copy of
                                                 21   the initial pleading setting forth the claim for relief upon which such action or
                                                 22   proceeding is based.” 28 U.S.C. § 1446(b)(1). Here, Tandem has not been served
                                                 23   with the Complaint, which was filed on January 26, 2024. This Notice of Removal is
                                                 24   therefore timely because (i) fewer than thirty days have elapsed since any service of
                                                 25   the Complaint; and (ii) this Notice of Removal has been brought less than one year
                                                 26   after the commencement of the state action.
                                                 27   ///
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                                                                      DEFENDANT TANDEM DIABETES CARE, INC.’S NOTICE OF REMOVAL
                                                                          OF ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
                                               Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.183 Page 48 of 160




                                                  1         12. California federal courts permit removal by a home-state defendant that
                                                  2   has not received service of the complaint. Hong Kong Continental Trade Co. vs.
                                                  3   Natural Balance Pet Foods, Inc., 2023 WL 2664246, at *4-5 (C.D. Cal. Mar. 28,
                                                  4   2023). Tandem has not been served with the Complaint and is therefore not barred
                                                  5   from removing this action by 28 U.S.C. § 1441(b)(2) (requiring that the defendant be
                                                  6   “properly joined and served”). The majority of District Courts and several Circuits
                                                  7   have “consistently held a defendant may remove an action prior to receiving proper
                                                  8   service, even when the defendant resides in the state in which the plaintiff filed the
                                                  9   state claim.” Sherman v. Haynes & Boone, No. 5:14-CV-01064-PSG, 2014 WL
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                                                 10   4211118, at *1 (N.D. Cal. Aug. 22, 2014); Loewen v. McDonnell, No. 19-CV-00467-
                                                 11   YGR, 2019 WL 2364413, at *7 (N.D. Cal. June 5, 2019); Monfort v. Adomani, Inc.,
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                                                 12   2019 WL 131842, *3 (N.D. Cal. Jan. 8, 2019) (adopting plain language of section
                                                 13   1441(b)(2)); Carreon v. Alza Corp., No. C 09-5623 RS, 2010 WL 539392, at *1 (N.D.
                                                 14   Cal. Feb. 9, 2010) (“Courts in this district have routinely applied [section 1441(b)] as
                                                 15   it is written.”); City of Ann Arbor Employees' Ret. Sys. v. Gecht, No. C-06-7453 EMC,
                                                 16   2007 WL 760568, at *10 (N.D. Cal. Mar. 9, 2007) (denying motion to remand as the
                                                 17   court was “constrained by the plain language of § 1441(b)”); Waldon v. Novartis
                                                 18   Pharm. Corp., No. C07-01988 MJJ, 2007 WL 1747128, at *3 (N.D. Cal. June 18,
                                                 19   2007) (denying motion to remand and following the “plain text of section 1441(b)”);
                                                 20   Regal Stone Ltd. v. Longs Drug Stores California, L.L.C., 881 F. Supp. 2d 1123, 1127
                                                 21   (N.D. Cal. 2012) (denying motion to remand based on plain language of section
                                                 22   1441(b)); Davis v. Hoffman-LaRoche, Inc., No. 13-5051 JSC, 2014 WL 12647769, at
                                                 23   *2 (N.D. Cal. Jan. 14, 2014) (recommending to deny motion to remand and stating
                                                 24   that courts in this district “have uniformly held that the language of Section
                                                 25   1441(b)(2) is clear: the local-defendant rule applies only to those defendants which
                                                 26   have been properly joined and served.”) (emphasis in original), report &
                                                 27   recommendation adopted, 2014 WL 12647768 (N.D. Cal. Jan. 31, 2014); Saratoga
                                                 28
                                                                                               5
                                                                     DEFENDANT TANDEM DIABETES CARE, INC.’S NOTICE OF REMOVAL
                                                                         OF ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
                                               Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.184 Page 49 of 160




                                                  1   Advantage Trust Tech. & Commc'n Portfolio v. Marvell Tech. Grp., Ltd., Case No.
                                                  2   15-CV-04881-RMW, 2015 WL 9269166, at *2 (N.D. Cal. Dec. 21, 2015) (denying
                                                  3   motion to remand and stating that because the forum defendant “had not been served
                                                  4   at the time of removal, the forum defendant rule does not apply”). In the last year,
                                                  5   two different courts of appeal have also adopted a plain language interpretation of
                                                  6   section 1441(b). See Encompass Ins. Co. v. Stone Mansion Restaurant Inc., 902 F.3d
                                                  7   147, 153-54 (3d Cir. 2018); Gibbons v. Bristol-Myers Squibb Co., 919 F.3d 699, 706-
                                                  8   707 (2d Cir. 2019).
                                                  9         13. Based on information and belief, and review of the Court docket, Dexcom
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                                                 10   has not been served with the Complaint.
                                                 11         14. For purposes of removal based on diversity jurisdiction under 28 U.S.C.
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                                                 12   § 1332(a) and pursuant to 28 U.S.C. § 1446(b), all defendants who have been properly
                                                 13   joined and served must consent to removal.
                                                 14         15. Defendants have not been served with the Complaint.
                                                 15         16. By filing this Notice of Removal, Tandem does not waive any defense
                                                 16   that may be available to them and reserves all such defenses. If any question arises
                                                 17   as to the propriety of the removal to this Court, Tandem requests the opportunity to
                                                 18   present a brief and oral argument in support of their position that this case has been
                                                 19   properly removed.
                                                 20         17. Tandem will provide written notice of this Notice to Plaintiff’s counsel of
                                                 21   record and file a written notice of this Notice (along with a true and complete copy of
                                                 22   hereof) in the state court action, San Diego County Superior Court Case No. 37-2024-
                                                 23   00003700-CU-PL-CTL.          Therefore, Tandem has satisfied the procedural
                                                 24   requirements for removal.
                                                 25   ///
                                                 26   ///
                                                 27   ///
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                                                                     DEFENDANT TANDEM DIABETES CARE, INC.’S NOTICE OF REMOVAL
                                                                         OF ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
                                               Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.185 Page 50 of 160




                                                  1         WHEREFORE, Defendant Tandem Diabetes Care, Inc. respectfully gives
                                                  2   notice that the above-captioned civil action pending in San Diego County Superior
                                                  3   Court is removed to this Court, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446.
                                                  4   Dated:      January 30, 2024     Respectfully submitted,
                                                  5                                    NELSON MULLINS RILEY &
                                                                                       SCARBOROUGH LLP
                                                  6
                                                                                       By:
                                                  7                                          /s/ Michael J. Hurvitz
                                                                                             Michael J. Hurvitz
                                                  8
                                                                                             Attorneys for Defendant
                                                  9                                          TANDEM DIABETES CARE, INC.
N ELSO N M ULLINS R IL EY & S CARBOROUGH LLP




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                                                                    DEFENDANT TANDEM DIABETES CARE, INC.’S NOTICE OF REMOVAL
                                                                        OF ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
                                               Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.186 Page 51 of 160



                                                                                     PROOF OF SERVICE
                                                  1                                  F.R.C.P. Rule 5(b)(2)(3)
                                                  2          I, the undersigned, am employed in the County of Duval, State of Florida. I
                                                      am over the age of 18 and not a party to the within action; am employed with Nelson
                                                  3   Mullins Riley & Scarborough LLP and my business address is 50 N. Laura Street,
                                                      Suite 4100, Jacksonville, FL 32202.
                                                  4
                                                             On January 30, 2024, I served the foregoing document entitled DEFENDANT
                                                  5   TANDEM DIABETES CARE, INC.’S NOTICE OF REMOVAL OF ACTION
                                                      PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446 on all the appearing and/or
                                                  6   interested parties in this action by placing   the original  a true copy thereof as
                                                      follows:
                                                  7
                                                                   [by MAIL] - I am readily familiar with the firm’s practice of collection
                                                  8   and processing correspondence for mailing. Under that practice it would be deposited
                                                      with the U.S. Postal Service on that same day with postage thereon fully prepaid at
                                                  9   Los Angeles, California in the ordinary course of business. I am aware that on motion
N ELSO N M ULLINS R IL EY & S CARBOROUGH LLP




                                                      of the party served, service is presumed invalid if postage cancellation date or postage
                                                 10   meter date is more than one day after date of deposit for mailing this affidavit.
                                                 11                [by FEDERAL EXPRESS] - I am readily familiar with the firm’s
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                                                      practice for collection and processing of correspondence for overnight delivery by
                 S AN D I EGO




                                                 12   Federal Express. Under that practice such correspondence will be deposited at a
                                                      facility or pick-up box regularly maintained by Federal Express for receipt on the
                                                 13   same day in the ordinary course of business with delivery fees paid or provided for in
                                                      accordance with ordinary business practices.
                                                 14
                                                                  [by ELECTRONIC SUBMISSION] – By transmitting such
                                                 15   document(s) electronically from my e-mail address at Nelson Mullins Riley &
                                                      Scarborough LLP to the person(s) at the electronic mail addresses listed above
                                                 16   pursuant to Emergency Rule 12 and/or the agreement of the parties.
                                                 17               [by ELECTRONIC SUBMISSION] – I served the above listed
                                                      document(s) described via the United States District Court’s Electronic Filing
                                                 18   Program on the designated recipients via electronic transmission through the
                                                      CM/ECF system on the Court’s website. The Court’s CM/ECF system will generate
                                                 19   a Notice of Electronic Filing (NEF) to the filing party, the assigned judge, and any
                                                      registered users in the case. The NEF will constitute service of the document(s).
                                                 20   Registration as a CM/ECF user constitutes consent to electronic service through the
                                                      court’s transmission facilities.
                                                 21
                                                                  [by PERSONAL SERVICE] - I caused to be delivered by messenger
                                                 22   such envelope(s) by hand to the office of the addressee(s). Such messenger is over
                                                      the age of eighteen years and not a party to the within action and employed with
                                                 23   [attorney service].
                                                 24         I declare that I am employed in the office of a member of the bar of this Court
                                                      at whose direction the service was made.
                                                 25
                                                            Executed January 30, 2024 at Jacksonville, FL.
                                                 26

                                                 27    Allison Abbott                           By: Allison Abbott
                                                                        Print Name                                   Signature
                                                 28
                                                                                                8
                                                                                         PROOF OF SERVICE
                                               Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.187 Page 52 of 160




                                                  1                                  SERVICE LIST
                                                  2

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                                                  6

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                                                 10

                                                 11   Jason E. Ochs, Esq.
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                                                      Ochs Law Firm
                 S AN D I EGO




                                                 12   P.O. Box 10944
                                                 13   Jackson, WY 83002
                                                      jason@ochslawfirm.com
                                                 14

                                                 15   Attorneys for Plaintiff
                                                 16

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                                                                                      PROOF OF SERVICE
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                         EXHIBIT A
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                                    SUPERIOR COURT OF CALIFORNIA
   16
                                     FOR THE COUNTY OF SAN DIEGO
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   18     JOSEPH HIGGINBOTTOM, individually on           CASE NO:
          behalf of heirs, and as Personal
   19     Representative of the ESTATE OF                COMPLAINT AND DEMAND FOR JURY
   20     ANTHONY HIGGINBOTTOM,                          TRIAL

   21                       Plaintiff,                   1. NEGLIGENCE
                                                         2. STRICT PRODUCT LIABILITY -
   22    v.                                                 DESIGN DEFECT
                                                         3. STRICT LIABILITY –
   23                                                       MANUFACTURING DEFECT
         DEXCOM, INC.; and
   24    TANDEM DIABETES CARE, INC.,                     4. STRICT LIABILITY- FAILURE TO
                                                            WARN
   25                       Defendants.                  5. WRONGFUL DEATH

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    1                                   DEMAND FOR JURY TRIAL
    2           1.    Plaintiff JOSEPH HIGGINBOTTOM, individually and on Behalf of the Estate of
    3   ANTHONY HIGGINBOTTOM, hereby requests a trial by jury as to all issues and as to all material
    4   fact.
    5                                              PARTIES
    6           2.    Plaintiff JOSEPH HIGGINBOTTOM (hereinafter “Plaintiff”) is, and at all times
    7   relevant was, a resident and citizen of Wyoming. He brings this action individually and on Behalf
    8   of the Estate of ANTHONY HIGGINBOTTOM, minor decedent.                    Decedent ANTHONY
    9   HIGGINBOTTOM (herein referred to as “Decedent”) died in a motor vehicle collision on August
   10   5, 2020. Plaintiff is an authorized successor-in-interest to his Estate. The Declaration of Joseph
   11   Higginbottom, Successor-in-Interest, Pursuant to C.C.P. § 337.32, is included with this complaint.
   12           3.    Defendant, DEXCOM, INC. (hereinafter “Dexcom”), is a Delaware corporation
   13   with its principal place of business located at 6340 Sequence Drive, San Diego, California, 92121.
   14   Defendant Dexcom may be served with process by serving its registered agent: Corporation Service
   15   Company d/b/a CSC – Lawyers Incorporating Service.
   16           4.    Dexcom is, and at all times relevant was, authorized to do business in the State of
   17   California and was and is engaged in substantial comings and business activities in California,
   18   including San Diego County.
   19           5.    Dexcom was and is engaged in the business of manufacturing, marketing, testing,
   20   labeling, promoting, selling, and/or distributing the Dexcom G6 Continuous Glucose Monitoring
   21   System (hereinafter “G6 System”). At all pertinent times, Dexcom derived substantial revenue
   22   from the sale of the G6 System in the State of California and County of San Diego.
   23           6.    Defendant TANDEM DIABETES CARE, INC. (hereinafter “Tandem”) is a
   24   Delaware Corporation with its principal place of business located at 12400 High Bluff Drive, San
   25   Diego, California, 92130. Defendant Tandem may be served with process by serving its registered
   26   agent: Corporation Service Company d/b/a CSC – Lawyers Incorporating Service.
   27           7.    Tandem is, and at all times relevant was, authorized to do business in the State of
   28   California and was and is engaged in substantial comings and business activities in California,
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                              COMPLAINT AND DEMAND FOR JURY TRIAL
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    1   including San Diego County.
    2          8.      Tandem was and is engaged in the business of manufacturing, marketing, testing,
    3   labeling, promoting, selling, and/or distributing the Tandem t:slim X2™ Insulin Pump (hereinafter
    4   “t:slim pump”). At all pertinent times, Tandem derived substantial revenue from the sale of the
    5   t:slim pump in the State of California and County of San Diego.
    6          9.      At all pertinent times, both Defendants were engaged in the research, development,
    7   manufacture, design, testing, sale and marketing of the products, and introduced such products into
    8   interstate commerce with the knowledge and intent that such products would be sold in the State of
    9   California.
   10                                     VENUE AND JURISDICTION
   11          10.     The California Superior Court has jurisdiction over both Defendants because, based
   12   on information and belief, each is a corporation maintains its principal place of business in the State
   13   of California, has sufficient minimum contacts in California, and otherwise intentionally avails
   14   itself of the California market so as to render the exercise of jurisdiction over it by the California
   15   courts consistent with traditional notions of fair play and substantial justice.
   16          11.     Further, Defendants have each purposefully availed themselves of the benefits and
   17   protections of the laws within the State of California. Collectively, Defendants conduct substantial
   18   business in California and have sufficient contact with California such that the exercise of
   19   jurisdiction would be consistent with the traditional notions of fair play and substantial justice.
   20          12.     Venue is proper in this Court pursuant to Code of Civil Procedure section 395(a)
   21   and 395.5 because the principal place of business of both Defendants is in San Diego County.
   22          13.     The amount in controversy exceeds the jurisdictional limits of this court.
   23                                            INTRODUCTION
   24          14.     This is an action for damages relating to Dexcom’s design, manufacture,
   25   surveillance, sale, marketing, advertising, promotion, labeling, packaging, and distribution of the
   26   Dexcom G6 System.
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                                COMPLAINT AND DEMAND FOR JURY TRIAL
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    1          15.        This is an action for damages relating to Tandem’s design, manufacture,
    2   surveillance, sale, marketing, advertising, promotion, labeling, packaging, and distribution of the
    3   Tandem t:slim pump.
    4          16.        The G6 System is a prescribed medical device intended for use by diabetic patients
    5   to replace fingerstick blood glucose testing and scanning and to detect and alert dangerous glucose
    6   levels likely to trigger life-threatening medical events as a part of short-term and long-term diabetes
    7   treatment plan.
    8          17.        The t:slim pump is a prescribed medical device intended for use by diabetic patients
    9   as an automated insulin delivery system (hereinafter “AID”) to provide subcutaneous delivery of
   10   insulin, at set and variable rates, for the management of diabetes mellitus in persons requiring
   11   insulin. The t:slim pump can be used solely for continuous insulin delivery and also integrates with
   12   the G6 System to receive and display continuous glucose measurements.
   13          18.        The Dexcom G6 System consists of three primary components: (1) a wearable patch
   14   sensor which continuously measures blood glucose values (hereinafter “BGV”) from interstitial
   15   fluids below the skin; a transmitter that attaches to the sensor and collects the BGV data and then
   16   pushes the information via a Bluetooth® connection to (3) a display device: either its proprietary
   17   receiver or a smartphone using its proprietary application (hereinafter “G6 App”).
   18          19.        The Tandem t:slim pump also pairs with the Dexcom G6 sensor and transmitter.
   19   The t:slim pump also aids in the detection of episodes of hyperglycemia and hypoglycemia by
   20   providing the G6 System BGV data to the t:slim display.
   21          20.        The G6 System is designed to literally “sound the alarm” when a near-dangerous
   22   glucose level is detected to provide the diabetic patient with advance warning to avoid a potential
   23   hyperglycemic or hypoglycemic event.
   24          21.        The G6 Systems have a propensity to obtain inaccurate glucose readings, fail to
   25   transmit glucose readings, and/or notify and alert its users of potential hyperglycemic and
   26   hypoglycemic events, resulting in serious injuries or death. The G6 System when integrated with the
   27   t:slim pump also increases the risk of insulin stacking when inaccurate hyperglycemic results are
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                                 COMPLAINT AND DEMAND FOR JURY TRIAL
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    1   transmitted to the display device leading to patient overdosing insulin and falling quickly into
    2   hypoglycemia.
    3              22.       On information and belief, Plaintiff, the father of decedent: Anthony Higginbottom,
    4   a diabetic patient, brings this action for wrongful death directly and proximately caused by
    5   productdefects in the G6 System and t:slim pump.
    6                                            FACTUAL ALLEGATIONS
    7              23.       Dexcom designs, develops, manufactures, markets, advertises, promotes, supplies,
    8   distributes, sells, and instructs in the use of the G6 System, which is a Class II device. 1
    9              24.       The G6 System is a prescribed medical device for diabetics to use to monitor and
   10   manage their glucose level and to detect and alert its user of potential hyperglycemic and
   11   hypoglycemic events in real-time.
   12              25.       According to Dexcom, the G6 System is the first real-time, integrated Continuous
   13   Glucose Monitoring system (hereinafter “iCGM”) requiring “zero fingersticks or calibrations” and
   14   replaces fingerstick blood glucose testing and scanning to monitor and manage diabetes. 2
   15              26.       Dexcom marketed and sold the G6 System as a potentially life-saving medical
   16   device capable of detecting and preventing hyperglycemic and hypoglycemic events by alerting
   17   users of near-dangerous blood glucose levels that may trigger such events.
   18              27.       As shown in Dexcom’s G6 System User Guide and noted herein, the G6 System
   19   has three key component parts: 1) the wearable sensor patch, which collects real-time BGV from
   20   just under the skin, 2) the transmitter, which sends the glucose reading from the sensor to the user’s
   21   display device, and 3) the display device (G6 App or Receiver): which shows glucose reading and
   22   information to the user.
   23   ///
   24   ///
   25   ///
   26   ///
   27
        1
            https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpcd/classification.cfm?id=682
   28   2
            https://www.dexcom.com/faqs/does-the-dexcom-g6-cgm-system-require-calibrations.
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    1

    2                                                             Applicator
                                                                  helps you
    3                                                  Applicator insert the
                                                       with
                                                       built-in   sensor wire
    4                                                  sensor
                                                                  under your
                                                                  skin.
    5
                                                                  Sensor gets
    6                                                             your glucose
                                                                  information.
    7                                                             Transmitter
                                                       Transmitte sends  your
    8                                                             glucose
                                                       r
                                                                  information
    9                                                             from the
                                                                  sensor to the
   10                                                             display
                                                                  device.
   11

   12                                                                   Display
                                                       Display          device(s)
   13                                                  Device(s):       shows your
                                                       • Receiver       glucose
   14                                                  • Your           information.
                                                         smart
                                                         device         Receiver is
   15
                                                                        required for
   16                                                                   Medicare.

   17

   18            28.     Dexcom’s G6 App allows patients to use their smartphones and smartwatches

   19   like iPhones, Apple Watch and Android devices. 3 The G6 App enables the G6 System users to

   20   use their smart devices as the display device to receive real-time BGV readings, notifications,

   21   and sound alarms resulting from potential hyperglycemic and hypoglycemic events.

   22            29.     If any one of G6 System’s three component parts is defective or does not operate

   23   as intended, its diabetic user would not receive accurate and timely BGV alerts and warnings.

   24            30.      The G6 System sensor patch’s failure to obtain accurate, real-time BGV

   25   information can cause a diabetic patient to suffer serious injury or death.

   26            31.     The G6 System transmitter’s failure to transmit accurate, real-time BGV

   27   information to a display device can cause a diabetic patient to suffer serious injury or death.

   28   3
            See https://apps.apple.com/us/app/dexcom-g6/id1209262925
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    1           32.      The G6 System and/or G6 App’s failure to notify or sound the alarm when a
    2   hyperglycemic or hypoglycemic event occurs can cause a diabetic serious injury or death.
    3           33.      The G6 System and/or G6 App’s inaccurate readings of the user’s BGV may
    4   cause a diabetic patient who integrates the G6 System with the Tandem t:slim pump to mistreat
    5   hyperglycemia or hypoglycemia, including inadvertently stacking insulin.
    6           34.      Dexcom and Tandem are responsible for identifying all risks associated with
    7   the foreseeable uses of the G6 System and t:slim pump before marketing and selling the
    8   products, and for every identified risk, Dexcom and Tandem had and have a duty to either
    9   design the risk out or to adequately warn the users of those risks. These obligations are met by
   10   conducting risk assessments, system hazard analyses, and design/process failure modes and
   11   effects analyses.
   12           35.      Decedent’s medical provider prescribed Dexcom’s G6 System and the Tandem
   13   t:slim pump as a part of decedent’s diabetes treatment plan.
   14           36.      Plaintiff’s spouse purchased the G6 System from Dexcom and the t:slim pump from
   15   Tandem on behalf of decedent, a minor.
   16           37.      As represented by Dexcom, decedent replaced the fingerstick testing method with
   17   the Dexcom G6 System. During the relevant time, decedent used the G6 System as the primary
   18   device for blood glucose testing and for diabetes treatment decisions.
   19           38.      During the relevant time, decedent used the t:slim pump to administer bolus of insulin
   20   as needed or at preset intervals in accordance with the user instructions and training provided by Tandem.
   21           39.      During the relevant time, decedent used the G6 System on a daily basis to monitor
   22   his BGV trends in real-time, prevent hyperglycemic and hypoglycemic episodes, and in the overall
   23   management of decedent’s diabetes.
   24           40.      During the relevant time, decedent used Dexcom’s software to obtain and review
   25   glucose information from the G6 System.
   26           41.      During the relevant time, decedent made no changes or alterations to the G6
   27   System, the t:slim pump, or any of their component parts.
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    1          42.      During the relevant time, decedent used the G6 System and t:slim pump as
    2   prescribed by his physician and as directed by Dexcom and Tandem.
    3          43.      On or about August 4, 2020, decedent changed out his sensor with his new one that
    4   evening, undertook the necessary programming, and went to bed. After the two-hour start up process,
    5   the G6 System read his BGV as extremely high.
    6          44.      On August 5, 2020 at 2AM, his BGV read 258, and five hours later at 7AM his BGV
    7   read 214. At approximately 7:28 AM, decedent received an insulin bolus from his t:slim pump as his
    8   BGV were still reading high at 218. The t:slim pump then administered a second bolus, thereby
    9   stacking his insulin, at 8:43 AM.
   10          45.      At the time of the second bolus administered by the t:slim pump at 8:43 AM,
   11   decedent was on his way to pick up his girlfriend to go hiking. He was operating his 1973 Chevy
   12   Nova northbound on County Road 120 just outside of Cheyene, Wyoming.
   13          46.      The second bolus dropped decedent into hypoglycemia, causing him to pass out
   14   behind the wheel, and crash into a Laramie County weed and pest truck servicing the shoulder of
   15   the road.
   16          47.      Anthony Higginbottom died from the injuries suffered in the collision.
   17          48.      Decedent’s G6 App failed to alert him to dangerous glucose levels and/or stopped
   18   receiving glucose information from the G6 System prior to second bolus.
   19          49.      Decedent’s G6 System failed to make accurate readings of his real-time BGV prior
   20   to administering first bolus from the t:slim pump.
   21          50.      Decedent’s G6 System failed to make accurate readings of his real-time BGV prior
   22   to administering the second bolus from the t:slim pump.
   23          51.      Decedent’s G6 System and t:slim pump malfunctioned by allowing the second
   24   bolus when his BGV levels were no longer reading high at 8:43 AM.
   25          52.      Moreover, when Decedent’s G6 App failed to notify or sound the alarm of a
   26   dangerous glucose level and/or stopped receiving glucose information from the G6 System,
   27   decedent was unaware he was experiencing a hypoglycemic event.
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    1           53.       The G6 System’s and t:slim pump’s failure to notify or sound the alarm of the
    2   dangerous glucose level deprived decedent and/or Plaintiff the “golden window” of time to
    3   intervene and prevent the tragic hypoglycemic-induced fatal collision.
    4           54.       As a direct and proximate result thereof, Anthony Higginbottom suffered serious
    5   injuries and died at the scene of the collision.
    6           55.       During all relevant times, decedent exercised ordinary care for his own safety and
    7   could not reasonably avoid his serious injuries, which resulted from G6 System’s and t:slim pump’s
    8   failure or defect.
    9           56.       Dexcom induced Plaintiff to rely on its representations about the G6 System’s and
   10   G6 App’s accuracy and efficacy for treating his son’s diabetes.
   11           57.       Tandem induced Plaintiff to rely on its representations about the t:slim’s reliability
   12   and efficacy for treating his son’s diabetes.
   13           58.       Plaintiff reasonably relied on Dexcom’s representations as to the G6 System and
   14   the G6 App’s accuracy and efficacy for treating his son’s diabetes.
   15           59.       Plaintiff reasonably relied on Tandem’s representations as to the t:slim’s reliability
   16   and efficacy for treating his son’s diabetes.
   17                                PUNITIVE DAMAGES ALLEGATIONS
   18           60.       Defendants have acted willfully, wantonly, with an evil motive, and recklessly in
   19   one or more of the following ways:
   20                 a. Prior to FDA clearance, Defendants knew the G6 System integrated with the t:slim
   21                    pump was often inaccurate and struggled to maintain reliable connectivity between
   22                    transmitter and display device;
   23                 b. After FDA clearance, Defendants received complaints from users and providers
   24                    detailing the high rates of reports regarding the G6 System integrated with the
   25                    t:slim pump being inaccurate and struggling to maintain reliable connectivity
   26                    between transmitter and display device;
   27                 c. Despite their knowledge of the inaccuracy of the BGV data and the unreliable
   28                    wireless communications between tranmistter and display deveice, Defendants
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    1                   affirmatively minimized this risk through marketing and promotional efforts and
    2                   product labeling;
    3                d. With said knowledge, Defendants opted to manufacture and distribute and market
    4                   the products without attempting to warn consumers or the public of the high risk of
    5                   injury or death that could result from the use of the products intentionally
    6                   fraudulently, consciously and actively concealing and suppressing their knowledge
    7                   of this risk from consumers and the public;
    8                e. Defednants impliedly represented the products were safe for their intended and
    9                   reasonably foreseeable use with knowledge of the falsity of said implied
   10                   representations.
   11          61.        The above referenced conduct of Defendants was motivated by the financial
   12   interest of Defendants in the continuing, uninterrupted distribution and marketing of the G6 System
   13   and t:slim pump. In pursuance of said financial motivation, Defendants consciously disregarded
   14   the safety of the consumer of the products, decedent Anthony Higginbottom, and were, in fact,
   15   consciously willing to permit the products to cause injury to consumers, including Decedent
   16   Anthony Higginbottom.
   17          62.       As the above referenced conduct of Defendants was and is vile, willful, malicious,
   18   fraudulent, oppressive, outrageous, and in conscious disregard and indifference to the safety and
   19   health of consumers of the G6 System and t:slim pump, including Decedent Anthony
   20   Higginbottom, for the sake of example and by way of punishing Defendants seek punitive damages
   21   according to proof.
   22                                                TOLLING
   23          63.      Plaintiff pleads he, Dexcom, and Tandem agreed to toll all applicable statutes of
   24   limitation and this action is being brought before the expiration of the tolling agreement.
   25          64.      Accordingly, any applicable statutes of limitations have been tolled.
   26          65.      Defendants are estopped from relying on the statute of limitations defense because
   27   of the tolling agreement.
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                                COMPLAINT AND DEMAND FOR JURY TRIAL
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    1                                      FIRST CAUSE OF ACTION
    2                                              NEGLIGENCE
    3           66.     Plaintiff realleges and incorporates by reference every allegation contained in all
    4   other paragraphs of this Complaint as if each were set forth fully and completely herein.
    5           67.     At all times relevant, Dexcom was in the business of designing, developing, setting
    6   specifications, manufacturing, marketing, selling and/or distributing and instructing in the use of
    7   the G6 System, including the one purchased for decedent.
    8           68.     At all times relevant, Tandem was in the business of designing, developing, setting
    9   specifications, manufacturing, marketing, selling and/or distributing and instructing in the use of
   10   the t:slim pump, including the one purchased for decedent.
   11           69.     Dexcom had a duty to exercise reasonable and ordinary care in the manufacture,
   12   design, labeling, instructions, warnings, sale, marketing, safety surveillance and distribution of the
   13   G6 System so as to avoid exposing others to foreseeable and unreasonable risks of harm.
   14           70.     Tandem had a duty to exercise reasonable and ordinary care in the manufacture,
   15   design, labeling, instructions, warnings, sale, marketing, safety surveillance and distribution of the
   16   t:slim pump so as to avoid exposing others to foreseeable and unreasonable risks of harm.
   17           71.     Dexcom breached their duty of care to Plaintiff, decedent, and his physicians, in the
   18   manufacture, design, labeling, warnings, instructions, sale, marketing, safety surveillance, and
   19   distribution of the G6 System.
   20           72.     Tandem breached their duty of care to Plaintiff, decedent, and his physicians, in the
   21   manufacture, design, labeling, warnings, instructions, sale, marketing, safety surveillance, and
   22   distribution of the t:slim pump.
   23           73.     Dexcom knew, or reasonably should have known, the G6 System failed to measure
   24   its user’s BGV accurately and failed to adequately warn Plaintiff of this defect.
   25           74.     Tandem knew, or reasonably should have known, the t:slim pump may administer a
   26   second bolus of insulin, and therefore, stack insulin because the G6 System failed to measure its user’s
   27   BGV accurately and also failed to adequately warn Plaintiff of this defect.
   28           75.     Dexcom knew, or reasonably should have known, the G6 System failed to transmit
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    1   or failed to transmit in real-time BGV information from the sensor to the transmitter and/or display
    2   device and failed to warn Plaintiff of this defect.
    3          76.       Dexcom had a duty to warn Plaintiff, decedent’s physician, and/or the medical
    4   community of the potential for G6 System to malfunction or otherwise not operate as Dexcom
    5   represented and failed to do so.
    6          77.       Tandem had a duty to warn Plaintiff, decedent’s physician, and/or the medical
    7   community of the potential for t:slim to malfunction or otherwise not operate as Tandem
    8   represented and failed to do so.
    9          78.       Defendants breached these respective duties owed to Plaintiff and decedent, and, as
   10   a direct and proximate result, was harmed thereby.
   11          79.       Defendants knew, or reasonably should have known, the G6 System and t:slim pump
   12   were dangerous or likely to be dangerous when used in its intended or reasonably foreseeable
   13   manner.
   14          80.       At the time of the manufacture and sale of the G6 System, Dexcom knew, or
   15   reasonably should have known, the G6 System was designed and manufactured in such a way to
   16   present an unreasonable risk of inaccurate BGV readings inaccurate “real-time” reporting, and/or
   17   non-functioning alarm and notification.
   18          81.       At the time of the manufacture and sale of the t:slim pump, Tandem knew, or
   19   reasonably should have known, the G6 System was designed and manufactured in such a way as to
   20   present an unreasonable risk of calculating and transmitting inaccurate BGV readings to the
   21   integrated t:slim pump, thereby creating an unreasonably dangerous risk of insulin stacking to users
   22   like decedent.
   23          82.       At the time of the manufacture and sale of the G6 System, Dexcom knew, or
   24   reasonably should have known, the G6 System was designed and manufactured in such a way to
   25   present an unreasonable risk of harm by failing to accurately report or notify its user of a near-
   26   dangerous glucose level, which, in turn, deprived its users of a “golden window” of time to intervene
   27   and prevent serious injury or death.
   28          83.       At the time of the manufacture and sale of the G6 System, Dexcom knew, or
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    1   reasonably should have known, using the G6 System for its intended use or in a reasonably
    2   foreseeable manner created a significant risk of a patient suffering severe injuries, including but not
    3   limited to cardiac arrest, loss of consciousness, and coma, or death.
    4          84.     Dexcom knew, or reasonably should have known, that the consumer-patients of the
    5   G6 System would not realize the danger associated with using the G6 System for its intended use
    6   and/or in a reasonably foreseeable manner.
    7          85.     Tandem knew, or reasonably should have known, that the consumer-patients of the
    8   t:slim pump would not realize the danger of inaccurate BGV readings from the G6 System might
    9   cause them to receive an unreasonably dangerous amount of insulin from the device.
   10          86.     Defendants, jointly and severally, breached their respective duties to exercise
   11   reasonable and prudent care in the development, testing, design, manufacture, inspection,
   12   marketing, labeling, promotion, distribution and sale of the G6 System and t:slim pump in, among
   13   others, the following ways:
   14                  a. Designing and distributing products in which each Defendant knew, or
   15                      reasonably should have known, the likelihood and severity of potential harm
   16                      from the products exceeded the burden of taking measures to reduce or avoid
   17                      harm;
   18                  b. Designing and distributing products in which each Defendant knew, or
   19                      reasonably should have known, the likelihood and severity of potential harm
   20                      from the product exceeded the likelihood of potential harm from other
   21                      integrated glucose monitoring systems available for the same purpose;
   22                  c. Failing to use reasonable care in manufacturing the products and producing
   23                      products that differed from their design or specifications;
   24                  d. Failing to use reasonable care to warn or instruct Plaintiff, decedent,
   25                      decedent’s healthcare providers, or the general health care community about the
   26                      G6 System’s substantially dangerous condition or about facts making the
   27                      product likely to be dangerous, including pre-and post-sale;
   28                  e. Failing to use reasonable care to warn or instruct Plaintiff, decedent,
                                                          -13-
                                COMPLAINT AND DEMAND FOR JURY TRIAL
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    1                  decedent’s healthcare providers, or the general health care community about the
    2                  t:slim pump’s substantially dangerous condition or about facts making the
    3                  product likely to be dangerous, including pre-and post-sale;
    4               f. Failing to perform reasonable pre-and post-market testing of the G6 System and
    5                  t:slim pump to determine whether or not the product was safe for its intended
    6                  use;
    7               g. Failing to provide adequate instructions, guidelines, and safety precautions, to
    8                  those persons to whom it was reasonably foreseeable would prescribe the G6
    9                  System and t:slim pump to diabetics;
   10               h. Advertising, marketing and recommending the use of the G6 System and t:slim
   11                  pump, while concealing and failing to disclose or warn of the dangers known
   12                  by Defendants to be connected with and inherent in the use of the G6 System
   13                  and integrated t:slim pump;
   14               i. Representing that the G6 System was safe for its intended use when, in fact,
   15                  Dexcom knew, or reasonably should have known, the product was not safe for its
   16                  intended purpose;
   17               j. Representing that the t:slim pump was safe for its intended use when, in fact,
   18                  Tandem knew, or reasonably should have known, the product was not safe for its
   19                  intended purpose when integrated with the G6 System;
   20               k. Continuing the manufacture and sale of the G6 System with the knowledge the
   21                  G6 System was dangerous and not reasonably safe, and failing to comply with
   22                  the FDA good manufacturing regulations;
   23               l. Continuing the manufacture and sale of the t:slim pump with the knowledge the
   24                  t:slim pump was dangerous and not reasonably safe, and failing to comply with
   25                  the FDA good manufacturing regulations;
   26               m. Failing to use reasonable and prudent care in the design, research,
   27                  manufacture, and development of the G6 System so as to avoid the risk of
   28                  serious harm associated with the use of the G6 System;
                                                     -14-
                              COMPLAINT AND DEMAND FOR JURY TRIAL
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    1                   n. Failing to use reasonable and prudent care in the design, research,
    2                         manufacture, and development of the t:slim pump so as to avoid the risk of
    3                         serious harm associated with the use of the t:slim pump with G6 System;
    4                   o. Failing to establish an adequate quality assurance program used in the
    5                         manufacturing of the G6 System;
    6                   p. Failing to establish an adequate quality assurance program used in the
    7                         manufacturing of the t:slim pump;
    8                   q. Failing to establish and maintain an adequate post-marketing surveillance
    9                         program for the G6 System;
   10                   r. Failing to establish and maintain an adequate post-marketing surveillance
   11                         program for the t:slim pump;
   12                   s. Failing to adequately and correctly report safety information relative to theG6
   13                         System product resulting in inadequate warnings;
   14                   t. Failing to adequately and correctly report safety information relative to the t:slim
   15                         product resulting in inadequate warnings;
   16                   u. Failing to provide adequate and continuous warnings about the inherent
   17                         danger of the G6 System’s inaccurate glucose monitoring and reporting;
   18                   v. Failing to provide adequate warnings about the inherent danger of insulin
   19                         stacking resulting from the G6 System’s inaccurate glucose monitoring and
   20                         reporting; and
   21                   w. In committing other negligent acts or omissions as may be shown by the
   22                         evidence and proven at trial.
   23           87.      During all relevant times, decedent exercised ordinary care for his own safety and
   24   could not reasonably avoid his serious injuries and death caused by G6 System’s and t:slim pump’s
   25   failure or defect .
   26           88.      Reasonable manufacturers, distributors, and/or sellers under the same or similar
   27   circumstances would not have engaged in the aforementioned acts and omissions.
   28
                                                              -15-
                                  COMPLAINT AND DEMAND FOR JURY TRIAL
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    1          89.      As a foreseeable, direct, and proximate consequence of Dexcom’s actions,
    2   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
    3   Higginbottom as provided for by California law.
    4          90.      As a foreseeable, direct, and proximate consequence of Tandem’s actions,
    5   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
    6   Higginbottom as provided for by California law.
    7          91.     In performing the foregoing acts or omissions, the Johnson & Johnson Defendants,
    8   and each of them, acted despicably, fraudulently, and with malice and oppression so as to justify
    9   and award of punitive and exemplary damages.
   10          92.     WHEREFORE, Plaintiff demands judgment against Defendants, and each of them
   11   individually, jointly, severally and in the alternative, requests compensatory damages, punitive
   12   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
   13   deems equitable and just.
   14                                    SECOND CAUSE OF ACTION
   15                      STRICT PRODUCTS LIABILITY – DESIGN DEFECT
   16          93.     Plaintiff realleges and incorporates by reference every allegation contained in all
   17   other paragraphs of this Complaint as if each were set forth fully and completely herein.
   18          94.     The G6 System is inherently dangerous and defective, unfit and unsafe for its
   19   intended use and reasonably foreseeable uses and does not meet or perform to the expectations of
   20   patients and their health care providers.
   21          95.     The t:slim pump is inherently dangerous and defective, unfit and unsafe for its
   22   intended use and reasonably foreseeable uses and does not meet or perform to the expectations of
   23   patients and their health care providers.
   24          96.     The G6 System was expected to, and did, reach its intended consumer without
   25   substantial change in the condition in which it was in when it left Dexcom’s possession. The t:slim
   26   pump was expected to, and did, reach its intended consumer without substantial change in the
   27   condition in which it was in when it left Tandem’s possession.
   28          97.     The G6 System purchased by Plaintiff for decedent was defective in design because
                                                         -16-
                                COMPLAINT AND DEMAND FOR JURY TRIAL
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    1   it failed to perform as safely as persons who ordinarily use the products would have expected at
    2   time of use.
    3             98.    The t:slim purchased by Plaintiff for decedent was defective in design because it
    4   failed to perform as safely as persons who ordinarily use the products would have expected at time
    5   of use.
    6             99.    The G6 System purchased by Plaintiff for decedent was defective in design, in that
    7   the G6 System’s risks of harm exceeded its claimed benefits.
    8             100.   The t:slim pump purchased by Plaintiff for decedent was defective in design, in that
    9   the t:slim pump’s risks of harm exceeded its claimed benefits.
   10             101.   Plaintiff, decedent, and decedent’s healthcare providers used the G6 System in a
   11   manner that was reasonably foreseeable to Dexcom.
   12             102.   Plaintiff, decedent, and decedent’s healthcare providers used the t:slim pump in a
   13   manner that was reasonably foreseeable to Tandem.
   14             103.   Plaintiff, decedent, and decedent’s healthcare providers could not have by the
   15   exercise of reasonable care discovered the G6 System’s defective conditions or perceived its
   16   unreasonable dangers prior to the purchase of the system.
   17             104.   Plaintiff, decedent, and decedent’s healthcare providers could not have by the
   18   exercise of reasonable care discovered the t:slim pump’s defective conditions or perceived its
   19   unreasonable dangers prior to the purchase of the product.
   20             105.   As a result of the foregoing design defects, the G6 System created risks to the health
   21   and safety of its users that were far more significant and devastating than the risks posed by other
   22   products and procedures available to treat the corresponding medical conditions, and which far
   23   outweigh the utility of the G6 System.
   24             106.   As a result of the foregoing design defects, the t:slim pump created risks to the health
   25   and safety of its users that were far more significant and devastating than the risks posed by other
   26   products and procedures available to treat the corresponding medical conditions, and which far
   27   outweigh the utility of the t:slim pump.
   28             107.   Dexcom has intentionally and recklessly designed the G6 System and t:slim pump
                                                           -17-
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    1   with wanton and willful disregard for the rights and health of the Plaintiff and others, and with
    2   malice, placing their economic interests above the health and safety of the Plaintiff and others.
    3          108.    As a foreseeable, direct, and proximate consequence of Dexcom’s actions,
    4   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
    5   Higginbottom as provided for by California law.
    6          109.    As a foreseeable, direct, and proximate consequence of Tandem’s actions,
    7   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
    8   Higginbottom as provided for by California law.
    9          110.    In performing the foregoing acts or omissions, the Defendants, and each of them,
   10   acted despicably, fraudulently, and with malice and oppression so as to justify and award of
   11   punitive and exemplary damages.
   12          111.    WHEREFORE, Plaintiff demands judgment against Defendants, and each of them
   13   individually, jointly, severally and in the alternative, requests compensatory damages, punitive
   14   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
   15   deems equitable and just.
   16                                     THIRD CAUSE OF ACTION
   17                 STRICT PRODUCTS LIABILITY – MANUFACTURING DEFECT
   18          112.    Plaintiff realleges and incorporates by reference every allegation contained in all
   19   other paragraphs of this Complaint as if each were set forth fully and completely herein.
   20          113.    Dexcom designed, set specifications, manufactured, prepared, compounded,
   21   assembled, processed, marketed, labeled, performed post-market surveillance, distributed and sold
   22   the G6 System that was purchased for decedent.
   23          114.    Tandem designed, set specifications, manufactured, prepared, compounded,
   24   assembled, processed, marketed, labeled, performed post-market surveillance, distributed and sold
   25   the t:slim pump that was purchased for decedent.
   26          115.    The G6 System purchased for decedent contained a condition or conditions, which
   27   Dexcom did not intend, at the time the G6 System left Dexcom’s control and possession.
   28          116.    The t:slim pump purchased for decedent contained a condition or conditions, which
                                                         -18-
                               COMPLAINT AND DEMAND FOR JURY TRIAL
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    1          117.    Tandem did not intend, at the time the t:slim pump left Tandem’s control and
    2   possession.
    3          118.    Decedent and decedent’s health care providers used the G6 System in a manner
    4   consistent with and reasonably foreseeable to Dexcom.
    5          119.    Decedent and decedent’s health care providers used the t:slim pump in a manner
    6   consistent with and reasonably foreseeable to Tandem.
    7          120.    As a result of these conditions, the products failed to perform as safely as the
    8   ordinary consumer would expect, causing injury, when used in a reasonably foreseeable manner.
    9          121.    The G6 System was defectively and/or improperly manufactured, rendering it
   10   defective and unreasonably dangerous and hazardous to decedent.
   11          122.    The t:slim pump was defectively and/or improperly manufactured, rendering it
   12   defective and unreasonably dangerous and hazardous to decedent.
   13          123.    As a result of the manufacturing defects, the G6 System and t:slim pump create risks
   14   to the health and safety of the patients that are far more significant and devastating than the risks
   15   posed by other products and procedures available to treat the corresponding medical conditions, and
   16   which far outweigh the utility of the G6 System and t:slim pump.
   17          124.    Dexcom has intentionally and recklessly manufactured the G6 System with wanton
   18   and willful disregard for the rights and health of the Plaintiffs and others, and with malice, placing
   19   their economic interests above the health and safety of the Plaintiff and others
   20          125.    Tandem has intentionally and recklessly manufactured the t:slim pump with wanton
   21   and willful disregard for the rights and health of the Plaintiffs and others, and with malice, placing
   22   their economic interests above the health and safety of the Plaintiff and others.
   23          126.    As a foreseeable, direct, and proximate consequence of Dexcom’s actions,
   24   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
   25   Higginbottom as provided for by California law.
   26          127.    As a foreseeable, direct, and proximate consequence of Tandem’s actions,
   27   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
   28   Higginbottom as provided for by California law.
                                                         -19-
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    1          128.    In performing the foregoing acts or omissions, the Defendants, and each of them,
    2   acted despicably, fraudulently, and with malice and oppression so as to justify and award of
    3   punitive and exemplary damages.
    4          129.    WHEREFORE, Plaintiff demands judgment against Defendants, and each of them
    5   individually, jointly, severally and in the alternative, requests compensatory damages, punitive
    6   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
    7   deems equitable and just.
    8                                   FOURTH CAUSE OF ACTION
    9                    STRICT PRODUCTS LIABILITY – FAILURE TO WARN
   10          130.    Plaintiff realleges and incorporates by reference every allegation contained in all
   11   other paragraphs of this Complaint as if each were set forth fully and completely herein.
   12          131.    Dexcom designed, set specifications, manufactured, prepared, compounded,
   13   assembled, processed, marketed, labeled, distributed and sold the G6 System, including the one
   14   purchased for decedent, into the stream of commerce and in the course of same, directly advertised
   15   and marketed the G6 System to consumers or persons responsible for consumers.
   16          132.    Tandem designed, set specifications, manufactured, prepared, compounded,
   17   assembled, processed, marketed, labeled, distributed and sold the t:slim pump, including the one
   18   purchased for decedent, into the stream of commerce and in the course of same, directly advertised
   19   and marketed the t:slim pump to consumers or persons responsible for consumers.
   20          133.    At the time Dexcom designed, set specifications, manufactured, prepared,
   21   compounded, assembled, processed, marketed, labeled, distributed and put the G6 System into the
   22   stream of commerce, Defendant knew, or reasonably should have known, the G6 System presented
   23   an unreasonable danger to users of the product when put to its intended and reasonably anticipated
   24   use.
   25          134.    At the time Tandem designed, set specifications, manufactured, prepared,
   26   compounded, assembled, processed, marketed, labeled, distributed and put the t:slim pump into the
   27   stream of commerce, Tandem knew, or reasonably should have known, the t:slim pump presented
   28   an unreasonable danger to users of the product when put to its intended and reasonably anticipated
                                                         -20-
                               COMPLAINT AND DEMAND FOR JURY TRIAL
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    1   use.
    2           135.      Specifically, Dexcom knew, or reasonably should have known, the G6 System posed
    3   a significant risk of inaccurate or failed glucose monitoring, reporting and alerting, resulting in
    4   significant injuries or deaths.
    5           136.      Specifically, Tandem knew, or reasonably should have known, the t:slim pump
    6   posed a significant risk of insulin stacking if the G6 System transmitted an inaccurate BGV, which
    7   would likely cause a hypoglycemic event resulting in significant injuries or death.
    8           137.      Dexcom had a duty to warn of the risk of harm associated with the use of the G6
    9   System and to provide adequate warnings concerning the risk of failed, inaccurate, or delayed (not
   10   real-time) BGV readings, notifications, and alarm failures to the user and his or her medical
   11   providers.
   12           138.      Tandem had a duty to warn of the risk of harm associated with the t:slim pump
   13   administering insulin based upon inaccurate BGV transmitted to the device by the G6 System and to
   14   provide adequate warnings concerning the risk of insulin stacking to patients using the t:slim pump.
   15           139.      Dexcom failed to adequately warn and instruct the decedent and his health care
   16   providers that the G6 System should not be relied upon as a sole method to calculate, measure,
   17   report and assess a diabetic’s BGV.
   18           140.      Tandem failed to adequately warn and instruct the decedent and his health care
   19   providers that the G6 System should not be relied upon as a sole method to calculate, measure,
   20   report and assess a diabetic’s BGV, and therefore, a user such as decedent should take fingerstick
   21   test before administering unscheduled insulin bolus from the t:slim pump.
   22           141.      The risks associated with the G6 System are of such a nature that health care
   23   providers and users could not have recognized the potential harm. The risks associated with the
   24   t:slim pump are of such a nature that health care providers and users could not have recognized the
   25   potential harm.
   26           142.      The G6 System was defective and unreasonably dangerous at the time of its release
   27   into the stream of commerce due to the inadequate warnings, labeling and/or instructions
   28   accompanying the product, including but not limited to, its representation as the replacement for
                                                         -21-
                                 COMPLAINT AND DEMAND FOR JURY TRIAL
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    1   fingerstick glucose testing system.
    2          143.    The t:slim pump was defective and unreasonably dangerous at the time of its release
    3   into the stream of commerce due to the inadequate warnings, labeling and/or instructions
    4   accompanying the product, including but not limited to, its representation the G6 System serves as
    5   the replacement for fingerstick glucose testing system.
    6          144.    The G6 System, when purchased for decedent, was in the same condition as when it
    7   was manufactured, inspected, marketed, labeled, promoted, distributed and sold by Dexcom.
    8          145.    The t:slim pump, when purchased for decedent, was in the same condition as when
    9   it was manufactured, inspected, marketed, labeled, promoted, distributed and sold by Tandem.
   10          146.    Dexcom intentionally, recklessly, and maliciously misrepresented the safety, risks,
   11   and benefits of the G6 System in order to advance their own financial interests, with wanton and
   12   willful disregard for the rights and health of decedent.
   13          147.    Tandem intentionally, recklessly, and maliciously misrepresented the safety, risks,
   14   and benefits of the t:slim pump in order to advance their own financial interests, with wanton and
   15   willful disregard for the rights and health of decedent.
   16          148.    As a foreseeable, direct, and proximate consequence of Dexcom’s actions,
   17   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
   18   Higginbottom as provided for by California law.
   19          149.    As a foreseeable, direct, and proximate consequence of Tandem’s actions,
   20   omissions, and misrepresentations, Plaintiff may recover for the wrongful death of Anthony
   21   Higginbottom as provided for by California law.
   22          150.    In performing the foregoing acts or omissions, the Defendants, and each of them,
   23   acted despicably, fraudulently, and with malice and oppression so as to justify and award of
   24   punitive and exemplary damages.
   25          151.    WHEREFORE, Plaintiff demands judgment against Defendants, and each of them
   26   individually, jointly, severally and in the alternative, requests compensatory damages, punitive
   27   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
   28   deems equitable and just.
                                                         -22-
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    1                                       FIFTH CAUSE OF ACTION
    2                                          WRONGFUL DEATH
    3           152.     Plaintiff realleges and incorporates by reference every allegation contained in all
    4   other paragraphs of this Complaint as if each were set forth fully and completely herein.
    5           153.      As a result of the acts and/or omissions of Defendants, and each of them, as set
    6   aforesaid, Decedent Anthony Higginbottom’s use of the G6 Sytem and t:slim pump caused him to
    7   stack insulin, become hypoglycemic, lose consciousness while operating a motor vehicle, crash,
    8   and die on August 5, 2020.
    9           154.      Plaintiff Joseph Higginbottom was Decedent Anthony Higginbottom’s father and
   10   is a rightful heir to his estate.
   11           155.      As a direct and proximate result of the acts of Defendants, and each of them,
   12   Plaintiff Joseph Higginbottom has sustained pecuniary loss resulting from the loss of love, comfort,
   13   society, attention, services and support of Decedent in a sum exceeding $25,000 exclusive of
   14   interest and costs.
   15           156.      Plaintiff has lost pre-judgment interest pursuant to Civil Code Section 3288, the
   16   exact amount of which Plaintiff prays leave of the Court to insert herein when finally ascertained.
   17           157.      As a further direct and proximate result of the said conduct of Defendants, and each
   18   of them, Plaintiff has incurred, and will incur, loss of income, wages, pensions, profits and
   19   commissions, a diminished earning potential and other pecuniary losses, the full nature and extent
   20   of which are not yet known to Plaintiff; and leave is requested to amend this Complaint to conform
   21   to proof at the time of trial.
   22           158.      WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them
   23   individually, jointly, severally and in the alternative, requests compensatory damages, punitive
   24   damages, together with interest, costs of suit, attorney’s fees, and such further relief as the Court
   25   deems equitable and just.
   26   ///
   27   ///
   28   ///
                                                          -23-
                                  COMPLAINT AND DEMAND FOR JURY TRIAL
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    1                                       PRAYER FOR RELIEF
    2          WHEREFORE, Plaintiff prays for judgment against Defendants and each of them as
    3   follows:
    4          1. For general damages according to proof;
    5          2. For loss of income according to proof;
    6          3. For punitive damages according to proof;
    7          4. For Plaintiff’s costs of suit herein; and
    8          5. For such other and further relief as this Court deems just and proper, including costs as
    9              provided in California Code of Civil Procedure sections 998 and 1032 and related
   10              provisions of law.
   11
        DATED: January 26, 2024                   Respectfully Submitted,
   12

   13
                                                  By:
   14                                                   Melisa A. Rosadini-Knott
                                                        PEIFFER WOLF CARR KANE CONWAY &
   15
                                                        WISE, LLP
   16

   17
                                                  By:          /s/ Robert M. Hammers, Jr.
   18
                                                        Robert M. Hammers, Jr. (Pro hace vice
   19                                                   application forthcoming)
                                                        HAMMERS LAW FIRM, LLC
   20

   21                                             By:          /s/ Jason E. Ochs
   22                                                   Jason Edward Ochs
                                                        OCHS LAW FIRM
   23

   24                                                 Attorneys for Plaintiff

   25

   26

   27

   28
                                                        -24-
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    1                                   DEMAND FOR JURY TRIAL
    2         Plaintiff hereby demands a trial by jury on all claims so triable.
    3
        DATED: January 26, 2024                  Respectfully Submitted,
    4

    5
                                                 By:
    6                                                  Melisa A. Rosadini-Knott
                                                       PEIFFER WOLF CARR KANE CONWAY &
    7
                                                       WISE, LLP
    8

    9
                                                 By:          /s/ Robert M. Hammers, Jr.
   10
                                                       Robert M. Hammers, Jr. (Pro hace vice
   11                                                  application forthcoming)
                                                       HAMMERS LAW FIRM, LLC
   12

   13                                            By:          /s/ Jason E. Ochs
   14                                                  Jason Edward Ochs
                                                       OCHS LAW FIRM
   15

   16                                                Attorneys for Plaintiff
   17

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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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                         EXHIBIT B
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SUPERIOR COURT OF CALIFORNIA
County of SAN DIEGO                                                        Register of Actions Notice

Case Number:     37-2024-00003700-CU-PL-CTL                                  Filing Date:         01/26/2024
Case Title:      Higginbottom vs Dexcom Inc [IMAGED]                         Case Age:
Case Status:     Pending                                                     Location:            Central
Case Category:   Civil - Unlimited                                           Judicial Officer:    Gregory W Pollack
Case Type:       Product Liability                                           Department:          C-71

Future Events
Date             Time              Department                    Event
06/28/2024       01:30 PM          C-71                          Civil Case Management Conference - Complaint

Participants
Name                                           Role                    Representation
Dexcom Inc                                     Defendant
Higginbottom, Joseph                           Plaintiff               Rosadini-Knott, Melisa
Joseph Higginbottom as Personal                Plaintiff               Rosadini-Knott, Melisa
Representative of the Estate of Anthony
Higginbottom
Tandem Diabetes Care Inc                       Defendant

Representation
Name                                           Address                                     Phone Number
ROSADINI-KNOTT, MELISA                         3435 Wilshire Boulevard 1400 Los Angeles CA (323) 982-4109
                                               90010

ROA#       Entry Date                          Short/Long Entry                                    Filed By
    1      01/26/2024     Complaint filed by Higginbottom, Joseph; Joseph              Higginbottom, Joseph (Plaintiff);
                          Higginbottom as Personal Representative of the Estate of     Joseph Higginbottom as
                          Anthony Higginbottom.                                        Personal Representative of the
                          Refers to: Dexcom Inc; Tandem Diabetes Care Inc              Estate of Anthony Higginbottom
                                                                                       (Plaintiff)
      2    01/26/2024     Civil Case Cover Sheet filed by Higginbottom, Joseph.        Higginbottom, Joseph (Plaintiff)
                          Refers to: Dexcom Inc; Tandem Diabetes Care Inc
      3    01/26/2024     Original Summons filed by Higginbottom, Joseph.              Higginbottom, Joseph (Plaintiff)
                          Refers to: Dexcom Inc; Tandem Diabetes Care Inc
      4    01/26/2024     Declaration - Other filed by Higginbottom, Joseph.           Higginbottom, Joseph (Plaintiff)
                          Refers to: Dexcom Inc; Tandem Diabetes Care Inc
      5    01/29/2024     Summons issued.
      6    01/26/2024     Case assigned to Judicial Officer Pollack, Gregory.
      7    01/29/2024     Civil Case Management Conference scheduled for
                          06/28/2024 at 01:30:00 PM at Central in C-71 Gregory W
                          Pollack.
      8    01/29/2024     [Another document for ROA# 8]
      8    01/29/2024     [Another document for ROA# 8]
      8    01/29/2024     Case initiation form printed.




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             EXHIBIT "E"
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8                            UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   Casola,                                            Case No.: 22cv1865-JO-MDD
12                                     Plaintiff,
                                                        ORDER GRANTING PLAINTIFF’S
13   v.                                                 MOTION TO REMAND;
                                                        GRANTING PLAINTIFF’S
14   Dexcom, Inc.,
                                                        REQUEST FOR ATTORNEYS’
15                                   Defendant.         FEES; AND DENYING
                                                        DEFENDANT’S MOTION TO
16
                                                        DISMISS
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18
19         On November 29, 2022, Plaintiff Lauren Casola filed a product liability action
20   against Defendant Dexcom, Inc. (“Defendant” or “Dexcom”).            Defendant removed
21   Plaintiff’s action to this Court on November 28, 2022, one day before the complaint was
22   actually filed in state court. On December 19, 2022, Defendant filed a motion to dismiss.
23   Dkt. 6. On December 29, 2022, Plaintiff filed a motion to remand the action to state court
24   for lack of subject matter jurisdiction and requested attorneys’ fees incurred in seeking
25   remand. Dkt. 7. For the reasons stated below, the Court grants Plaintiff’s motion to
26   remand, grants Plaintiff’s request for attorneys’ fees, and denies Defendant’s motion to
27   dismiss as moot.
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1                                              I. BACKGROUND
2              Plaintiff initiated a product liability suit in state court but Defendant removed the
3    action to federal court before the action was officially filed. On November 29, 2022,
4    Plaintiff filed her complaint in state court. Dkt. 17, Ex. A. Although the official filing date
5    of Plaintiff’s complaint was November 29, 2022, Plaintiff electronically submitted the
6    complaint to the superior court clerk for filing six days prior. Defendant received notice
7    of this electronic submission through the filing service provider and immediately filed a
8    Notice of Removal on November 28, 2022—one day before the clerk filed Plaintiff’s
9    complaint in superior court. 1 Dk. 1. On December 19, 2022, Defendant also filed a motion
10   to dismiss Plaintiff’s complaint before this Court. Dkt. 6.
11            Both Plaintiff and the Court questioned the legal validity of Defendant’s removal of
12   an action with only state law claims by a defendant that is a citizen of California. On
13   December 29, 2022, Plaintiff filed a motion to remand the action to state court for lack of
14   subject matter jurisdiction on the grounds that (1) the notice of removal was defective
15   because the complaint had not even been filed at the time of removal and (2) because
16   Defendant was a California citizen, it could not remove on the grounds of diversity
17   jurisdiction. Dkt. 7.2 Plaintiff also requested attorneys’ fees and costs incurred in the
18   removal. Dkt. 20 (Reply). On January 12, 2023, the Court ordered Defendant to show
19   cause why the case should not be remanded to state court because Defendant was a
20   California citizen seeking to remove an action solely on the basis of diversity. Dkt. 10.
21   The Court ordered the parties to either file a response to the order to show cause or notify
22   the Court that the parties had stipulated to a remand to state court. Id. On February 1,
23   2023, Defendant filed a response arguing that Plaintiff waived her right to object to an
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         Plaintiff did not serve Defendant with the complaint until November 30, 2022. Dkt. 17, Ex. B.
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         The case was transferred to the undersigned on January 5, 2023. Dkt. 9.

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1    improper removal because her remand motion was untimely. Dkt. 16. According to
2    Defendant, this waiver entitled it to remain in federal court. Id.3
3                                           II. LEGAL STANDARD
4             A defendant may remove a state court action to federal court only if the federal court
5    would originally have had federal question or diversity jurisdiction over the matter. See
6    28 U.S.C. § 1441; Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).
7    Diversity jurisdiction requires complete diversity of citizenship among the parties and an
8    amount in controversy exceeding $75,000. 28 U.S.C. § 1332. In order to remove an action
9    on diversity grounds, however, defendants must meet an additional requirement: according
10   to the “forum defendant rule,” a civil action may not be removed if any defendant is a
11   citizen of the state where the complaint was filed. 28 U.S.C. § 1441(b)(2). The forum
12   defendant rule thus “confines removal on the basis of diversity jurisdiction to instances
13   where no defendant is a citizen of the forum state.” Lively v. Wild Oats Mkts., Inc., 456
14   F.3d 933, 939 (9th Cir. 2006); see also Spencer v. U.S. Dist. Court for N. Dist. of Cal., 393
15   F.3d 867, 870 (9th Cir. 2004). Because the principal purpose of diversity jurisdiction is to
16   “protect out-of-state defendants from possible prejudices in state court,” this bar to removal
17   by local defendants reflects the reality that there is no need for such protection where the
18   defendant is a resident of the state in which the case is brought. Lively, 456 F.3d at 940.
19            Parties can waive the “forum defendant” limitation on removal by failing to object
20   in a timely manner. A plaintiff must file a motion to remand the action on this basis within
21   30 days of the notice of removal. See 28 U.S.C. § 1447(c). Otherwise, because the forum
22   defendant rule does not deprive the federal court of jurisdiction, a plaintiff can be deemed
23   to have waived its objection based on a violation of this rule. Lively, 456 F.3d at 942.
24            In considering a remand, the court construes any doubts against the removing party.
25   There is a “strong presumption against removal jurisdiction,” which means that “the
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         Defendant asserted these same arguments in its opposition to Plaintiff’s motion to remand. Dkt. 19.

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1    defendant always has the burden of establishing that removal is proper, and that the court
2    resolves all ambiguity in favor of remand to state court.” Hunter v. Philip Morris USA,
3    582 F.3d 1039, 1042 (9th Cir. 2009) (internal quotations omitted); Luther v. Countrywide
4    Home Loans Servicing LP, 533 F.3d 1031, 1034 (9th Cir. 2008) (“[R]emoval statutes are
5    strictly construed against removal.”). Thus, a court must reject federal jurisdiction “if there
6    is any doubt as to the right of removal in the first instance.” Gaus v. Miles, Inc., 980 F.2d
7    564, 566 (9th Cir. 1992).
8                                         III. DISCUSSION
9          The Court finds that this action must be remanded to state court because as a citizen
10   of California, Defendant cannot remove this action on the grounds of diversity jurisdiction.
11   At the time of removal, Defendant was a citizen of California and, therefore, a forum
12   defendant. Dkt. 1 (stating Defendant is a citizen of California and maintains its principal
13   place of business in San Diego, California); see also 28 U.S.C. § 1332(c)(1) (for the
14   purposes of diversity jurisdiction, “a corporation shall be deemed to be a citizen of every
15   State and foreign state by which it has been incorporated and of the State or foreign state
16   where it has its principal place of business…”). As a forum defendant, Defendant cannot
17   not remove this action solely on the basis of diversity jurisdiction. 28 U.S.C. § 1441(b)(2).
18         Defendant concedes its status as a forum defendant but argues that Plaintiff waived
19   her right to remand by failing to file her motion in a timely manner. Defendant argues that
20   because it filed its Notice of Removal on November 28, 2022, and Plaintiff did not move
21   to remand until December 29, 2022, she exceeded her 30-day window to challenge the
22   “forum defendant” defect.      In response, Plaintiff argues that Defendant’s Notice of
23   Removal was defective because Defendant filed it before Plaintiff’s complaint was
24   officially filed; a defective removal notice cannot start the clock on the 30-day window for
25   a remand motion. Because resolution of this dispute hinges on this issue, the Court will
26   examine the validity of Defendant’s Notice of Removal.
27         A proper removal requires a complaint to have first been filed. The removal statute
28   provides that the defendant must file a notice of removal upon receipt “of a copy of the

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1    initial pleading setting forth the claim for relief upon which such action or proceeding is
2    based[.]” 28 U.S.C. § 1446(b)(1). A complaint must be filed in court to become an initial
3    pleading; only after a complaint has been filed is there anything to be removed. Cal. Civ.
4    Pro. Code § 350 (“An action is commenced…when the complaint is filed); Kuxhausen v.
5    BMW Fin. Servs. NA LLC, 707 F.3d 1136, 1142 (9th Cir. 2013) (“Had [defendant] removed
6    on the basis of a not-yet-filed complaint, which may or may not ever have materialized, ‘it
7    may well have subjected itself to fees and costs, and potentially Rule 11 sanctions, for
8    filing a baseless notice of removal.’”); Kurihara v. CH2M Hill, Inc., 6 F. Supp. 2d 533,
9    536 (E.D. Va. 1998) (finding removal period was not triggered where defendant received
10   copy of pleading that “bore no indication that it actually had been filed”).
11          Here, Defendant filed a notice of removal seeking to remove a not-yet-filed
12   complaint. Although Plaintiff electronically submitted her complaint a few days before,
13   the San Diego Superior Court did not file Plaintiff’s complaint until November 29, 2022,
14   as evidenced by the time stamp of the Clerk of the Superior Court. Dkt. 17, Ex. A. At the
15   time of this filing, Plaintiff’s civil action commenced, Cal. Civ. Pro. Code § 350, and her
16   filed complaint became the “initial pleading” in the lawsuit. The removal statute requires
17   Defendant to file a notice of removal upon receipt “of a copy of the initial pleading” in a
18   case but Defendant did not do so; instead, it filed a notice of removal based on an unfiled
19   complaint— before it had an official “initial pleading” in hand. For this reason, the Court
20   finds that Defendant’s Notice of Removal was defective and therefore, its filing on
21   November 28, 2022, does not render Plaintiff’s motion to remand untimely.
22         Defendant takes the position that Plaintiff’s complaint was filed when it was
23   submitted to the San Diego Superior Court despite the later official filing date. Defendant
24   argues that a complaint is filed when it is in “actual or constructive custody” of the clerk;
25   thus, the complaint was already “filed” as of the date it was electronically submitted, six
26   days before Defendant’s removal of the action. See Def.’s Opp’n 8 citing to U.S. v. Dae
27   Rim Fishery Co., Ltd., 794 F.2d 1392 (9th Cir. 1986), Loya v. Desert Sands Unified School
28   Dist., 721 F.2d 279 (9th Cir. 1983), and Carlson v. State of California Dep’t of Fish &

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1    Game, 68 Cal. App. 4th 1268 (1998). The Court has reviewed the cases that Defendant
2    relies upon and finds them to be inapposite to the issue before it. Loya involved a court
3    clerk who refused to file a complaint because it was typed on the wrong size paper in
4    violation of a local rule. Loya, 721 F.2d at 280. By the time plaintiff refiled the complaint,
5    the statute of limitations had expired. Id. On appeal, the Ninth Circuit held that “for
6    purposes of the statute of limitations, the district court should regard as ‘filed’ a complaint
7    which arrives in the custody of the clerk within the statutory period but fails to conform
8    with formal requirements in local rules.” Id. at 281. Similarly, both Dae Rim Fishery and
9    Carlson involved situations where a court clerk rejected complaints for technical failures
10   causing the plaintiffs to miss their statute of limitations window. Dae Rim Fishery Co.,
11   794 F.2d 1392; Carlson, 68 Cal. App. 4th 1268. In both cases, the appellate courts held
12   that for purposes of the statute of limitations, filing should be deemed to have occurred on
13   the date of delivery. Dae Rim Fishery Co., 794 F.2d at 1395; Carlson, 68 Cal. App. 4th at
14   1273. The holdings of these cases are explicitly limited to contexts in which the expiration
15   of the statute of limitations is at stake—to prevent the manifest injustice of a clerk’s refusal
16   to file a complaint depriving a plaintiff of the right to bring suit. See id. The cases do not
17   apply to the situation here involving a defendant removing a complaint that had not been
18   properly filed.
19         Accordingly, the Court finds Defendant’s removal notice to be defective because it
20   was filed in advance of a filed complaint. The Court remands this action because it was
21   filed by a forum defendant and Plaintiff did not waive this defect by failing to file a timely
22   motion to remand.
23                          IV. REQUEST FOR ATTORNEYS’ FEES
24         Finding that Defendant’s removal of this action was improper, the Court next
25   considers Plaintiff’s request for the attorneys’ fees and costs she incurred as a result of
26   Defendant’s removal. Under 28 U.S.C. § 1447(c), a court may order payment of “just costs
27   and any actual expenses, including attorney fees, incurred as a result of the removal.” 28
28   U.S.C. § 1447(c). The standard for awarding fees turns on the reasonableness of the

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1    defendant’s decision to remove a case. A court may exercise its sound discretion to award
2    attorneys’ fees under § 1447(c) “where the removing party lacked an objectively
3    reasonable basis for seeking removal.” Martin v. Franklin Capital Corp., 546 U.S. 132,
4    141 (2005).
5           Here, the Court finds that Defendant had no reasonable grounds to remove this case.
6    It is undisputed that Dexcom is a forum defendant: the company is a citizen of California
7    and maintains its principal place of business in San Diego, California. Given that the
8    removal statute expressly provides that forum defendants may not remove their actions on
9    the basis of diversity, 28 U.S.C. § 1441(b)(2), Defendant had no objectively reasonable
10   basis to file a notice of removal. In opposing remand, Defendant acknowledges the forum
11   defendant rule but argues only that Plaintiff waived the defect with her untimely remand
12   motion. Removing a case in violation of the requirements and hoping that Plaintiff waives
13   the procedural defect is far from having a reasonable basis for the removal in the first
14   instance. See, e.g., Everest Systems Co. v. Platinum Roofing, Inc., 2019 WL 3387951, at
15   *2 (N.D. Cal. July 26, 2019) (granting fees where forum defendant removed action in hopes
16   that plaintiff would waive its right to remand). The Court finds that fees and costs are
17   appropriate because Defendant lacked a reasonable basis to remove this action.4
18                                           V. CONCLUSION
19          For the reasons discussed above, the Court GRANTS Plaintiff’s motion to remand
20   and request for attorneys’ fees [Dkt. 7] and DENIES Defendant’s motion to dismiss [Dkt.
21   6] as moot. The Court DIRECTS Plaintiff to file, within fifteen (15) days of the entry of
22   this order, a motion for attorneys’ fees containing a substantiation of fees and costs incurred
23   in the removal. Defendant may file a response within seven (7) days of Plaintiff’s filing of
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      While not a part of the above reasonableness analysis, the Court also questions the good faith of Dexcom
     and its counsel, a large and reputable law firm, in pursuing a groundless removal in violation of well-
28   established principles.

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1    the motion. The Court instructs the Clerk to remand the action to San Diego County
2    Superior Court.
3          IT IS SO ORDERED.
4    Dated: March 31, 2023
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 1 defendant's decision to remove a case. A court may exercise its sound discretion to award
 2   attorneys' fees under § 1447(c) "where the removing party lacked an objectively
 3 reasonable basis for seeking removal." Martin v. Franklin Capital Corp., 546 U.S. 132,
 4   141 (2005).
 5          Here, the Court finds that Defendant had no reasonable grounds to remove this case.
 6   It is undisputed that Dexcom is a forum defendant: the company is a citizen of California
 7   and maintains its principal place of business in San Diego, California. Given that the
 8   removal statute expressly provides that forum defendants may not remove their actions on
 9   the basis of diversity, 28 U.S.C. § 1441(b)(2), Defendant had no objectively reasonable
10   basis to file a notice of removal. In opposing remand, Defendant acknowledges the forum
11   defendant rule but argues only that Plaintiff waived the defect with her untimely remand
12   motion. Removing a case in violation of the requirements and hoping that Plaintiff waives
13   the procedural defect is far from having a reasonable basis for the removal in the first
14   instance. See, e.g., Everest Systems Co. v. Platinum Roofing, Inc., 2019 WL 3387951, at
15   *2 (N.D. Cal. July 26, 2019) (granting fees where forum defendant removed action in hopes
16   that plaintiff would waive its right to remand). The Court finds that fees and costs are
17   appropriate because Defendant lacked a reasonable basis to remove this action. 4
18                                           V. CONCLUSION
19          For the reasons discussed above, the Court GRANTS Plaintiffs motion to remand
20   and request for attorneys' fees [Dkt. 8] and DENIES Defendant's motion to dismiss [Dkt.
21   6] as moot. The Court DIRECTS Plaintiff to file, within fifteen (15) days of the entry of
22   this order, a motion for attorneys' fees containing a substantiation of fees and costs incurred
23   in the removal. Defendant may file a response within seven (7) days of Plaintiffs filing of
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28   established principles.
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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   Mund,                                               Case No.: 22cv01990-JO-MMP
12                                      Plaintiff,
                                                         ORDER GRANTING PLAINTIFF’S
13   v.                                                  MOTION TO REMAND AND
                                                         DENYING DEFENDANT’S MOTION
14   Dexcom, Inc.,
                                                         TO DISMISS
15                                   Defendant.
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18
19         On December 14, 2022, Plaintiff Gregory Mund filed a state law product liability
20   action against Defendant Dexcom, Inc. in San Diego County superior court. Dkt. 7, Ex.
21   A. On December 15, 2022, Defendant filed a Notice of Removal of the action to this Court.
22   Dkt. 1. On January 5, 2023, Defendant filed a motion to dismiss, and on January 17, 2023,
23   Plaintiff filed a motion to remand the action to state court for lack of subject matter
24   jurisdiction. Dkts. 6, 7. For the reasons stated below, the Court grants Plaintiff’s motion
25   to remand and denies Defendant’s motion to dismiss as moot.
26                                      I. BACKGROUND
27         Plaintiff initiated a product liability suit in state court but Defendant removed the
28   action to federal court before Plaintiff effected service of the complaint. On December 14,

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 1   2022, Plaintiff filed a product liability complaint against Defendant, a citizen of California,
 2   in state court. Dkt. 7, Ex. A. On December 15, 2022, Defendant filed a Notice of Removal
 3   to this Court on the basis of diversity jurisdiction, claiming the forum defendant rule did
 4   not bar removal because Defendant had not yet been served. Dkt. 1. Plaintiff served
 5   Defendant with the complaint on December 16, 2022. Dkt. 7, Ex. B. On January 17, 2023,
 6   Plaintiff filed a motion to remand the action to state court on the grounds that the removal
 7   was defective because Defendant, a forum defendant, could not remove on the basis of
 8   diversity jurisdiction. Dkt. 7.
 9                                     II. LEGAL STANDARD
10         A defendant may remove an action from state court only if the federal court would
11   originally have had federal question or diversity jurisdiction over the action and certain
12   procedural requirements are met. See 28 U.S.C. § 1441; Kokkonen v. Guardian Life Ins.
13   Co. of Am., 511 U.S. 375, 377 (1994). Diversity jurisdiction requires complete diversity
14   of citizenship among the parties and an amount in controversy exceeding $75,000. 28
15   U.S.C. § 1332. In order to remove an action on diversity grounds, a defendant must meet
16   an additional requirement: according to the “forum defendant rule,” a civil action may not
17   be removed if any defendant “properly joined and served[] is a citizen of the State” where
18   the complaint was filed. 28 U.S.C. § 1441(b)(2). The forum defendant rule thus “confines
19   removal on the basis of diversity jurisdiction to instances where no defendant is a citizen
20   of the forum state.” Lively v. Wild Oats Mkts., Inc., 456 F.3d 933, 939 (9th Cir. 2006); see
21   also Spencer v. U.S. Dist. Court for N. Dist. of Cal., 393 F.3d 867, 870 (9th Cir. 2004).
22   This rule reflects the reality that the need to “protect out-of-state defendants from possible
23   prejudices in state court” does not exist where the defendant is a resident of the state in
24   which the case is brought. Lively, 456 F.3d at 940. A party can waive the right to remand
25   based on the forum defendant rule by failing to object in a timely manner. See 28 U.S.C.
26   § 1447(c); Lively, 456 F.3d at 940.
27         In considering a remand, the court construes any doubts against the removing party.
28   There is a “strong presumption against removal jurisdiction,” which means that “the

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 1   defendant always has the burden of establishing that removal is proper, and that the court
 2   resolves all ambiguity in favor of remand to state court.” Hunter v. Philip Morris USA,
 3   582 F.3d 1039, 1042 (9th Cir. 2009); Luther v. Countrywide Homes Loans Servicing, LP,
 4   533 F.3d 1031, 1034 (9th Cir. 2008) (“[R]emoval statutes are strictly construed against
 5   removal.”). Thus, a court must reject federal jurisdiction “if there is any doubt as to the
 6   right of removal in the first instance.” Gaus v. Miles, Inc., 980 F.2d 564, 566 (9th Cir.
 7   1992).
 8                                             III. DISCUSSION
 9          The Court finds that this action must be remanded to state court because as a citizen
10   of California, Defendant cannot remove this action on grounds of diversity jurisdiction. At
11   the time of removal, Defendant was a citizen of California and, therefore, a forum
12   defendant. Dkt. 1 (stating Defendant is a citizen of California and maintains its principal
13   place of business in San Diego, California); see also 28 U.S.C. § 1332(c)(1) (for the
14   purposes of diversity jurisdiction, “a corporation shall be deemed to be a citizen of every
15   State and foreign state by which it has been incorporated and of the State or foreign state
16   where it has its principal place of business…”). As a forum defendant, Defendant could
17   not remove this action solely on the basis of diversity jurisdiction. 28 U.S.C. § 1441(b)(2).
18          Despite its admitted status as a California citizen, Defendant argues that it evaded
19   the forum defendant rule simply by filing a Notice of Removal prior to being served.1
20   Defendant points to the language of § 1441(b)(2) which prohibits the removal of a diversity
21   action “if any of the parties in interest properly joined and served as defendants.”
22   §1441(b)(2). Because Dexcom, the only defendant in the case, had not yet been served,
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               Defendant does not raise other objections to remand such as untimeliness of Plaintiff’s motion.
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     The objection of untimeliness does not go to subject matter jurisdiction and is therefore waivable. E.g.,
26   Student A., By and Through her Guardian Ad Litem, Mother of Student A. v. Metcho et al., 710 F. Supp.
     267, 269 (N.D. Cal. 1989) (citing Mackay v. Uinta Dev. Co., 229 U.S. 173, 176–77 (1913)); Hunter, 582
27   F.3d at 1042 (holding defendant always has the burden of establishing that removal is proper, and that the
     court resolves all ambiguity in favor of remand to state court). The Court therefore rules on the opposition
28   to the remand motion only on the basis of the ground asserted.

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 1   the company argued that the forum defendant rule does not apply. The Court does not
 2   credit Dexcom’s interpretation of this statutory language to circumvent the forum
 3   defendant rule. The clear purpose of the forum defendant rule is to prevent “a local
 4   defendant from removing on the basis of diversity jurisdiction” and, thereby, “allow[] the
 5   plaintiff to regain some control over forum selection”. Lively, 456 F.3d at 940; Home
 6   Depot U.S.A., Inc. v. Jackson, 139 S. Ct. 1743, 1748 (2019) (“[W]hen federal jurisdiction
 7   is based on diversity jurisdiction…the case may not be removed if any defendant is a
 8   Citizen of the State in which such action is brought”). Here, Dexcom is the only defendant
 9   in the case and, admittedly, a California citizen. To interpret the language of the forum
10   defendant rule to allow Defendant to evade this limitation simply by removing the case
11   before it is served does not serve the purpose of the removal statutes. 2
12                                          IV. CONCLUSION
13          For the reasons discussed above, the Court GRANTS Plaintiff’s motion to remand
14   [Dkt. 7] and DENIES Defendant’s motion to dismiss [Dkt. 6] as moot. The Court instructs
15   the Clerk to remand the action to San Diego County Superior Court and close the case.
16          IT IS SO ORDERED.
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18   Dated: August 14, 2023
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              In 1948, Congress added the “properly joined and served” language to the existing forum
     defendant rule in order to protect defendants against gamesmanship from plaintiffs who fraudulently join
27   a defendant to improperly prevent removal. See Deutsche Bank Nat’l Trust Co. as Tr. for Am. Home
     Mortgage Invest. Tr., 532 F. Supp. 3d 1004, 1010 (D. Nev. 2021) (examining legislative history of §
28   1441(b)(2)).

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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   Peatross,                                           Case No.: 22cv01988-JO-MMP
12                                      Plaintiff,
                                                         ORDER GRANTING PLAINTIFF’S
13   v.                                                  MOTION TO REMAND AND
                                                         DENYING DEFENDANT’S MOTION
14   Dexcom, Inc.,
                                                         TO DISMISS
15                                    Defendant.
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19         On December 14, 2022, Plaintiff Angela Peatross filed a state law product liability
20   action against Defendant Dexcom, Inc. in San Diego County superior court. Dkt. 10, Ex.
21   A. On December 15, 2022, Defendant filed a Notice of Removal of the action to this Court.
22   Dkt. 1. On January 5, 2023, Defendant filed a motion to dismiss, and on January 17, 2023,
23   Plaintiff filed a motion to remand the action to state court for lack of subject matter
24   jurisdiction. Dkts. 6, 10. For the reasons stated below, the Court grants Plaintiff’s motion
25   to remand and denies Defendant’s motion to dismiss as moot.
26                                      I. BACKGROUND
27         Plaintiff initiated a product liability suit in state court but Defendant removed the
28   action to federal court before Plaintiff effected service of the complaint. On December 14,

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 1   2022, Plaintiff filed a product liability complaint against Defendant, a citizen of California,
 2   in state court. Dkt. 10, Ex. A. On December 15, 2022, Defendant filed a Notice of
 3   Removal to this Court on the basis of diversity jurisdiction, claiming the forum defendant
 4   rule did not bar removal because Defendant had not yet been served. Dkt. 1. Plaintiff
 5   served Defendant with the complaint on December 16, 2022. Dkt. 10, Ex. B. On January
 6   17, 2023, Plaintiff filed a motion to remand the action to state court on the grounds that the
 7   removal was defective because Defendant, a forum defendant, could not remove on the
 8   basis of diversity jurisdiction. Dkt. 10.1
 9                                        II. LEGAL STANDARD
10         A defendant may remove an action from state court only if the federal court would
11   originally have had federal question or diversity jurisdiction over the action and certain
12   procedural requirements are met. See 28 U.S.C. § 1441; Kokkonen v. Guardian Life Ins.
13   Co. of Am., 511 U.S. 375, 377 (1994). Diversity jurisdiction requires complete diversity
14   of citizenship among the parties and an amount in controversy exceeding $75,000. 28
15   U.S.C. § 1332. In order to remove an action on diversity grounds, a defendant must meet
16   an additional requirement: according to the “forum defendant rule,” a civil action may not
17   be removed if any defendant “properly joined and served[] is a citizen of the State” where
18   the complaint was filed. 28 U.S.C. § 1441(b)(2). The forum defendant rule thus “confines
19   removal on the basis of diversity jurisdiction to instances where no defendant is a citizen
20   of the forum state.” Lively v. Wild Oats Mkts., Inc., 456 F.3d 933, 939 (9th Cir. 2006); see
21   also Spencer v. U.S. Dist. Court for N. Dist. of Cal., 393 F.3d 867, 870 (9th Cir. 2004).
22   This rule reflects the reality that the need to “protect out-of-state defendants from possible
23   prejudices in state court” does not exist where the defendant is a resident of the state in
24   which the case is brought. Lively, 456 F.3d at 940. A party can waive the right to remand
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               The case was transferred to the undersigned on January 12, 2023. Dkt. 7.

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 1   based on the forum defendant rule by failing to object in a timely manner. See 28 U.S.C.
 2   § 1447(c); Lively, 456 F.3d at 940.
 3          In considering a remand, the court construes any doubts against the removing party.
 4   There is a “strong presumption against removal jurisdiction,” which means that “the
 5   defendant always has the burden of establishing that removal is proper, and that the court
 6   resolves all ambiguity in favor of remand to state court.” Hunter v. Philip Morris USA,
 7   582 F.3d 1039, 1042 (9th Cir. 2009); Luther v. Countrywide Homes Loans Servicing, LP,
 8   533 F.3d 1031, 1034 (9th Cir. 2008) (“[R]emoval statutes are strictly construed against
 9   removal.”). Thus, a court must reject federal jurisdiction “if there is any doubt as to the
10   right of removal in the first instance.” Gaus v. Miles, Inc., 980 F.2d 564, 566 (9th Cir.
11   1992).
12                                            III. DISCUSSION
13          The Court finds that this action must be remanded to state court because as a citizen
14   of California, Defendant cannot remove this action on grounds of diversity jurisdiction. At
15   the time of removal, Defendant was a citizen of California and, therefore, a forum
16   defendant. Dkt. 1 (stating Defendant is a citizen of California and maintains its principal
17   place of business in San Diego, California); see also 28 U.S.C. § 1332(c)(1) (for the
18   purposes of diversity jurisdiction, “a corporation shall be deemed to be a citizen of every
19   State and foreign state by which it has been incorporated and of the State or foreign state
20   where it has its principal place of business…”). As a forum defendant, Defendant could
21   not remove this action solely on the basis of diversity jurisdiction. 28 U.S.C. § 1441(b)(2).
22          Despite its admitted status as a California citizen, Defendant argues that it evaded
23   the forum defendant rule simply by filing a Notice of Removal prior to being served.2
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26            Defendant does not raise other objections to remand such as untimeliness of Plaintiff’s motion.
     The objection of untimeliness does not go to subject matter jurisdiction and is therefore waivable. E.g.,
27   Student A., By and Through her Guardian Ad Litem, Mother of Student A. v. Metcho et al., 710 F. Supp.
     267, 269 (N.D. Cal. 1989) (citing Mackay v. Uinta Dev. Co., 229 U.S. 173, 176–77 (1913)); Hunter, 582
28   F.3d at 1042 (holding defendant always has the burden of establishing that removal is proper, and that the

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 1   Defendant points to the language of § 1441(b)(2) which prohibits the removal of a diversity
 2   action “if any of the parties in interest properly joined and served as defendants.”
 3   §1441(b)(2). Because Dexcom, the only defendant in the case, had not yet been served,
 4   the company argued that the forum defendant rule does not apply. The Court does not
 5   credit Dexcom’s interpretation of this statutory language to circumvent the forum
 6   defendant rule. The clear purpose of the forum defendant rule is to prevent “a local
 7   defendant from removing on the basis of diversity jurisdiction” and, thereby, “allow[] the
 8   plaintiff to regain some control over forum selection”. Lively, 456 F.3d at 940; Home
 9   Depot U.S.A., Inc. v. Jackson, 139 S. Ct. 1743, 1748 (2019) (“[W]hen federal jurisdiction
10   is based on diversity jurisdiction…the case may not be removed if any defendant is a
11   Citizen of the State in which such action is brought”). Here, Dexcom is the only defendant
12   in the case and, admittedly, a California citizen. To interpret the language of the forum
13   defendant rule to allow Defendant to evade this limitation simply by removing the case
14   before it is served does not serve the purpose of the removal statutes. 3
15                                            IV. CONCLUSION
16           For the reasons discussed above, the Court GRANTS Plaintiff’s motion to remand
17   [Dkt. 10] and DENIES Defendant’s motion to dismiss [Dkt. 6] as moot. The Court
18   instructs the Clerk to remand the action to San Diego County Superior Court and close the
19   case.
20           IT IS SO ORDERED.
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25   court resolves all ambiguity in favor of remand to state court). The Court therefore rules on the opposition
     to the remand motion only on the basis of the ground asserted.
26           3
               In 1948, Congress added the “properly joined and served” language to the existing forum
     defendant rule in order to protect defendants against gamesmanship from plaintiffs who fraudulently join
27   a defendant to improperly prevent removal. See Deutsche Bank Nat’l Trust Co. as Tr. for Am. Home
     Mortgage Invest. Tr., 532 F. Supp. 3d 1004, 1010 (D. Nev. 2021) (examining legislative history of §
28   1441(b)(2)).

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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   Reese,                                              Case No.: 22cv01991-JO-MMP
12                                      Plaintiff,
                                                         ORDER GRANTING PLAINTIFF’S
13   v.                                                  MOTION TO REMAND AND
                                                         DENYING DEFENDANT’S MOTION
14   Dexcom, Inc.,
                                                         TO DISMISS
15                                    Defendant.
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19         On December 14, 2022, Plaintiff Felicia Reese filed a state law product liability
20   action against Defendant Dexcom, Inc. in San Diego County superior court. Dkt. 10, Ex.
21   A. On December 15, 2022, Defendant filed a Notice of Removal of the action to this Court.
22   Dkt. 1. On January 5, 2023, Defendant filed a motion to dismiss, and on January 17, 2023,
23   Plaintiff filed a motion to remand the action to state court for lack of subject matter
24   jurisdiction. Dkts. 7, 10. For the reasons stated below, the Court grants Plaintiff’s motion
25   to remand and denies Defendant’s motion to dismiss as moot.
26                                      I. BACKGROUND
27         Plaintiff initiated a product liability suit in state court but Defendant removed the
28   action to federal court before Plaintiff effected service of the complaint. On December 14,

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 1   2022, Plaintiff filed a product liability complaint against Defendant, a citizen of California,
 2   in state court. Dkt. 10, Ex. A. On December 15, 2022, Defendant filed a Notice of
 3   Removal to this Court on the basis of diversity jurisdiction, claiming the forum defendant
 4   rule did not bar removal because Defendant had not yet been served. Dkt. 1. Plaintiff
 5   served Defendant with the complaint on December 16, 2022. Dkt. 10, Ex. B. On January
 6   17, 2023, Plaintiff filed a motion to remand the action to state court on the grounds that the
 7   removal was defective because Defendant, a forum defendant, could not remove on the
 8   basis of diversity jurisdiction. Dkt. 10.1
 9                                        II. LEGAL STANDARD
10         A defendant may remove an action from state court only if the federal court would
11   originally have had federal question or diversity jurisdiction over the action and certain
12   procedural requirements are met. See 28 U.S.C. § 1441; Kokkonen v. Guardian Life Ins.
13   Co. of Am., 511 U.S. 375, 377 (1994). Diversity jurisdiction requires complete diversity
14   of citizenship among the parties and an amount in controversy exceeding $75,000. 28
15   U.S.C. § 1332. In order to remove an action on diversity grounds, a defendant must meet
16   an additional requirement: according to the “forum defendant rule,” a civil action may not
17   be removed if any defendant “properly joined and served[] is a citizen of the State” where
18   the complaint was filed. 28 U.S.C. § 1441(b)(2). The forum defendant rule thus “confines
19   removal on the basis of diversity jurisdiction to instances where no defendant is a citizen
20   of the forum state.” Lively v. Wild Oats Mkts., Inc., 456 F.3d 933, 939 (9th Cir. 2006); see
21   also Spencer v. U.S. Dist. Court for N. Dist. of Cal., 393 F.3d 867, 870 (9th Cir. 2004).
22   This rule reflects the reality that the need to “protect out-of-state defendants from possible
23   prejudices in state court” does not exist where the defendant is a resident of the state in
24   which the case is brought. Lively, 456 F.3d at 940. A party can waive the right to remand
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               The case was transferred to the undersigned on January 5, 2023. Dkt. 6.

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 1   based on the forum defendant rule by failing to object in a timely manner. See 28 U.S.C.
 2   § 1447(c); Lively, 456 F.3d at 940.
 3          In considering a remand, the court construes any doubts against the removing party.
 4   There is a “strong presumption against removal jurisdiction,” which means that “the
 5   defendant always has the burden of establishing that removal is proper, and that the court
 6   resolves all ambiguity in favor of remand to state court.” Hunter v. Philip Morris USA,
 7   582 F.3d 1039, 1042 (9th Cir. 2009); Luther v. Countrywide Homes Loans Servicing, LP,
 8   533 F.3d 1031, 1034 (9th Cir. 2008) (“[R]emoval statutes are strictly construed against
 9   removal.”). Thus, a court must reject federal jurisdiction “if there is any doubt as to the
10   right of removal in the first instance.” Gaus v. Miles, Inc., 980 F.2d 564, 566 (9th Cir.
11   1992).
12                                            III. DISCUSSION
13          The Court finds that this action must be remanded to state court because as a citizen
14   of California, Defendant cannot remove this action on grounds of diversity jurisdiction. At
15   the time of removal, Defendant was a citizen of California and, therefore, a forum
16   defendant. Dkt. 1 (stating Defendant is a citizen of California and maintains its principal
17   place of business in San Diego, California); see also 28 U.S.C. § 1332(c)(1) (for the
18   purposes of diversity jurisdiction, “a corporation shall be deemed to be a citizen of every
19   State and foreign state by which it has been incorporated and of the State or foreign state
20   where it has its principal place of business…”). As a forum defendant, Defendant could
21   not remove this action solely on the basis of diversity jurisdiction. 28 U.S.C. § 1441(b)(2).
22          Despite its admitted status as a California citizen, Defendant argues that it evaded
23   the forum defendant rule simply by filing a Notice of Removal prior to being served.2
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26            Defendant does not raise other objections to remand such as untimeliness of Plaintiff’s motion.
     The objection of untimeliness does not go to subject matter jurisdiction and is therefore waivable. E.g.,
27   Student A., By and Through her Guardian Ad Litem, Mother of Student A. v. Metcho et al., 710 F. Supp.
     267, 269 (N.D. Cal. 1989) (citing Mackay v. Uinta Dev. Co., 229 U.S. 173, 176–77 (1913)); Hunter, 582
28   F.3d at 1042 (holding defendant always has the burden of establishing that removal is proper, and that the

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 1   Defendant points to the language of § 1441(b)(2) which prohibits the removal of a diversity
 2   action “if any of the parties in interest properly joined and served as defendants.”
 3   §1441(b)(2). Because Dexcom, the only defendant in the case, had not yet been served,
 4   the company argued that the forum defendant rule does not apply. The Court does not
 5   credit Dexcom’s interpretation of this statutory language to circumvent the forum
 6   defendant rule. The clear purpose of the forum defendant rule is to prevent “a local
 7   defendant from removing on the basis of diversity jurisdiction” and, thereby, “allow[] the
 8   plaintiff to regain some control over forum selection”. Lively, 456 F.3d at 940; Home
 9   Depot U.S.A., Inc. v. Jackson, 139 S. Ct. 1743, 1748 (2019) (“[W]hen federal jurisdiction
10   is based on diversity jurisdiction…the case may not be removed if any defendant is a
11   Citizen of the State in which such action is brought”). Here, Dexcom is the only defendant
12   in the case and, admittedly, a California citizen. To interpret the language of the forum
13   defendant rule to allow Defendant to evade this limitation simply by removing the case
14   before it is served does not serve the purpose of the removal statutes. 3
15                                            IV. CONCLUSION
16           For the reasons discussed above, the Court GRANTS Plaintiff’s motion to remand
17   [Dkt. 10] and DENIES Defendant’s motion to dismiss [Dkt. 7] as moot. The Court
18   instructs the Clerk to remand the action to San Diego County Superior Court and close the
19   case.
20           IT IS SO ORDERED.
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25   court resolves all ambiguity in favor of remand to state court). The Court therefore rules on the opposition
     to the remand motion only on the basis of the ground asserted.
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               In 1948, Congress added the “properly joined and served” language to the existing forum
     defendant rule in order to protect defendants against gamesmanship from plaintiffs who fraudulently join
27   a defendant to improperly prevent removal. See Deutsche Bank Nat’l Trust Co. as Tr. for Am. Home
     Mortgage Invest. Tr., 532 F. Supp. 3d 1004, 1010 (D. Nev. 2021) (examining legislative history of §
28   1441(b)(2)).

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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   Wright,                                             Case No.: 22cv01989-JO-MMP
12                                      Plaintiff,
                                                         ORDER GRANTING PLAINTIFF’S
13   v.                                                  MOTION TO REMAND AND
                                                         DENYING DEFENDANT’S MOTION
14   Dexcom, Inc.,
                                                         TO DISMISS
15                                    Defendant.
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18
19         On December 14, 2022, Plaintiff Angela Wright filed a state law product liability
20   action against Defendant Dexcom, Inc. in San Diego County superior court. Dkt. 10, Ex.
21   A. On December 15, 2022, Defendant filed a Notice of Removal of the action to this Court.
22   Dkt. 1. On January 5, 2023, Defendant filed a motion to dismiss, and on January 17, 2023,
23   Plaintiff filed a motion to remand the action to state court for lack of subject matter
24   jurisdiction. Dkts. 7, 10. For the reasons stated below, the Court grants Plaintiff’s motion
25   to remand and denies Defendant’s motion to dismiss as moot.
26                                      I. BACKGROUND
27         Plaintiff initiated a product liability suit in state court but Defendant removed the
28   action to federal court before Plaintiff effected service of the complaint. On December 14,

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 1   2022, Plaintiff filed a product liability complaint against Defendant, a citizen of California,
 2   in state court. Dkt. 10, Ex. A. On December 15, 2022, Defendant filed a Notice of
 3   Removal to this Court on the basis of diversity jurisdiction, claiming the forum defendant
 4   rule did not bar removal because Defendant had not yet been served. Dkt. 1. Plaintiff
 5   served Defendant with the complaint on December 16, 2022. Dkt. 10, Ex. B. On January
 6   17, 2023, Plaintiff filed a motion to remand the action to state court on the grounds that the
 7   removal was defective because Defendant, a forum defendant, could not remove on the
 8   basis of diversity jurisdiction. Dkt. 10.1
 9                                       II. LEGAL STANDARD
10         A defendant may remove an action from state court only if the federal court would
11   originally have had federal question or diversity jurisdiction over the action and certain
12   procedural requirements are met. See 28 U.S.C. § 1441; Kokkonen v. Guardian Life Ins.
13   Co. of Am., 511 U.S. 375, 377 (1994). Diversity jurisdiction requires complete diversity
14   of citizenship among the parties and an amount in controversy exceeding $75,000. 28
15   U.S.C. § 1332. In order to remove an action on diversity grounds, a defendant must meet
16   an additional requirement: according to the “forum defendant rule,” a civil action may not
17   be removed if any defendant “properly joined and served[] is a citizen of the State” where
18   the complaint was filed. 28 U.S.C. § 1441(b)(2). The forum defendant rule thus “confines
19   removal on the basis of diversity jurisdiction to instances where no defendant is a citizen
20   of the forum state.” Lively v. Wild Oats Mkts., Inc., 456 F.3d 933, 939 (9th Cir. 2006); see
21   also Spencer v. U.S. Dist. Court for N. Dist. of Cal., 393 F.3d 867, 870 (9th Cir. 2004).
22   This rule reflects the reality that the need to “protect out-of-state defendants from possible
23   prejudices in state court” does not exist where the defendant is a resident of the state in
24   which the case is brought. Lively, 456 F.3d at 940. A party can waive the right to remand
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               The case was transferred to the undersigned on December 19, 2022. Dkt. 4.

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 1   based on the forum defendant rule by failing to object in a timely manner. See 28 U.S.C.
 2   § 1447(c); Lively, 456 F.3d at 940.
 3          In considering a remand, the court construes any doubts against the removing party.
 4   There is a “strong presumption against removal jurisdiction,” which means that “the
 5   defendant always has the burden of establishing that removal is proper, and that the court
 6   resolves all ambiguity in favor of remand to state court.” Hunter v. Philip Morris USA,
 7   582 F.3d 1039, 1042 (9th Cir. 2009); Luther v. Countrywide Homes Loans Servicing, LP,
 8   533 F.3d 1031, 1034 (9th Cir. 2008) (“[R]emoval statutes are strictly construed against
 9   removal.”). Thus, a court must reject federal jurisdiction “if there is any doubt as to the
10   right of removal in the first instance.” Gaus v. Miles, Inc., 980 F.2d 564, 566 (9th Cir.
11   1992).
12                                            III. DISCUSSION
13          The Court finds that this action must be remanded to state court because as a citizen
14   of California, Defendant cannot remove this action on grounds of diversity jurisdiction. At
15   the time of removal, Defendant was a citizen of California and, therefore, a forum
16   defendant. Dkt. 1 (stating Defendant is a citizen of California and maintains its principal
17   place of business in San Diego, California); see also 28 U.S.C. § 1332(c)(1) (for the
18   purposes of diversity jurisdiction, “a corporation shall be deemed to be a citizen of every
19   State and foreign state by which it has been incorporated and of the State or foreign state
20   where it has its principal place of business…”). As a forum defendant, Defendant could
21   not remove this action solely on the basis of diversity jurisdiction. 28 U.S.C. § 1441(b)(2).
22          Despite its admitted status as a California citizen, Defendant argues that it evaded
23   the forum defendant rule simply by filing a Notice of Removal prior to being served.2
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26            Defendant does not raise other objections to remand such as untimeliness of Plaintiff’s motion.
     The objection of untimeliness does not go to subject matter jurisdiction and is therefore waivable. E.g.,
27   Student A., By and Through her Guardian Ad Litem, Mother of Student A. v. Metcho et al., 710 F. Supp.
     267, 269 (N.D. Cal. 1989) (citing Mackay v. Uinta Dev. Co., 229 U.S. 173, 176–77 (1913)); Hunter, 582
28   F.3d at 1042 (holding defendant always has the burden of establishing that removal is proper, and that the

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 1   Defendant points to the language of § 1441(b)(2) which prohibits the removal of a diversity
 2   action “if any of the parties in interest properly joined and served as defendants.”
 3   §1441(b)(2). Because Dexcom, the only defendant in the case, had not yet been served,
 4   the company argued that the forum defendant rule does not apply. The Court does not
 5   credit Dexcom’s interpretation of this statutory language to circumvent the forum
 6   defendant rule. The clear purpose of the forum defendant rule is to prevent “a local
 7   defendant from removing on the basis of diversity jurisdiction” and, thereby, “allow[] the
 8   plaintiff to regain some control over forum selection”. Lively, 456 F.3d at 940; Home
 9   Depot U.S.A., Inc. v. Jackson, 139 S. Ct. 1743, 1748 (2019) (“[W]hen federal jurisdiction
10   is based on diversity jurisdiction…the case may not be removed if any defendant is a
11   Citizen of the State in which such action is brought”). Here, Dexcom is the only defendant
12   in the case and, admittedly, a California citizen. To interpret the language of the forum
13   defendant rule to allow Defendant to evade this limitation simply by removing the case
14   before it is served does not serve the purpose of the removal statutes. 3
15                                            IV. CONCLUSION
16           For the reasons discussed above, the Court GRANTS Plaintiff’s motion to remand
17   [Dkt. 10] and DENIES Defendant’s motion to dismiss [Dkt. 7] as moot. The Court
18   instructs the Clerk to remand the action to San Diego County Superior Court and close the
19   case.
20           IT IS SO ORDERED.
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25   court resolves all ambiguity in favor of remand to state court). The Court therefore rules on the opposition
     to the remand motion only on the basis of the ground asserted.
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               In 1948, Congress added the “properly joined and served” language to the existing forum
     defendant rule in order to protect defendants against gamesmanship from plaintiffs who fraudulently join
27   a defendant to improperly prevent removal. See Deutsche Bank Nat’l Trust Co. as Tr. for Am. Home
     Mortgage Invest. Tr., 532 F. Supp. 3d 1004, 1010 (D. Nev. 2021) (examining legislative history of §
28   1441(b)(2)).

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               EXHIBIT "F"
     Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.285 Page 150 of 160
                                                                                                                                                     CM-015
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                               FOR COURT USE ONLY
  Kevin W. Alexander (SBN: 175204) Renata Ortiz Bloom (SBN: 254377)
  GORDON REES SCULLY MANSUKHAN
  101 W. Broadway, Suite 2000
  San Diego, CA 92101
            TELEPHONE NO.: (619) 696-6700          FAX NO. (Optional):

   E-MAIL ADDRESS (Optional): kalexander@grsm.com; rbloom@grsm.com

      ATTORNEY FOR (Name): Defendant Dexcom, Inc.

     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
              STREET ADDRESS:   330 W. Broadway
              MAILING ADDRESS:  same
             CITY AND ZIP CODE: San Diego, CA 92101

                 BRANCH NAME: Central
                                                                                                           CASE NUMBER:
           PLAINTIFF/PETITIONER: Lauren Casola                                                             37-2022-00047838-CU-PL-CTL

 DEFENDANT/RESPONDENT: Dexcom, Inc.                                                                        JUDICIAL OFFICER:
                                                                                                           Hon. Marcella O. McLaughlin
                                                                                                           DEPT.:

                                          NOTICE OF RELATED CASE                                           C-72



Identify, in chronological order according to date of filing, all cases related to the case referenced above.
1. a. Title: Catherine Sigley v. Dexcom, Inc.
      b. Case number: 37-2022-47423-CU-PL-CTL
      c. Court:                    same as above
                                   other state or federal court (name and address):
      d. Department: C-72
      e. Case type:                    limited civil     unlimited civil         probate      family law            other (specify):
      f.     Filing date: November 23, 2022
      g. Has this case been designated or determined as "complex?"                         Yes          No
      h. Relationship of this case to the case referenced above (check all that apply):
                     involves the same parties and is based on the same or similar claims.

                     arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                     the same or substantially identical questions of law or fact.
                     involves claims against, title to, possession of, or damages to the same property.
                     is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                               Additional explanation is attached in attachment 1h
      i.     Status of case:
                     pending
                     dismissed                  with         without prejudice
                     disposed of by judgment

2.    a. Title:

      b. Case number:
      c. Court:                    same as above
                                   other state or federal court (name and address):
      d. Department:

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Form Approved for Optional Use                                                                                                     Cal. Rules of Court, rule 3.300
  Judicial Council of California                             NOTICE OF RELATED CASE                                                         www.courtinfo.ca.gov
  CM-015 [Rev. July 1, 2007]
     Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.286 Page 151 of 160
                                                                                                                                              CM-015
      PLAINTIFF/PETITIONER:            Lauren Casola                                                        CASE NUMBER:
                                                                                                            37-2022-00047838-CU-PL-CTL
     DEFENDANT/RESPONDENT: Dexcom, Inc.

2. (continued)
            e. Case type:            limited civil          unlimited civil         probate            family law          other (specify):
            f. Filing date:
            g. Has this case been designated or determined as "complex?"                       Yes                 No
            h. Relationship of this case to the case referenced above (check all that apply):
                         involves the same parties and is based on the same or similar claims.
                         arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                         the same or substantially identical questions of law or fact.

                         involves claims against, title to, possession of, or damages to the same property.
                         is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                                Additional explanation is attached in attachment 2h
            i. Status of case:
                        pending
                        dismissed              with            without prejudice
                        disposed of by judgment

3.     a. Title: .
       b. Case number:
       c. Court:               same as above
                               other state or federal court (name and address):
       d. Department:
       e. Case type:               limited civil            unlimited civil         probate           family law           other (specify):
       f.    Filing date:
       g. Has this case been designated or determined as "complex?"                           Yes             No
       h. Relationship of this case to the case referenced above (check all that apply):
                     involves the same parties and is based on the same or similar claims.

                     arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                     the same or substantially identical questions of law or fact.

                     involves claims against, title to, possession of, or damages to the same property.
                     is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                              Additional explanation is attached in attachment 3h
       i.    Status of case:
                     pending
                     dismissed             with             without prejudice
                     disposed of by judgment

4.              Additional related cases are described in Attachment 4. Number of pages attached: 6



Date: February 23, 2024

Renata Ortiz Bloom                                                              
                (TYPE OR PRINT NAME OF PARTY OR ATTORNEY)                                           (SIGNATURE OF PARTY OR ATTORNEY)




CM-015 [Rev. July 1, 2007]                                  NOTICE OF RELATED CASE                                                            Page 2 of 3
     Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.287 Page 152 of 160
                                                                                                                                      CM-015
                                                                                                   CASE NUMBER:
      PLAINTIFF/PETITIONER:          Lauren Casola
                                                                                                   37-2022-00047838-CU-PL-CTL
     DEFENDANT/RESPONDENT: Dexcom, Inc.


                                                   PROOF OF SERVICE BY FIRST-CLASS MAIL
                                                          NOTICE OF RELATED CASE
(NOTE: You cannot serve the Notice of Related Case if you are a party in the action. The person who served the notice must
complete this proof of service. The notice must be served on all known parties in each related action or proceeding.)

1.    I am at least 18 years old and not a party to this action. I am a resident of or employed In the county where the mailing took
      place, and my residence or business address is (specify): 101 W. Broadway Suite 2000, San Diego, CA 92101



2.    | served a copy of the Notice of Related Case by enclosing it in a sealed envelope with first-class postage fully
      prepaid and (check one):
      a.           deposited the sealed envelope with the United States Postal Service.
      b.           placed the sealed envelope for collection and processing for mailing, following this business's usual practices,
                   with which I am readily familiar. On the same day correspondence is placed for collection and mailing, it is
                   deposited in the ordinary course of business with the United States Postal Service.

3.    The Notice of Related Case was mailed:
      a. on (date): February 23, 2024
      b. from (city and state): San Diego, CA

4. The envelope was addressed and mailed as follows:


      a. Name of person served: Timothy M. Clark                    c. Name of person served: Gary Chambers

           Street address: 5857 Owens Drive, Suite 341                 Street address: 2070 North Tustin Avenue

           City: Carlsbad                                              City: Santa Ana
           State and zip code: CA 92008                                State and zip code: CA 92705


      b. Name of person served: Melissa Rosadini-Knott              d. Name of person served:


           Street address: 3435 Wilshire Blvd., Suite 1400             Street address:
           City: Los Angeles                                           City:
           State and zip code: CA 90010                                State and zip code:



        Names and addresses of additional persons served are attached. (You may use form POS-030(P).)

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


Date: February 23, 2024



Sylvia Durazo                                                          
               (TYPE OR PRINT NAME OF DECLARANT)                                           (SIGNATURE OF DECLARANT)




CM-015 [Rev. July 1, 2007]                              NOTICE OF RELATED CASE                                                        Page 3 of 3
  Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.288 Page 153 of 160
                                                                                                                        MC-025
 SHORT TITLE:
   Lauren Casola v. Dexcom, Inc.                                                              37-2022-00047838-CU-PL-CTL


                                                          ATTACHMENT (Number): 1h

                                       (This Attachment may be used with any Judicial Council form.)

                                               NOTICE OF RELATED CASES
                                                    ATTACHMENT 1h

        There are 44 cases originally filed in the Superior Court of California, County of San Diego by
individual plaintiffs relating to their alleged use of a Dexcom G6 Continuous Glucose Monitoring System
(“Dexcom G6”). 43 of those cases identify Dexcom, Inc. (“Dexcom”) as the sole defendant. (Joseph
Higginbottom v. Dexcom, Inc., et al., No. 3:24-cv-195, which currently is pending in the Southern District
of California, also names Tandem Diabetes Care as a defendant.) Dexcom removed many of the non-
resident cases to the Southern District of California. Currently, 40 of the 44 cases are pending in the
Superior Court of California, County of San Diego, and these are the cases identified in Dexcom’s
Notice of Related Case and Attachment 4, which Dexcom is requesting this Court to deem related (the
“Related Matters”).

       On June 16, 2023, Honorable Timothy Taylor, Department C-72, Superior Court of California,
ordered that 18 of the 40 Related Matters pending in state court at that time be deemed related under
Brenda Bottiglier v. Dexcom, Inc., Case No. 37-2022-47846-CU-PL-CTL. All but three of the forty
Related Matters have been transferred and re-assigned to Department C-72 before Judge McLaughlin.
Dexcom requests that the remaining Related Matters be deemed “related cases” as defined in
California Rules of Court, Rule 3.300(a), and that the Related Matters not currently pending in
Department C-72 be transferred and re-assigned for all purposes to Honorable Marcella McLaughlin,
Civil Department C-72.

        The Related Matters are properly deemed “related cases” as defined in California Rules of Court,
Rule 3.300(a) on multiple grounds, including: (1) the Related Matters all identify Dexcom as the sole
defendant and Dexcom is represented by the same local and national counsel; (2) the Related Matters
are all product liability lawsuits alleging nearly identical claims involving plaintiffs’ alleged use of the
Dexcom G6; (3) Dexcom has (or will) file substantively similar motions to compel arbitration in the
Related Matters given that each of the individual plaintiffs who utilized the Dexcom G6 App entered
into binding agreements with Dexcom that contain identical, mandatory arbitration provisions; and (4)
Dexcom anticipates presenting substantively similar or identical threshold legal defenses (in addition
to arbitration) in each of the Related Matters, including but not limited to federal preemption. Deeming
the Related Matters as related cases and transferring them to one designated judge will conserve
judicial resources and the Parties’ resources, will allow for consistency in both procedural handling and
judicial rulings on disputed issues, and will serve the interests of judicial economy and convenience.

       (Dexcom notes that it had removed the Bottiglier case to federal court, but that court remanded
the case to this Court, and the case was reactivated on this Court’s docket on April 20, 2023. Dexcom
has appealed the remand order, and its appeal is pending in the United States Court of Appeals for the
Ninth Circuit. By filing this Notice of Related Cases, Dexcom does not intend to waive any arguments
on appeal, including that it properly removed this case to federal court.)


(If the item that this Attachment concerns is made under penalty of perjury, all statements in this Attachment are
made under penalty of perjury.)                                                                                      Page 1 of 1



                                                            ATTACHMENT
                                                       to Judicial Council Form
  Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.289 Page 154 of 160

 SHORT TITLE:
   Lauren Casola v. Dexcom, Inc.                                                    37-2022-00047838-CU-PL-CTL


                                                    ATTACHMENT
                                                    (Number):                 4

There are 44 pending cases originally filed in the Superior Court of California, County of San Diego by
individual plaintiffs relating to their alleged use of a Dexcom G6 Continuous Glucose Monitoring System
(“Dexcom G6”). 43 of those cases identify Dexcom, Inc. (“Dexcom”) as the sole defendant. 1 Dexcom
removed many of the non-resident cases to the Southern District of California. Currently, 40 of the 44
cases are pending in the Superior Court of California, County of San Diego, and these are the cases
which Dexcom is requesting this Court to deem related (the “Related Matters”).

On June 16, 2023, Honorable Timothy Taylor, Department C-72, Superior Court of California, San
Diego, ordered that 18 of the Related Matters be deemed related. 2 See Exhibit A, attached. They are:

1. Brenda Bottiglier v. Dexcom, Inc., No. 37-2022-00047846-CU-PL-CTL;3
2. Lauren Casola v. Dexcom, Inc., No. 37-2022-00047838-CU-PL-CTL;4
3. Nicholas Phillips v. Dexcom, Inc., No. 37-2022-00048550-CU-PL-CTL;
4. Helena Pfeifer v. Dexcom, Inc., No. 37-2022-00048920-CU-PL-CTL;5
5. Lara Herzog et al. v. Dexcom, Inc., No. 37-2022-00049800-CU-PL-CTL;
6. Pamela Villegas v. Dexcom, Inc., No. 37-2023-000001690-CU-PL-CTL;
7. Traci Moore v. Dexcom, Inc., No. 37-2023-00012889-CU-PL-CTL;
8. Aliya Campbell Pierre v. Dexcom, Inc., No. 37-2023-00014471-CU-PL-CTL;
9. Phillip Rusk v. Dexcom, Inc., No. 37-2023-00014490-CU-PL-CTL;
10. Tiffanie Tsakiris v. Dexcom, Inc., No. 37-2023-00014497-CU-PL-CTL;
11. Margaret Doolen v. Dexcom, Inc., No. 37-2023-00014506-CU-PL-CTL;
12. Cathy Mcdowell-Schnieders v. Dexcom, Inc., No. 37-2023-00017211-CU-PL-CTL;
13. Shona Dikes v. Dexcom, Inc., No. 37-2023-00017219-CU-PL-CTL;
14. Victoria McCracken v. Dexcom, Inc., No. 37-2023-00017980-CU-PL-CTL;
15. Kelly Dedeaux v. Dexcom, Inc., No. 37-2023-00017993-CU-PL-CTL;
16. Samantha Sinor v. Dexcom, Inc., No. 37-2023-00018004-CU-PL-CTL; and
17. Trisha Ayala v. Dexcom, Inc., No. 37-2023-00018007-CU-PL-CTL.

Twenty of the Related Matters are currently pending in Department C-72 before Hon. Marcella
McLaughlin, but have not yet been deemed related. They are:

18. Catherine Sigley v. Dexcom, Inc., No. 37-2022-00047423-CU-PL-CTL;6
19. Angela Peatross v. Dexcom, Inc., No. 37-2022-00050058-CU-PL-CTL;
20. Gregory Mund v. Dexcom, Inc., No. 37-2022-00050091-CU-PL-CTL;
21. Felicia Reese v. Dexcom, Inc., No. 37-2022-00050109-CU-PL-CTL;


1 Joseph Higginbottom v. Dexcom, Inc., et al., No. 3:24-cv-195,        which currently is pending in the Southern District of
California, also names Tandem Diabetes Care as a defendant.
2 Jodi Lutz v. Dexcom, Inc., No. 37-2022-48354-CU-PL-CTL, was included in the Related Matters, but has since been

dismissed.
3 An appeal of the federal district court’s remand of this case to state court is currently pending in the United States Court

of Appeals for the Ninth Circuit.
4 An appeal of the federal district court’s remand of this case to state court is currently pending in the United States Court

of Appeals for the Ninth Circuit.
5 An appeal of the federal district court’s remand of this case to state court is currently pending in the United States Court

of Appeals for the Ninth Circuit.
6 An appeal of the federal district court’s remand of this case to state court is currently pending in the United States Court

of Appeals for the Ninth Circuit.
                                                       ATTACHMENT                                        www.courtinfo.ca.gov
                                                 to Judicial Council Form
                                                                                                                     MC-025
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                   CONTINUED ATTACHMENT 4 TO JUDICIAL COUNCIL FORM



22. James Newman v. Dexcom, Inc., No. 37-2022-00050603-CU-PL-CTL;
23. Kris Hunt v. Dexcom, Inc., No., No. 37-2022-00051324-CU-PL-CTL;
24. Dewayne Garrett v. Dexcom, Inc., No. 37-2022-00051363-CU-PL-CTL;
25. Timothy Hawkins v. Dexcom, Inc., No. 37-2022-00051366-CU-PL-CTL;
26. Luis Fargas v. Dexcom, Inc., No. 37-2022-00051763-CU-PL-CTL;
27. Deborah Wood v. Dexcom, Inc., No. 37-2022-00052048-CU-PL-CTL;
28. Jordan Tramel v. Dexcom, Inc., No. 37-2022-00052050-CU-PL-CTL;
29. Katherine Brenneman v. Dexcom, Inc., No. 37-2023-00003921-CU-PL-CTL;
30. Lajeanie Skinner v. Dexcom, Inc., No. 37-2023-00006357-CU-PL-CTL;
31. Jamila Jones v. Dexcom, Inc., No. No. 37-2023-00007129-CU-PL-CTL;
32. Sandra Ferrara, et al. v. Dexcom, Inc., No. 37-2023-00009690-CU-PL-CTL;
33. Joshua Davis-Nguyen v. Dexcom, Inc., No. 37-2023-00010781-CU-PL-CTL;
34. Linda Vernier v. Dexcom, Inc., No. 37-2023-00010809-CU-PL-CTL;
35. Amy Clark v. Dexcom, Inc., No. 37-2023-00012076-CU-PL-CTL;
36. Ashly Harding v. Dexcom, Inc., No. 37-2023-00012083-CU-PL-CTL; and
37. Latonya Williams v. Dexcom, Inc., No. 37-2023-00012216-CU-PL-CTL.

Three of the Related Matters are currently pending in various departments in the Superior Court of
California, County of San Diego, are not currently pending in Department C-72, and have not been
deemed related. They are:

38. Kristi Rotstein v. Dexcom, Inc., No. 37-2024-00003811-CU-PL-CTL;
39. Patrick Taylor v. Dexcom, Inc., No. 37-2024-00003820-CU-PL-CTL; and
40. Paul Rader v. Dexcom, Inc., No. 37-2024-00003898-CU-PL-CTL.

The four cases pending in the Southern District of California per the Register of Actions as of the date
of this filing are listed below:

41. Tyler Glenn v. Dexcom, Inc., No. 3:22-cv-1866;
42. Delvina Kimbler v. Dexcom, Inc., No. 3:22-cv-1867;
43. John Monahan v. Dexcom, Inc., No. 3:22-cv-1872; and
44. Joseph Higginbottom v. Dexcom, Inc., et al., No. 3:24-cv-195.




                                             ATTACHMENT                             www.courtinfo.ca.gov
                                        to Judicial Council Form
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                         EXHIBIT A
   Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.292 Page 157 of 160
                            SUPERIOR COURT OF CALIFORNIA,
                                COUNTY OF SAN DIEGO
                                      CENTRAL
                                          MINUTE ORDER
DATE: 06/16/2023                    TIME: 09:45:00 AM               DEPT: C-72
JUDICIAL OFFICER PRESIDING: Timothy Taylor
CLERK: Valerie Secaur
REPORTER/ERM: Not Reported
BAILIFF/COURT ATTENDANT: O. Godoy

CASE NO: 37-2022-00047846-CU-PL-CTL CASE INIT.DATE: 11/29/2022
CASE TITLE: Bottiglier vs Dexcom Inc [E-FILE]
CASE CATEGORY: Civil - Unlimited     CASE TYPE: Product Liability


EVENT TYPE: Civil Case Management Conference



APPEARANCES
Timothy M Clark, counsel, present for Plaintiff(s).
Kevin W Alexander, counsel, present for Defendant(s).
Renata Ortiz Bloom, counsel, present for Defendant(s).
CASE MANAGEMENT CONFERENCE
The Court and counsel discuss the notice of related case filed May 26, 2023.
Pursuant to the agreement of counsel and the civil supervising judge, the Court orders the following 18
cases related, and all cases not already assigned to Department C-72 hereby ordered reassigned to
Department C-72 before Judge Timothy Taylor:
1. Brenda Bottiglier v. Dexcom, Inc., No. 37-2022-00047846-CU-PL-CTL;
2. Nicholas Phillips v. Dexcom Inc., No. 37-2022-00048550-CU-PL-CTL;
3. Lara Herzog et al. v. Dexcom, Inc., No. 37-2022-00049800-CU-PL-CTL;
4. Pamela Villegas v. Dexcom, Inc., No. 37-2023-000001690-CU-PL-CTL;
5. Traci Moore v. Dexcom, Inc., No. 37-2023-00012889-CU-PL-CTL;
6. Aliya Campbell Pierre v. Dexcom, Inc., No. 37-2023-00014471-CU-PL-CTL;
7. Phillip Rusk v. Dexcom, Inc., No. 37-2023-00014490-CU-PL-CTL;
8. Tiffanie Tsakiris v. Dexcom, Inc., No. 37-2023-00014497-CU-PL-CTL;
9. Margaret Doolen v. Dexcom, Inc., No. 37-2023-00014506-CU-PL-CTL;
10. Cathy Mcdowell-Schnieders v. Dexcom, Inc., No. 37-2023-00017211-CU-PL-CTL;
11. Shona Dikes v. Dexcom, Inc., No. 37-2023-00017219-CU-PL-CTL;
12. Victoria McCracken v. Dexcom, Inc., No. 37-2023-00017980-CU-PL-CTL;
13. Kelly Dedeaux v. Dexcom, Inc., No. 37-2023-00017993-CU-PL-CTL;
14. Samantha Sinor v. Dexcom, Inc., No. 37-2023-00018004-CU-PL-CTL;
15. Trisha Ayala v. Dexcom, Inc., No. 37-2023-00018007-CU-PL-CTL;




DATE: 06/16/2023                               MINUTE ORDER                                    Page 1
DEPT: C-72                                                                              Calendar No. 26
  Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.293 Page 158 of 160
CASE TITLE: Bottiglier vs Dexcom Inc [E-FILE]    CASE NO: 37-2022-00047846-CU-PL-CTL

16. Lauren Casola v. Dexcom, Inc., No. 37-2022-00047838-CU-PL-CTL;
17. Jodi Lutz v. Dexcom Inc., No. 37-2022-00048354-CU-PL-CTL;
18. Helena Pfeifer v. Dexcom, Inc., No. 37-2022-00048920-CU-PL-CTL.

The court advises the parties that the clock for any challenge based on Code of Civil Procedure 170.6
begins now.
The cases are not consolidated at this time.
Counsel are to meet and confer as to the motion to compel arbitration presently set for August 25.

The CMC is continued to coincide with the motion for pro hac vice admission, as follows:
Civil Case Management Conference is continued pursuant to Court's motion to 07/28/2023 at 01:30PM
before Judge Timothy Taylor.
All related cases are set for a CMC at the same date and time.

Counsel are to monitor the remands of other cases not yet assigned to Department 72.




                                                         Judge Timothy Taylor




DATE: 06/16/2023                               MINUTE ORDER                                       Page 2
DEPT: C-72                                                                                 Calendar No. 26
Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.294 Page 159 of 160




                                  MELISA A. ROSADINI-KNOTT
     1                            CERTIFICATE OF SERVICE
     2
                                        FRCP 5(b)(2)(3)

     3      I, the undersigned, am over the age of 18 and not a party to the within action;
       my business address is: 3435 Wilshire Boulevard, Suite 1400, Los Angeles, California
     4 90010.
            .
     5      On February 29, 2024, I served the foregoing document(s) described as:
     6      DECLARATION OF MELISA ROSADINI-KNOTT IN SUPPORT OF
          PLAINTIFF’S MOTION TO REMAND ACTION TO SUPERIOR COURT
     7                    OF SAN DIEGO, CALIFORNIA
     8 on the interested parties in this action by electronically transmitting the foregoing
         document to persons as stated on the attached service list:
     9
         ☒      [by ECF ELECTRONIC SUBMISSION] – I served the above listed
    10
               document(s) described via the United States District Court’s Electronic
    11         Filing Program on the designated recipients via electronic transmission
    12         through the CM/ECF system on the Court’s website. The Court’s CM/ECF
               system will generate a Notice of Electronic Filing (NEF) to the filing party,
    13
               the assigned judge, and any registered users in the case. The NEF will
    14         constitute service of the document(s). Registration as a CM/ECF user
    15         constitutes consent to electronic service through the court’s transmission
               facilities.
    16

    17      I declare under penalty of perjury under the laws of the United States of
       America that the above is true and correct and that I am a member of and/or
    18
       employed in the office of a member of the this Court at whose direction the service
    19 was made.

    20
               Executed on February 29, 2024 at Los Angeles, California.
    21

    22
    23

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                                                   3
          DECLARATION OF MELISA ROSADINI-KNOTT IN SUPPORT OF PLAINTIFF’S MOTION TO REMAND
                         ACTION TO SUPERIOR COURT OF SAN DIEGO, CALIFORNIA
Case 3:24-cv-00195-WQH-BLM Document 10-2 Filed 02/29/24 PageID.295 Page 160 of 160


                                                    ___________________
                                                    Melisa Rosadini-Knott




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                                                3
          DECLARATION OF MELISA ROSADINI-KNOTT IN SUPPORT OF PLAINTIFF’S MOTION TO REMAND
                         ACTION TO SUPERIOR COURT OF SAN DIEGO, CALIFORNIA
